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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


ROCA LABS, INC.                                            Case No:

                Plaintiff,

        v.

MARC J. RANDAZZA

                Defendant.
                                                       /



                                     NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §1331, 1332, 1441, and 1446, Defendant Marc J. Randazza

(“Defendant”), hereby notifies the Court that the above-captioned action has been removed to the

United States District Court for the Middle District of Florida, Tampa Division, based on the complete

diversity of citizenship between the parties, an amount in controversy greater than $75,000.00, and

the existence of a justiciable federal question. A copy the complaint filed in the State Court Action is

attached as Exhibit A. A copy of the remaining documents filed in the State Court Action is attached

as composite Exhibit B..

       This Notice of Removal has been filed within the time prescribed by 28 U.S.C. § 1446(b).

       This Court has original jurisdiction pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1332(a).

       Plaintiff filed this action in the Thirteenth Judicial Circuit in Hillsborough, Florida, Case No.

14-CA-011251 (“State Court Action”), alleging that statements of counsel associated with legal

pleadings can form the basis for a defamation claim. This claim stems from the undersigned’s

representation of the defendant in the related case of Roca Labs v. Opinion Corp., Case No.: 8:14-cv-

02096-VMC-EAJ, currently pending in the United States District Court, Middle District of Florida,

Tampa Division. Attached hereto as Exhibit C is the declaration of Marc J. Randazza. See Randazza
Decl. ¶2.


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        This case is simply the most recent attempt by Roca Labs to pursue deceitful and vexatious

tactics in order to evade the consequences of its ill-advised case against Opinion Corp. For example,

on October 13, 2014, Don Juravin, founder and vice president of Roca Labs sent a letter to the Nevada

Attorney General’s Office, making false accusations against Randazza, in an attempt to deprive

Opinion Corp. of its choice of counsel. Attached hereto as Exhibit D is Juravin’s letter. Attached

hereto as Exhibit E is the Attorney’s General’s letter, stating that Juravin’s claims were unfounded,

and the matter was closed mere days later. Thereafter, despite warnings to the contrary by the

magistrate in the Roca Labs v. Opinion Corp. matter during a hearing on allegations of witness tampering,

Roca Labs decided to sue one of the witnesses in its case against Opinion Corp. See Roca Labs v. Schaive

et al., Circuit Court of the 17th Judicial Circuit, Broward County, Florida Case No.: CACE 14-020786.

Attached hereto as Exhibit F is a copy of the complaint in that matter. As those tactics have not

generated the desired result, Roca Labs now has embarked on a personal crusade against Opinion

Corp.’s chosen First Amendment attorney, Randazza.

        Defendant is the only defendant in the State Court Action, and obviously consents to this

removal. The Complaint in the State Court Action was filed on November 6, 2014. Defendant was

notified thereof by email on November 7, 2014. This Notice is timely-filed.

        Diversity of Citizenship

        At all times that the Complaint was filed, Defendant is a citizen of the state of Nevada.
        Plaintiff is a Florida corporation, with its principal place of business located in Sarasota Florida.

Pursuant to 28 U.S.C. §1332(c)(1), a corporation is a citizen of the state in which it is incorporated

and of the state where it maintains its principal place of business. Plaintiff is a citizen of Florida.

        Amount in Controversy

        The amount of controversy in this action exceeds $75,000.00. Consistent with Florida practice

and procedure in state circuit court cases, the Plaintiff only stated that it seeks a rote “in excess of

$15,000.00” amount, and not a sum certain. Where the plaintiff has not pled any sum certain, in order

to remove the case from state court to federal court, the defendant must demonstrate only by a
preponderance of evidence, that the amount in controversy is in excess of $75,000.00. Lowery v. Ala.


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Power Co., 483 F.3d 1184, 1208 (11th Cir. 2007) (“in the removal context where damages are

unspecified, the removing party bears the burden of establishing the jurisdictional amount by a

preponderance of the evidence”).

       If one examines the litigation history of Roca Labs, it becomes apparent that Roca Labs values

cases such as this one far in excess of $75,000. For example, in the Opinion Corp. matter, asserting

similar defamation claims, Roca Labs initially asserted damages of $1,000,000.00 per claim, for a total

of $10,000,000.00 in its Complaint, and later noted that its damages are now in excess of

$42,000,000.00. Attached hereto as Exhibit G is an e-mail from Mr. Hetz, counsel for Roca Labs in

the Opinion Corp. matter, confirming same.

       Further, it is well-settled that a defendant may use extrinsic communications to determine if

the case is removable and the amount in controversy is satisfied. See Essenson v. Coale, 848 F. Supp.

987, 989-990 (M.D. Fla. 1994). Roca Labs’ terms and conditions specifically state “any report of any

kind on the web will constitute defamation/slander and you agree to a predetermined

compensation of $100,000.” See <rocalabs.com/terms>. Also attached hereto as Exhibit H.

Therefore, if Roca takes the position that any report of any kind on its product is worth $100,000, then

certainly the allegedly “reckless” and “wrongful” and “defamatory” statements made by Randazza

must be causing them in excess of $100,000 in damages. See Exhibit A, at 19. In fact, if Roca’s

allegations are true, Randazza published at least five reports about Roca, thus the proper amount here,
if we take Roca’s valuation into account, is $500,000.00.

       Additionally, in the demand letters Roca Labs sent to former customers who filed complaints

with the Better Business Bureau, they demanded $200,000 for a single negative statement about their

company or their product. Attached hereto as Exhibit I is a composite of a sampling of the demand

letters to former customers as a result of the complaint filed with the Better Business Bureau. If Roca

Labs believes that a truthful consumer review of its product is worth at least $200,000, then most

certainly it must find Randazza’s behavior to result in damages that far exceed even this amount. Since

Randazza has purportedly made at least 5 negative statements about Roca, thus Roca must believe its
claims here to be worth at least $1,000,000.


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        Roca previously demanded an amount in controversy in excess of $1,000,000.00 per claim, for

a total of $10,000,000.00 in the related case against Opinion Corp. See Roca Labs v. Opinion Corp., 8:14-

cv-02096-VMC-EAJ, at ECF 1. Furthermore, in an e-mail from Mr. Hetz, co-counsel for Roca Labs

in the Opinion Corp. case, Roca Labs has stated that as a result of reviews posted by third parties on

Opinion Corp.’s website, where customers are permitted to review their experience with Roca Labs’

product and customer service, Roca Labs claims to have suffered $42,000,000.00 in damages, with

damages increasing daily. See Exhibit G. If a few consumer reviews are causing $42,000,000.00 to

this company, one can only imagine the crushing damages that Roca Labs must be suffering as a result

of Randazza’s alleged conduct, assuming any modicum of truth in these pleadings, and the complete

absence of litigation privilege defenses.

        Further, this case was filed in order to influence the trajectory and outcome of the Opinion

Corp. case, by seeking to deprive Opinion Corp. of its chosen counsel. See Exhibit A, Roca Labs’

Complaint ¶25-27. The allegations make it clear that this is part of the same controversy, and thus

the amount in controversy in both cases should be viewed in tandem, when evaluating whether the

amount in controversy threshold has been met. In light of the fact that this litigation is entirely

premised on Randazza’s representation of Opinion Corp. in the Roca Labs v. Opinion Corp. matter, it

would seem that any damages Roca Labs is seeking here is in addition to the $42,000,000.00 that it is

currently seeking in the related case. Therefore, at a minimum, the amount in controversy here is
$42,015,000.00.

        Moreover, in Roca Labs’ Motion for Temporary Injunction, attached to the Complaint, Roca

Labs has stated that it “has lost daily sales of thousands of dollars through the date of this filing, and

those sales will continue to be lost until the actions of RANDAZZA are prohibited.” Exhibit A, at

¶25. Therefore, if Randazza’s statements began more than 60 days ago, as alleged in Plaintiff’s

Complaint, Exhibit A at ¶60, and Roca Labs loses “thousands” of dollars every day, then at the very

least, Roca Labs is losing more than $2,000 per day (“thousands” suggests at least $2,000, but one can

only guess what multiple of “thousand” they intended). At that rate, Roca Labs must be alleging that
it has lost at a minimum, $120,000.00 in sales as a result of Randazza’s statements, and that is only if


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the court enters a preliminary injunction today. Certainly, once it is denied, the conduct will go

unrestrained for at least 18 months of litigation, meaning increased claimed damages.

        It is proper to examine verdicts in similar cases in Florida in order to determine the amount

in controversy. Where the amount in controversy is not facially apparent, the district courts must

make “‘reasonable deductions, reasonable inferences, or other reasonable extrapolations’ from the

pleading to determine whether it is facially apparent that a case is removable.” Roe v. Michelin North

America, Inc., 613 F.3d 1058 (11th Cir. 2010) (quoting Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744

(11th Cir. 2010)). In making a reasonable extrapolation, one may evaluate other similar awards in

other similarly situated cases. In Florida, it is not unheard of for defamation suits to result in jury

awards well in excess of one million dollars. In 2006, a Florida jury awarded a plaintiff $11,300,000.00

in damages stemming from a defamation suit, in which the defendant was alleged to have referred to

the plaintiff as a “crook”, “con artist”, and “fraud” in an online message board. Scheff v. Bock, 03-

022937-18 (Fla. Cir. Ct. 17th Cir., Broward Co., Fla. 2006). In 2013, a Florida jury awarded a $1 billion

verdict following online allegations by the defendant that the plaintiff was a “cheat.” Lennar Corp. v.

Briarwood Capital LLC, 08-055741-CA-01 (Fla. Cir. Ct. 11th Cir., Miami-Dade Co., Fla. 2013). In 2012,

a Florida jury awarded an elementary school principal $155,737,000.00 as a result of defamatory

statements made by the City Manager. Murphy v. City of Aventura, 09-57209-CA-24 (Fla. Cir. Ct. 11th

Cir., Miami-Dade Co., Fla. 2012). In 2011, an Orlando jury awarded a plaintiff $1.6 million. Richard
Mask v. Doug Guetzloe, No. 07-CA-016024-O, (Fla. Cir. Ct. 9th Cir., Orange Co., Fla. 2011). In 2003,

a jury awarded a plaintiff $18,284,334.00 in damages for reputational losses. Anderson Columbia Co.,

Inc. v. Gannett Co., Inc. d/b/a The Pensacola News-Journal, 2001 CA 001728 (Fla. Cir. Ct. 1st Cir., Escambia

Co., Fla., 2003). Therefore, the amount in controversy here is most certainly in excess of $75,000.00.

        The jurisdictional amount in controversy analysis must also take into account the availability

of punitive damages, which Roca Labs has sought. “When determining the jurisdictional amount in

controversy in diversity cases, punitive damages must be considered, . . . unless it is apparent to a legal

certainty that such cannot be recovered.” Brown v. Cunningham Lindsey U.S., Inc., 2005 U.S. Dist. LEXIS




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38862, 2005 WL 1126670 (M.D. Fla. May 11, 2005), citing Holley Equip. Co. v. Credit Alliance Corp., 821

F.2d 1531, 1535 (11th Cir. 1987).

        In Florida, defamation per se comes with the presumption of damages, and therefore, with

liability comes the sufficiency of determination to award punitive damages as well. Lawnwood Med. Ctr.

Inc. v. Sadow, 43 So. 3d 710, 729 (Fla. 4th DCA 2010) (“when the claim is defamation per se, liability

itself creates a conclusive legal presumption of loss or damage and is alone sufficient for the jury to

consider punitive damages”). In that case, the jury found liability in defamation per se, awarded only

nominal damages, but assessed a $5,000,000.00 award for punitive damages.

        Attorneys’ Fees

        Roca Labs has also demanded attorneys’ fees1 as part of the damages they feel entitled to.

Attorneys’ fees are appropriately considered as part of the amount in controversy. See Lutz v. Protective

Life Ins. Co., 328 F. Supp. 2d 1350, 1356 (S.D. Fla. 2004) (“The Eleventh Circuit has simply stated that

a reasonable amount of those fees is included in the amount in controversy”). One can only guess

how much Roca Labs intends to spend on this case, and how much they will seek in attorneys’ fees.

The Eleventh Circuit relies on the lodestar analysis to determine reasonable attorney’s fees, which

takes into consideration the hourly rate of the attorney and the reasonable hours expended. Pelc v.

Nowak, 2013 U.S. Dist. LEXIS 99804, 2013 WL 3771233 (M.D. Fla. July 17, 2013). In that case, the

plaintiff prevailed on a motion for summary judgment for defamation and unfair competition, and the
court granted the plaintiff’s motion for attorney’s fees, awarding in excess of $82,000.00.

        Non-Monetary Relief Sought

        In this Circuit, the courts have held that the “value of injunctive or declaratory relief for

amount in controversy purposes is the monetary value of the object of the litigation that would flow

to the plaintiffs if the injunction were granted.” Leonard v. Enter. Rent a Car, 279 F.3d 967, 973 (11th

Cir. 2002), citing Ericsson GE Mobile Communications, Inc. v. Motorola Communications & Elecs., Inc., 120


1
 Defendant does not concede that the claim for attorneys fees is meritorious, and in fact, no statutory
or contractual basis for awarding attorneys fees is alleged. Nonetheless, the amount in controversy
must be based on the pecuniary amounts sought, whether or not legally supported.


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F.3d 216, 218 (11th Cir. 1997). The value of the declaratory relief must be high, as Roca Labs saw fit

to include it as an independent claim.

        Where injunctive relief is requested, the amount in controversy is measured by the value of

the object of the litigation measured from the plaintiff’s perspective. Jackson v. Purdue Pharma Co., 2003

U.S. Dist. LEXIS 6998, 2003 WL 21356783 (M.D. Fla. Apr. 10, 2003). In the Roca Labs v. Opinion

Corp. matter, Roca Labs sought an injunction to protect against the $1,000,000.00 in alleged damages

per claim. The injunction was not granted in that case, and Roca Labs has now stated that the damages

are in excess of $42,000,000.00. See Shell Oil Co. v. Altina Assocs., 866 F. Supp. 536, 540 (M.D. Fla.

1994) citing Occidental Chemical Corp. v. Bullard, 995 F.2d 1046 (11th Cir. 1993)(value of object of

litigation is the amount in controversy). Therefore, it would seem that the $10,000,000.00 sought in

that action initially, mushroomed into $42,000,000.00 in damages, since Roca Labs did not receive the

injunctive relief it sought. Accordingly, it would seem that Roca Labs considers the lack of injunctive

relief to be worth at least $32,000,000.00.

        Roca Labs’ business practices demonstrate that it values silencing negative commentary more

than anything. Its terms and conditions are designed around a gag clause, forcing customers’ silence,

which it believes is worth no less than $100,000.00. Attached hereto as Exhibit J. Roca Labs has filed

suit against a number of its prior customers as a result of their complaints to the Better Business

Bureau, seeking to enforce the restrictive covenant of their terms and conditions. See Exhibit H. Roca
Labs has sent threatening demand letters to virtually every media outlet that has covered the Opinion

Corp. litigation. Attached hereto as Exhibit I are copies of a sampling of letters sent to various websites

that have covered that litigation. The amount of claimed damages has increased to $42,000,000.00 in

the Opinion Corp. case since litigation commenced. See Exhibit F. The value of the injunctive relief

alone, from the perspective of Roca Labs, can only be worth millions of dollars.

        Furthermore, while not necessarily determinative in the amount in controversy, it is important

to take into consideration the cost to defendant. In this case, Defendant Randazza attests that

complying with the requested injunctive relief would cost him in excess of $75,000.00. See Randazza
Decl. ¶9. For an attorney to be personally sued as a result of statements made during the course of


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litigation, and statements that the media made while discussing the litigation, while representing a

client against the same party is destructive not only to Randazza’s law practice, but to the integrity of

the legal profession as a whole. Randazza’s statements have led to a multitude of witnesses against

Roca Labs to come forward – witnesses who never would have done so, had this case been conducted

in privacy, as Roca Labs prefers. For an attorney to be enjoined from making statements that the

opposing party does not like, in furtherance of professional and competent representation is entirely

destructive to the attorney’s ability to successfully represent his clients, and for the entire bar to

continue zealously advocating for their chosen clientele. This is compounded by the fact that

Randazza is assisting in the assembly of a class action against Roca Labs, and seeking class members

necessarily requires communication to the public.

        Federal Question Jurisdiction under 28 U.S.C. § 1331

        A suit arises “under the Constitution, laws, or treaties of the United States,” if “the plaintiff’s

well-pleaded complaint raises issues of federal law.” City of Chi. v. Int’l Coll. of Surgeons, 522 U.S. 156,

163 (1997). As explained by the Supreme Court, “the presence of even one claim ‘arising under’ federal

law is sufficient to satisfy the requirement that the case be within the original jurisdiction of the district

court for removal.” Wis. Dep’t of Corr. v. Schacht, 524 U.S. 381, 386 (1998).

        The Complaint raises a number of Federal questions. While Plaintiff has been coy, attempting

to avoid citing a federal statute, its Complaint makes it clear that it seeks determination over the validity
of clear First Amendment issues, federal trademark rights, and 47 U.S.C. §230. The prayer for relief

makes it clear that this complaint is not limited to issues of Florida law, as it requests that the court

“[d]etermine applicable law, including the provision(s) of Florida Statute that apply.” (emphasis

added). “Including” was placed there for a reason. Otherwise, why not simply ask that the court

“determine the applicable provisions of Florida Statute that apply?” With that, it is clear that the

complaint raises at least three significant federal questions.

        Plaintiff’s Complaint implicates the First Amendment

        Roca Labs filed this suit against Randazza with the intent of suppressing Randazza’s First
Amendment rights. The existence of a substantial First Amendment question in the elements of


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Plaintiff’s complaint is further supported by the fact that Roca Labs filed for injunctive relief under

these claims as well. Plaintiff’s Motion for Preliminary Injunction seeks to restrain Randazza from

making statements to the Court in the Opinion Corp. case, and seeking to enjoin Randazza from

speaking about that case. However, there is a “heavy presumption” against the constitutional validity

of such relief. Organization for a Better Austin v. Keefe, 402 U.S. 415, 419 (1971). Roca Labs here claims

that Randazza’s statements during the course of litigation, and subsequent republication online, were

made with the purpose of mocking, ridiculing, and humiliating Roca Labs. Complaint ¶39. However,

this argument is insufficient. See Organization for a Better Austin, 402 U.S. 418 (“It is elementary, of

course, that in a case of this kind the courts do not concern themselves with the truth or validity of

the publication… No prior decisions support the claim that the interest of an individual in being free

from public criticism of his business practices in pamphlets or leaflets warrants use of the injunctive

power of a court”). In order to prevail, it is an essential element of the Plaintiff’s claim that it show

the court that it can get past First Amendment constraints on the availability of its chosen relief. This

makes it an “essential element” of the plaintiff’s claims. See Franchise Tax Bd. v. Constr. Laborers Vacation

Trust, 463 U.S. 1, 13 (1983). “It is an independent corollary of the well-plead complaint rule that a

plaintiff may not defeat removal by omitting to plead necessary federal questions in the complaint.”

Id at 22. In order to receive the relief sought, the Plaintiff will need to prove that what it seeks

outweighs the Defendant’s First Amendment rights.
        Based on the foregoing, resolution of a substantial federal question under the First

Amendment is necessary to Plaintiff’s claims, thereby making this case removable pursuant to 28

U.S.C. §1331.

        The Complaint Makes Allegations of Federal Trademark Law

        Roca Labs has put at issue a number of purportedly registered trademarks. Complaint ¶15.

Federal courts have original jurisdiction over claims involving federal marks. 28 U.S.C. §1338(a). By

placing the validity of these marks at issue, Roca Labs has invoked a federal question. Validity of the

marks cannot be made by a state court. Hospitality Int’l, Inc. v. Sitaram, Inc., 2013 U.S. Dist. LEXIS
179697 (M.D. Fla. Aug. 26, 2013) (“the Lanham Act provides that federal district courts have original


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jurisdiction over all actions arising under the Act, ‘without regard to the amount of controversy or to

diversity or lack of diversity of the citizenship of the parties’” citing 15 U.S.C. §1121). The inherent

distinctiveness of trademarks is governed by 15 U.S.C. §1052(e), and as the Complaint claims that

Roca Labs’ marks are inherently distinctive, a federal court should make that determination. Roca

Labs has, while dancing around the subject of allegations of trademark violations, has put the topic

squarely at issue here.

         The Complaint raises 47 U.S.C. §230

         In various portions of the Complaint, Plaintiff raises 47 U.S.C. §230. See Exhibit A, Plaintiff’s

Complaint, at ¶23, 51. Despite taking efforts to avoid actually citing a federal case, the complaint makes

clear allegations implicating the central legal issue in the Opinion Corp. case, 47 U.S.C. §230. This raises

an additional federal question, as this issue must be re-litigated in this case, since Plaintiff has seen that

it likely will lose on it in the Opinion Corp. case – and would seemingly like a second advisory opinion.

Nevertheless, the plaintiff has raised claims of which §230 determination is an essential element, and

a federal court is better suited to decide them than a state court.

         Timing

         Because Mr. Randazza removed this case on November 18, 2014, Defendant is within the 30

days of the date the Complaint was served upon him, as required under 28 U.S.C. §1446(b)(1).

         Process and Pleading
         Pursuant to 28 U.S.C. §1446(a), copies of all process and pleadings served upon Defendants,

and the pleadings now on file in the State Court action are attached as Exhibits hereto. See Exhibits

A & B.

         Conclusion

         This vexatious action is clearly a related case to the Onion Corp case pending in this District

and Division. Based on the foregoing, Defendant has clearly indicated that the parties are diverse and

the amount in controversy is in excess of the required $75,000.00 threshold. Given that Roca Labs

believes one negative comment about them on the Internet is worth at least $100,000.00, and that
same negative comment, once litigation has commenced is worth $200,000.00 in damages, in addition


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to punitive damages, compensatory damages, and attorneys’ fees they have demanded, it is impossible

to see how the amount in controversy here is less than $75,000.00. This Court has diversity jurisdiction

over this action pursuant to 28 U.S.C. §1332. Separately, this Court has jurisdiction over this case, as

it raises a federal question, pursuant to 28 U.S.C. §1331. This Court has removal jurisdiction over this

action pursuant to 28 U.S.C. §1441 and 1446. Defendant therefore seeks to exercise his right, pursuant

to 28 U.S.C. §1331, 1332, 1441, and 1446 to remove this action from the Hillsborough County Court,

to the United States District Court for the Middle District of Florida.


                                                       Respectfully Submitted,




                                                                                                __
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                                                       Attorneys for Defendant




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                                 CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on December 1, 2014, I transmitted the foregoing document to the
Clerk of the U.S. District Court, Middle District of Florida, Tampa Division, via overnight delivery,
for filing. I also certify that a true and correct copy of the foregoing document is being
contemporaneously served upon John G. DeGirolamo, Esq., via email at johnd@inlawwetrust.com,
and U.S. mail at 6000 South Florida Ave., P.O. Box 7122, Lakeland, FL 33807.




                                                              ________________________
                                                              Lawrence G. Walters




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         EXHIBIT A
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           IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT 
                         IN AND FOR HILLSBOROUGH, FLORIDA 
                                           
ROCA LABS, INC.,                                CASE NO:                                                        
         
            Plaintiff,  
                              
vs. 
 
MARC RANDAZZA, 
 
            Defendant. 
______________________________/                             
   
     COMPLAINT AND VERIFIED MOTION FOR TEMPORARY INJUNCTION 
        Plaintiff, ROCA LABS, INC. (“ROCA”), a Florida Corporation, by and through the 

undersigned counsel, files this Complaint, Verified Motion for Temporary Injunction and 

Declaratory Action against Defendant, MARC RANDAZZA, and states as follows: 

                             PARTIES, JURISDICTION, AND VENUE 
1. This  is  an  action  for  injunctive  relief,  declaratory  relief,  and   for breach of contract involving 

    damages in excess of $15,000, exclusive of interest, costs and attorneys’ fees. 

2. Venue  is  proper  in  this  Honorable  Court  as  this  is  an  action  for  Tortious  Interference  and 

    Defamation  Per  Se  and  seeks  an  award  of  money  damages,  including  actual  damages, 

    punitive  damages  and   reasonable  attorneys’  fees  and  costs;  an  award  of  compensatory 

    damages  under  common  law   claim of tortious interference with a contractual relationship; an 

    award  of  compensatory  damages  under  common  law  claim  of  tortious  interference  with  a 

    prospective  relationship,  an  award  of  compensatory  damages  under  common  law  claim  of 

    defamation  and  injunctive  and  declaratory  relief  all  stemming  from  conduct  that occurred in 

    Florida. 



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3. Plaintiff  ROCA  is  a  Florida  for­profit  corporation  with  its  principal  place  of  business  at 

    7261A Tamiami Trail S, Sarasota, FL 34231.   

4. RANDAZZA is an individual residing in Nevada and practicing law in Florida. 

5. Pursuant  to  Florida  Statutes  Section  48.193(2),  RANDAZZA  is  subject  to  personal 

    jurisdiction in Florida because he committed a tortious acts within the State of Florida. 

6. Pursuant  to  Florida  Statutes  Section  48.193(1)(a),  RANDAZZA  is  subject  to  personal 

    jurisdiction  in  Florida  because  he  practices  law  within  the  State  of  Florida  and  maintains  a 

    law office within the State of Florida.  

7. ROCA retained the undersigned counsel and agreed to pay a reasonable fee for its services.  

8. All  conditions  precedent  to  the  filing  of  this  Complaint,  if  any,  have  been  satisfied, 

    performed, or waived. 

                                     GENERAL ALLEGATIONS 
    A. PLAINTIFF ROCA 

9. ROCA  is  a  Florida  for­profit  corporation  that  was  formed  in  2006  as  Appealing  Ventures, 

    Inc.  It changed its name to Roca Labs, Inc. in 2009. 

10. ROCA  manufactures  food  additives  (sometimes  referred  to  a  nutraceuticals)  and  is  the 

    inventor  of  the  proprietary  Gastric  Bypass  Alternative®  that  is  an  effective  weight  loss 

    option for people who are trying to lose in excess of 50 pounds. 

11. ROCA’s  products  have  been  purchased  and  used  by  thousands  of  people  as  a  surgery­free 

    alternative to gastric bypass.  

12. ROCA’s  products  are  safe  and  effective  when  used  as  directed.  Thousands  of  individuals 

    have used ROCA products to lose weight. 



                                                      2
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13. ROCA’s products are a natural alternative to surgery and to the best of its knowledge, no one 

    has required medical treatment or hospitalization from the proper use of ROCA’s products. 

14. ROCA  made  significant  investments  in  product  development  and  in  its  intellectual property 

    rights.  

15. ROCA  owns  numerous  registered  trademarks  including:  ROCA  Labs®,  Gastric  Bypass 

    Alternative®,  Gastric  Bypass  Surgery  Alternative®, Gastric Bypass Effect®, Gastric Bypass 

    Results®,  Natural  Gastric  Bypass®,  Gastric  Bypass  No  Surgery®  and  Anti  Cravings®. 

    ROCA’s trademarks are inherently distinctive. 

16. ROCA  invests  heavily  in  an  online  marketing  and  advertising  program  that  has  run  in 

    Florida and across the United States.  

17. ROCA  markets  and  sells  its  products  through  its  website,  “www.rocalabs.com,”  where 

    information on its products is available and consumers can purchase the product directly. 

18. ROCA  relies  upon  its  reputation,  internet  reviews,  and  the  weight  loss  success  stories  of  its 

    customers to generate new business and attract new customers. 

19. ROCA relies upon its reputation and the weight loss success of its customers to generate new 

    business and attract new customers. 

20. Indeed,  ROCA has a unique Money Back Reward program, where ROCA pays individuals a  

    monetary sum for sharing their weight loss success stories.   

21. A  recent  search  for  ROCA  Labs  on  “YouTube”  pulled  up  more  than  six­thousand  (6,000) 

    results, the majority of which are personal weight loss videos shared by individuals. 




                                                      3
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22. Unfortunately,  due  to  the  unencumbered  nature  of  the  internet,  anyone  with  a  keyboard  can 

    voluntarily  and  intentionally  detract  from  the  thousands  of  positive  stories  with  just  one 

    harmful article, interview, tweet, blog, or posting.   

23. For  instance,  Consumer  Opinion  Corp.  and  Opinion  Corp.  own  and  operate 

    pissedconsumer.com  (hereinafter  collectively  “Pissed  Consumer”),  an  internet  haven  for 

    consumers,  competitors  or  even   Pissed  Consumer  itself  to  denigrate,  disparage,  and  defame 

    thousands of small businesses, regardless of the truth or veracity of the posting.   

24. Based  on  the  website’s  name  alone,  Pissed  Consumer  invites  inherently  negative 

    commentary  to  be   disseminated  on  their  website.  In  other  words,  a  happy  or  satisfied 

    consumer would not seek out Pissed Consumer to communicate a positive story to the world.   

25. ROCA’s  business  relationships  were  and  are  interfered  with  by  Pissed  Consumer.  As  a 

    result, ROCA continues to suffer irreparable harm at the hands of Pissed Consumer. 

26. Pissed  Consumer defamed and continues to defame ROCA.  As a result, ROCA continues to 

    suffer irreparable harm at the hands of Pissed Consumer. 

27. ROCA  took  legal  action  to  protect  its  rights  and  reputation  in  the  State  of  Florida  and  sued 

    Pissed  Consumer  (Roca  Labs  v.  Consumer  Opinion  Corp.  and  Opinion  Corp.  Case  No 

    8:14­cv­2096­T­33EAJ  Middle  District  of  Florida)  for  issues  concerning,  among  other 

    things,  Pissed  Consumer’s  violations  of  Florida’s  Deceptive  and   Unfair  Trade  Practice  Act, 

    Tortious  Interference,  and  Defamation.  RANDAZZA  is  legal  counsel  for  Pissed  Consumer 

    in the foregoing matter.   

    B. DEFENDANT RANDAZZA 

28. RANDAZZA is an individual residing Nevada.  



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29. RANDAZZA  is  an  attorney  and  is  licensed  to   practice  law  in  the  State  of  Florida  and 

      RANDAZZA maintains a law office in Florida. 

30. RANDAZZA  gained  notoriety  for  providing  legal  services  to  the  pornography  and  adult 

      entertainment  fields.   He  has  represented  a  number  of  adult  entertainment  companies, 
                                                                       1
      including Kink.com, BangBus.com, and MilfHunter.com.  

31. RANDAZZA  has  been  an  outspoken  advocate  for  Phillip  Greaves,  the  author  of  “The 

      Pedophiles  Guide  to Love and Pleasure.”  Mr, Greaves pled no contest to criminal charges in 

      Florida because of his distribution of the book in Florida.           

32. RANDAZZA  adopted  the  use  of  the  Latin  term  “murum  aries  attigit”  to  describe  his 

      approach to litigation.  The foregoing phrase translates to “the ram has touched the wall,” and 

      refers  to  the  ancient  Romans’  strategy  of  not  allowing  mercy  and slaughtering everyone in a 

      city  if  they  did  not  surrender  before  the  Roman  battering  ram  touched  the  city’s  walls.  

      RANDAZZA  adopted  this  term  for  his  approach  to  the  legal  profession,  and  consequently, 
                                                   2
      behaves as if litigation is his own war.    

33. Despite  being  an  Officer  of  the  Court  and  a  practicing  member  of  the   Florida  Bar, 

      RANDAZZA  has  waged  his  war against ROCA by intentionally and maliciously publishing 

      many  false  and  defamatory  statements  in  his  pleadings,  with  the  intent  to  share  them  to  his 

      contacts  in  the  media,   and  indeed  by  directly  speaking  to  the  media  about  ROCA  with  the 

      intent  to  have  them  publish  false,  misleading  and  defamatory  articles  about  ROCA,  and   by  




1
    See Wikipedia (http://en.wikipedia.org/wiki/Marc_Randazza)
2
    Id.
                                                          5
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    harassing  and  making  derogatory statements about ROCA via his personal social media sites 

    including his Twitter account. 

34. RANDAZZA  announced  his  war  against  ROCA  via  a  simple  email  to Paul Berger, counsel 

    for  ROCA,  that  simply  read  murum  aries  attigit.  (See  below,  Exhibit  1  email  from 

    RANDAZZA to Paul Berger). 

                                                                                                    

35. Fortunately,  we  are  not  the  ancient  Romans  and  do  not  live  in  fear  of  attacks from battering 

    rams.  However,  RANDAZZA  waged  modern  day  warfare  by  attacking  and  bullying  his 

    perceived  enemy  ROCA  in  the  media  for  the  sole  purpose  of  harming ROCA and  crippling 

    it financially by battering away its customers. 

36. Indeed,  the  Institute   for  Defense  and  Government  Advancement   has  said  the  following: 

    “harnessing  and  controlling  messages  distributed  via  the  internet  and  social  media  will  be  a 

    next  big  battleground  to  win  the  heart  and  minds  of  the  world’s  masses  regardless of who is 

    the  enemy  of  the  day.  The  question  of  which  nations  will  control  and  push out the message 

    most  effectively   will  become  increasingly  important.  One  thing  is  clear;  whoever  controls 

    the  message  controls  the  masses.  And  whoever  controls  the  masses  will  have  the  ability  to 
                        3 
    win future wars.”

37. Through  his  own  words,  RANDAZZA  is  admittedly  waging  a  modern  war  in  the  online 

    media against ROCA. 




3 Psychological Warfare in the Social Media Era: Winning Hearts and Minds through Facebook and Twitter?, Nick 
Younker, Institute for Defense and Government Advancement, September 7, 2010. 

                                                       6
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38. RANDAZZA  uses  whatever  opportunity  his  has  to  fight  his  war  against  ROCA.  For  

    example,  just  recently  RANDAZZA   used  the  children’s  holiday  of  Halloween in an attempt  

    to  humiliate  ROCA  and  malign  the  company  in  public by making the intentionally false and 

    malicious  statement  “Some  fucker  put  Roca  Labs’  shit  in  my  kids  candy  bag!”  (See  Tweet 

    below).  The  Tweet  came  from  his  personal  Twitter  account  “@marcorandazza,”  and  has 

    been retweeted to more than 5,000 people as of the date of this filing. 




                                                                                                             

 

39. The  foregoing  defamation  is  not  the  first  perpetration  by  RANDAZZA;  rather,  he  routinely 

    issues  statements  about  ROCA  on  Twitter.   The  statements  are  not  related  to  litigation 

    between  ROCA  and   Opinion  Corp., but are made with malice and with the purpose to mock, 

    ridicule, humiliate, harm, and continue his war against ROCA.  


40. As  a  Member  of  the  Florida  Bar  and  an  Officer  of  the Court, RANDAZZA’s statements are 

    more  likely  to  be  viewed  as  true  and  correct  by  the  general  public.  When  RANDAZZA 


                                                   7
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   makes  the statement “Some fucker put Roca Labs’ shit in my kids candy bag!” because of his 

   respected position an ordinary individual may believe it to be true.  


41. According to the Creed of Professionalism for trial lawyers established by the Florida Bar;  

          (1)  A  lawyer  is  both  an  officer  of  the  court  and  an  advocate.  As  such,   the  lawyer 
          always  should  strive  to  uphold  the  honor  and   dignity  of the profession, avoid disorder 
          and  disruption  in  the  courtroom,  and  maintain  a  respectful  attitude  toward  the  court; 
          (4)  A  lawyer  should  be   courteous  and  civil  in  all  professional  dealings  with  other 
          persons.  Lawyers  should  act  in  a  civil  manner  regardless  of  the  ill  feelings  that  their 
          clients  may  have   toward  others.  Lawyers  can  disagree  without  being  disagreeable. 
          Effective  and  zealous  representation  does  not  require  antagonistic  or  acrimonious 
          behavior.  Whether  orally  or  in  writing,  lawyers  should  avoid  vulgar  language, 
          disparaging  personal  remarks,  or acrimony toward other counsel, parties, or witnesses; 
          and  (7)  A  lawyer must not use any aspect of the litigation process, including discovery 
          and motion practice, as a means of harassment. 

42. RANDAZZA’s  actions  show  his  disdain  for  the  Court  system,  the  rules  that  govern  the 

   Florida  Bar,  and  our  legal  system.  To  RANDAZZA,  winning  the  war  and  harming  his 

   opponents is what is most important.  There is no room for civility, truth, or justice.  

   C. THE DEFAMATORY STATEMENTS 

           1) Original Dissemination to the Media Prior to Court Pleadings 

43. RANDAZZA  made  defamatory  statements  first   to  the  media,  then  repeated  them  in 

   subsequent Court filings.  

44. Beginning  on  or  about   September  8,  2014,  and  continuing   to  present  date,  RANDAZZA 

   went  to  his  friends  in  the  online  media  and  caused  select  webzines  /  online  media  sites  to 

   encourage  the  publishing  of  false  and  defamatory  articles  about  ROCA  (See  Exhibit  2 

   September 8 & 9, 2014 articles).  

45. RANDAZZA  went  to  the  media  before  he  made  any  responsive  pleadings  in the Roca Labs 

   v. Opinion Corp. case.   


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46. RANDAZZA  is  referenced  in  the  articles  contained  within  Exhibit  2,  and  the  articles 

   reference information that RANDAZZA provided to the media outlets.   

47. RANDAZZA  encouraged  the  media  for  the  sole  purpose  of  harassing,  defaming,  and 

   injuring ROCA as part of his war against ROCA.   

48. RANDAZZA’s  war  against  ROCA  began  with him telling the media that ROCA was snake 

   oil  salesman,  ROCA’s  products  did  not  work,  made  people  sick,  were  a  health  hazard,  and 

   that the government was going to close ROCA down.   

49. On  September  8,  2014,  TechDirt,  an online magazine (or webzine), which  claims 1.2 million  

   unique visitors a month, published the first of what would be a long series of negative articles 

   about  ROCA  from  the  “good  thing  we  never  bought  anything  from  Roca  Labs  dept.”  at 

   TechDirt (See Exhibit 2).  

50. The  September  8,  2014  article  states  that  ROCA  is  the  “manufacturer   of  ‘dietary 

   supplements’  some  of  which  they  label with highly  questionable claims that I imagine would 

   not be supported by anything the FDA would consider to be credible evidence.”  

51. The  article  foreshadows  the  later  defenses  RANDAZZA  would  put  forth  on  behalf  of 

   Opinion  Corp.  and  references  ROCA’s  Complaint  stating,  “Almost  everything  there  is 

   ridiculous.  Presenting  a  platform  for  people  to  express their own opinions is not encouraging 

   them to break any contract (which, again, is of dubious legality in the first place). Second, the 

   site  is  not  authoring  or  co­authoring  the  posts.  Third, there's no evidence that anything being 

   posted is ‘false.’ Fourth, what does Twitter's total user base have to do with anything?” 

52. RANDAZZA  caused  these  articles  to  be  published,  and,  based  on  his  past  dealings  with 

   TechDirt, knew the articles would be disseminated all throughout the internet.   



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53. Interestingly,  without  ever  reading  the  Complaint,  TechDirt  was familiar with the arguments 

   against Pissed Consumer and its future defenses.   

54. Further,  on  September  9,  2014,  BoingBoing.net  wrote  “Roca  Labs  sells  dubious  snake­oil 

   like  a  ‘Gastric  Bypass  Alternative.’”  Once  again  these  words  would  foreshadow  the  words 

   used by RANDAZZA in the pleadings.   

55. As  a  result  of  RANDAZZA’s  communications  with  the  media,  and  his  own  voluntary 

   actions  of  dissemination,  the  Defamatory  Statements  about  ROCA  were  thereby 

   purposefully  and  resolutely  published  and  disseminated  to  numerous  third­parties  in  online 

   magazines, websites, and blogs.   

56. RANDAZZA  unequivocally  acted  with   intent  and  malice  in  making  and  distributing  the 

   Defamatory Statements.  

           2) The Subsequent Dissemination in Court Pleadings 

57. On  or  about  September  18,  2014,  RANDAZZA  filed  Pissed  Consumer’s  Opposition  to 

   Plaintiff’s  Motion  for  Entry  of  a  Temporary  Injunction  (attached  as  Exhibit  3),  which 

   ironically  includes  the  same  false,  malicious  and  defamatory  statements  he  previously  made 

   to  the  media  a  little   more  than  a  week  earlier.  These  statements  include,  but  are not limited 

   to: 

           a. ROCA shows little concern for what happens to its users; 

           b. [ROCA  sounds]  like  a  disreputable   company,  producing  tubs  of  snake  oil  (or 

                snake oil goop, as it were); 




                                                     10
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            c. ROCA  Labs  is  desperately  trying  to  force  a  cone  of  silence  over  each  and  every 

                customer  that  discovers  that  ROCA  Labs’  product  is  not  only  a specious remedy 

                for weight issues, but a potential cause of additional health problems; 

            d. Plaintiff  [ROCA],  desperate  to  sell  as  many  tubs  of  goo  to  the  public  as  it  can 

                before regulatory agencies come knocking; and 

            e. [ROCA Products may cause] a possible health crisis. 

58. Additionally,  in  Pissed  Consumer’s  Emergency   Motion  for  a  Temporary   Restraining  Order 

    (attached  as  Exhibit  4),  filed  on  or  about  September  22,  2014,  RANDAZZA  repeated  his 

    false,  malicious  and   defamatory  statements  he  previously  made  to  the  media  including,  but 

    not limited to:  

            a. ROCA’s  product  threatens  the  health  and  welfare  of  at  least  a  portion   (if not all) 

                of its users; and 

            b. ROCA has threatened them [its customers]. 

        (These  statements  along  with  the  statements  referenced  in  the  paragraphs,  supra,  are 

        hereinafter collectively referred to as “Defamatory Statements.”) 

59. The  Defamatory  Statements  were  first  made  as  factual  allegations  in  the  media,  and  cannot 

    be claimed to be his personal opinion, puffery, or supposition. 

60. Therefore,  chronologically  speaking,  RANDAZZA  made  his  Defamatory Statements first to 

    the  media  on  September  8,  2014,  and  then  approximately  ten  days  later  memorialized  the 

    exact same statements in Court pleadings on September 18 and 22, 2014, respectively.   

61.   Not  Surprisingly,  in  Pissed  Consumer’s  Answer  to Roca Labs’s Complaint, which was filed 

    with  the  Middle  District  Court  on  September  11,  2014  and  submitted  by  RANDAZZA, 



                                                     11
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   Pissed  Consumer  claims  little  or  no  knowledge  about  ROCA.               Again,  chronologically 

   speaking,  there  was  a  claim  of  no  knowledge  about  ROCA  after  RANDAZZA  had  been 

   defaming ROCA to the media.   

62. These  statements  were  repeated  by  TechDirt,  BoingBoing,  ArsTechnica,  and  other  media 

   outlets  (See  Composite  Exhibit  5).  For  example on September 22, 2014, TechDirt published 

   an article that contained the following:  

       As  the  filing  questions,  all  of  these  should  raise   red  flags  about  the  company  and  its 
       products: 
       Does  that  sound  like  an  upstanding  company  that  stands  behind  its  safe  and  reliable 
       product?  Or  does  that  sound  like  a  disreputable company, producing tubs of snake oil (or 
       snake  goop,  as  it  were),  and  which  knows  that  too  much  truth  will  hurt  its  fly­by­night 
       bottom  line?  Roca  Labs  is  desperately  trying  to  force  a  cone  of  silence   over  each  and 
       every  customer  that  discovers  that  Roca  Labs’  product  is  not  only a specious remedy  for 
       their  weight  issues,  but  a  potential  cause  of  additional  health  problems.  Plaintiff, 
       desperate  to  sell  as  many  of  its  tubs  of  goo  to  the  public  as  it  can  before  regulatory 
       agencies come knocking does its best to bully its former customers into silence.   
        
63. RANDAZZA  promoted  the  article   at  TechDirt  that  repeated  his  Defamatory  Statements 

   about ROCA on his Twitter account. 




                                                                                                             




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64. RANDAZZA  also  had  Tracy  Coenen,  an  accountant  and  colleague,  publish  an  article 

    entitled  “Roca  Labs  Weight  Loss  Scam”  that  repeats  the  defamatory statements (See Exhibit 

    6).  Mrs.  Coenen  has  a  long  standing  relationship  with  RANDAZZA,  and  on  February  2, 

    2013  wrote  on  her  Facebook  page  “First  Amendment  lawyer  Marc  Randazza  is  amazing.” 

    There  would  be  no  other  reason  for  an  Illinois  accountant  to  publish  on  her  blog  an  article 

    about  Roca  Labs  other  than  her  relationship  with  RANDAZZA  and  to  assist her friend with 

    his  war  against  ROCA.  Mrs.  Coenen  also   Tweeted  about  her  article,  calling  Roca  Labs  a 

    “scam”: 




                                                                                                         

65. Essentially,  RANDAZZA  restated  his  previously  made   Defamatory  Statements  in  his 

    subsequent  Court  pleadings  in  hopes  of  shielding  himself  from  liability   under  judicial 

    litigation  privilege.  In  all  events,  it  is  abundantly  clear  that  RANDAZZA,  a  seasoned 

    litigator  specializing  in   First  Amendment  and  Defamation  practices,  should  know  that  the 

    judicial litigation privilege cannot be used as a sword and a shield. 

 


                                                      13
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    D. RANDAZZA CAUSED AND CONTINUES TO CAUSE INJURY TO ROCA 

66. The  publications  of  Defamatory  Statements  by  RANDAZZA  brought  disgrace,  humiliation, 

    injury,  and  loss  to  ROCA’s  business  relationships,  reputation,  and  goodwill  in  the 

    community.  

67. These  publications,  and   ensuing  purposeful  dissemination,  regarding  ROCA  hurt  ROCA’s 

    business, drove away customers, and interfered with ROCA’s ability to sell its products. 

68. RANDAZZA  made  the  Defamatory  Statements  in  the  media  first,  and  then  subsequently  in 

    Court pleadings at a later date.   

69. At  the  time  RANDAZZA  voluntarily  made   the  Defamatory  Statements,  he did not have any 

    genuine  knowledge  or  regard  for  the  truth  and  veracity  of  the  Defamatory  Statements 

    regarding ROCA’s customer care.  

70. At  the  time  RANDAZZA  voluntarily  made   the  Defamatory  Statements,  he did not have any 

    genuine  knowledge  or  regard  for  the  truth  and  veracity  of  the  Defamatory  Statements 

    regarding  any  health   risks  associated  with  ROCA  products,  which  have  safely been used by 

    more than 10,000 people.   

71. At  the  time  RANDAZZA  voluntarily  made   the  Defamatory  Statements,  he did not have any 

    genuine  knowledge  or  regard  for  the  truth  and  veracity  of  the  Defamatory  Statements 
                                                                                                                  4
    regarding any alleged (solely by RANDAZZA) government actions against ROCA.    




4
   ROCA  is  unaware  of  any  pending  investigation or  inquiry  into  its  company  as  alleged  by  RANDAZZA.  Indeed, if 
assuming  arguendo,  there  were  an  ongoing  investigation,  it  would  be  hard  to  believe  that  any  U.S.  Government 
Regulation  Agency,  including  the  Food  and  Drug  Administration,  would  share  such  confidential  information  with  a 
private citizen.
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72. At  the  time  RANDAZZA  voluntarily  made   the  Defamatory  Statements,  he did not have any 

   genuine  knowledge  or  regard  for  the  truth  and  veracity  of  the  Defamatory  Statements 

   regarding ROCA’s internal business policies and programs. 

73. In  truth,  RANDAZZA  knew  when  he  made  his  Defamatory  Statements  that  they  lacked 

   merit, lacked truth, were unsubstantiated, and were injurious to ROCA. 

74. The  Defamatory  Statements  caused  and  continue  to  cause  injury,  harm,  and  damage  to 

   ROCA,  including  but  not  limited  to  irreparable  harm,  public  humiliation,  and  unwarranted 

   ill­repute in the community, which in this case extends to the internet.   

75. The  Defamatory  Statements  were  disseminated  by  RANDAZZA  to  numerous  third­parties, 

   with  the  full  knowledge  that  those  third­parties  would  further  disseminate  his  Defamatory 

   Statements.   

76. Based  on the foregoing, RANDAZZA engaged in conduct which was intentional, fraudulent, 

   malicious,  oppressive,  and/or   he  engaged  in  conduct  with  such  gross  negligence  as  to 

   indicate a wanton disregard for the rights of ROCA.   

77. RANDAZZA  was  politely  asked  to  stop  speaking  to  the  media  by  Paul  Berger,  counsel  for 

   Roca  Labs.  On  September  26,  2014,  Mr.   Berger  sent  RANDAZZA  an  email  respectfully 

   requesting  that  he  stop  speaking  to  the  media,  informing  him  of  his  limited  immunity  and 

   providing  him  with  notice  to  retract  his  statements  in  accordance  with  Florida  law.  (See 

   Exhibit 7).  

78. RANDAZZA’S  response  to  the  email  by  Mr.  Berger,   was  to  immediately  distribute  the 

   email to the media and to Tweet about it. 




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79. TechDirt published the following: 

    Roca  Labs' lawyer, Paul Berger, also sent threatening emails to Randazza himself, suggesting 
    that  Randazza  had  been  "making  defamatory  comments"  to  the  media.  The  email  exchange, 
    which  Randazza  filed  as  an  exhibit  with  his  filing,  shows  Randazza  responding  to  Berger  
    asking  what  specific  defamatory  quote  he's  talking  about.  Berger  instead  quotes 
    PissedConsumer's  legal  filing  (about  calling Roca Labs' product "snake oil"), which  we (and, 
    I  believe)  other  news  publications,  quoted.  Randazza  pointed  out  to  Berger  that  it  was  not  a 
    quote  from  him  but  rather  in  his  pleadings,  and  then  asked  (one  assumes,  sarcastically)  if 
    Berger  is  truly  asking  Randazza  to  retract  a  statement  from  his  motion  for  preliminary 
    injunction.  I  would  assume  that  Berger  is   aware  of  the  concept  of  litigation  privilege,  so  
    either  he  didn't  fully   read  Randazza's  earlier  filings,  he  forgot  about  litigation  privilege,  or 
    he's  just  blustering  for  the  sake  of  blustering.  Randazza's  latest  filing suggests the latter may 
    be the case: 
     
    The  desperation  continued  with  Roca  threatening  personal  claims  against  the  Defendants’ 
    attorney for statements made in the course of litigation. 
     

80. In  addition,  two  days  after  the  email  RANDAZZA  once  again  took  to  Twitter,  but this time 

    to mock ROCA’s legal team.  




                                                                                             


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81. It  is  clear  that   RANDAZZA  believes  that  litigation  is  war,  and  that  pleadings  are  a 

    miraculous  battle  shield  that  permits  lawyers  to  make  intentionally  false,  misleading  and 

    defamatory  statements  for  the  sole  purpose  of  inflicting  as  much  injury  on  an  adversary  as 

    possible.  RANDAZZA’s  strategy  is  to  beat  up  ROCA  in  the  court  of  public  opinion,  to 

    drive away its customers, and hope that ROCA will “cry uncle” and give up its day in Court. 

                                                  COUNT I 
                         TORTIOUS INTERFERENCE WITH ROCA’s  
                       PROSPECTIVE ECONOMIC RELATIONSHIPS 
                                                         
82. The  allegations  set  in  forth   in  paragraphs  1  through  81  are  incorporated  by  reference  as  if 

    fully repeated herein. 

83. ROCA  derives  it  revenues  through  online  sales  of  its  product  to  consumers  seeking  to  lose 

    weight. 

84. ROCA  has  an  actual  prospective  economic  relationship  with  internet  users  that  search  for 

    ROCA and its products on search engines. 

85. RANDAZZA  is  aware  of  the  existence  of  ROCA’s  prospective  economic  relationship  with 

    internet users who desire to purchase ROCA’s weight loss products. 

86. RANDAZZA  made  and  disseminated  Defamatory  Statements  with  the  knowledge  that  they 

    would  reach  ROCA’s  potential  consumers  and  cause  them  to  view  false,  negative  and 

    misleading information when they search the internet using search engines.  

87. RANDAZZA  knowingly  and  intentionally  warned  (essentially  counseled)  internet  users 

    against the purchase of ROCA products. 




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88. The  conduct  of  RANDAZZA  tainted  the  actual  prospective  economic  relationship  with 

    numerous  consumers  and  these   customers  were  lost  because  of the malicious and intentional 

    conduct of RANDAZZA. 

89. Indeed,  customers  have  refused  to  order  and  reorder  from  ROCA  as  a  direct  and  proximate 

    result of RANDAZZA’s intentional interference with said relationships.   

90. But for the intentional interference, ROCA would have sold products to the internet users.   

91. As  a  direct  and  proximate  cause  of  RANDAZZA’s  conduct,  consumers  have  not  purchased 

    ROCA products. 

92. Thus,  as  a  direct  and  proximate  cause  of  the  RANDAZZA’s  intentional  and  unjustified 

    tortious interference, ROCA has suffered non­monetary and monetary damages. 

        WHEREFORE,  Plaintiff,  ROCA  LABS,  INC.,  respectfully  requests  that  this  Honorable 

Court  declare  that  Defendant,  MARC  RANDAZZA,  has  intentionally  disrupted  and  interfered 

with  ROCA’s  prospective  economic  relationships,  and  further,  that  this  Honorable  Court  grant 

temporary  and  permanent  injunctive  relief  against  the  violating conduct,  and award ROCA with 

an  amount  fair  and  just   to  account  for  its  money  damages,  interest,  reasonable   attorneys’  fees, 

and costs incurred herein, and for such other relief as this Court deems just and proper. 

                                                  COUNT II 
                                           DEFAMATION PER SE 
                                                         
93. The  allegations  set  in  forth   in  paragraphs  1  through  92  are  incorporated  by  reference  as  if 

    fully repeated herein. 

94. RANDAZZA  is  representing  Pissed  Consumer  in  a  case  justifiably  brought  against  those 

    Defendants by ROCA in the State of Florida. 

95. RANDAZZA authored and filed several pleadings in that action, including Exhibits 3 and 4. 


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96. However,  prior  to  filing  the  foregoing   Court  pleadings,  RANDAZZA  made  and 

   disseminated false, malicious and Defamatory Statements to the media. 

97. RANDAZZA  authored  and  published  the   Defamatory  Statements  to  the  media  and 

   disseminated the content via social media websites.  

98. After  the  foregoing  mass  dissemination  of  the  Defamatory  Statements  to  the  media 

   perpetrated  by  RANDAZZA,  he  subsequently  repeated  his  Defamatory  Statements  over  a 

   week later in Court filings.   

99. It  is  unequivocal  that  RANDAZZA  made  and  disseminated  his  Defamatory  Statements first 

   to the media on September 8, and then ten days later in Court pleadings.          

100.   In  truth,  RANDAZZA  knew  when  he  made  his  Defamatory  Statements  that  they  lacked 

   merit,  lacked   truth,  were  unsubstantiated,  and  were  injurious  to  ROCA.  The  Defamatory 

   Statements  were  made  only  for  his  own  war  against  ROCA  and  for  RANDAZZA’s  own 

   public relations efforts.  

101.   RANDAZZA’s  Defamatory  Statements  caused  and  continue  to  cause  injury,  harm,  and 

   damage  to  ROCA,  including,  but  not  limited  to  irreparable  harm,  public  humiliation,  and 

   unwarranted ill­repute in the community, which in this case extends to the internet.  

102.   RANDAZZA’s  Defamatory  Statements  were  made  and  disseminated  by  RANDAZZA 

   to  numerous  third­parties,  with  the  full  knowledge  that  those  third­parties  would  in  fact 

   further disseminate his Defamatory Statements.   

103.   As  a  direct  and  proximate  result  of  RANDAZZA’s  reckless,  wrongful  and  malicious 

   statements,  ROCA  has  suffered  significant  loss  of  reputation  as  well  as  business 

   opportunities. 



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104.    ROCA’s  losses  include,  but  are  not  limited  to,  the failure of ROCA to sell its product to 

    identifiable  potential  customers  as  well  as  significant  lost  revenues  from  other  potential 

    customers. 

105.    Based  on  the  foregoing,  RANDAZZA  engaged  in  conduct  which  was  intentional, 

    fraudulent,  malicious,  oppressive,  and/or  he  engaged  in  conduct  with  such  gross  negligence 

    as to indicate a wanton disregard for the rights of ROCA.   

106.    The Defamatory Statements  made by RANDAZZA against ROCA constitute defamation 

    per se under the law.   

107.    RANDAZZA  was  provided  with  notice  as  required  by  Chapter  770,  Florida  Statute.  A 

    true a correct copy of the email notice is attached hereto as Exhibit 7.   

108.    RANDAZZA  confirmed  his  receipt  of  the  foregoing  notice  when  he  referenced  the 

    notice in a Court filing, shared  the communication with the media, disseminated the notice on 

    the internet, and used the notice to further harass and harm ROCA.  See Exhibit 8.   

        WHEREFORE,  Plaintiff,  ROCA  LABS,  INC.,  respectfully  requests  that  this  Honorable 

Court  declare  that  Defendant,  MARC  RANDAZZA,  has  defamed  ROCA  per  se,  and  further 

grant  temporary  and  permanent injunctive relief against the violating conduct, and  award ROCA 

with  an  amount  fair  and  just  to  account  for  its  money  damages,  interest,  reasonable  attorneys’ 

fees, and costs incurred herein, and for such other relief as this court deems just and proper. 

                                                   COUNT III 
                      DECLARATORY RELIEF AGAINST RANDAZZA 
                                                         
109.    The  allegations  set  in  forth   in  paragraphs  1  through  108  are incorporated by reference as 

    if fully repeated herein. 

110.    This is an action for declaratory relief pursuant to Section 86.011, Florida Statute. 


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111.   There is a bona fide, actual, present practical need for declaratory relief in this matter. 

112.   A present controversy with ascertainable facts exists between the parties in this matter. 

113.   RANDAZZA  has  intentionally  interfered  with   ROCA’s  economic  relationship  with 

   potential  customers  when   he  made  his  Defamatory  Statements  to  the  media,  and  then  later 

   memorialized the exact statements in Court pleadings.   

114.   RANDAZZA’s  conduct  directly  and  proximately  caused  ROCA  to  monetary  damages 

   that continue to accrue, as well as irreparable harm to ROCA’s reputation. 

115.   ROCA  is  in  doubt  as  to  their  rights  under  Florida  law  and  is  in  need  of  a  present 

   declaration  whether  the  conduct  of RANDAZZA, i.e., the Defamatory Statements,  tortiously 

   interfered with ROCA’s prospective economic relationship with potential customers.  

116.   ROCA  is  in  doubt  as  to  their  rights  under  Florida  law  and  is  in  need  of  a  present 

   declaration  whether  the  conduct  of  RANDAZZA,  i.e.,  the  Defamatory  Statements,   defamed 

   ROCA per se. 

117.   There  is  a  bona  fide,  actual  dispute  between  the  parties  based  on  the  refusal  of 

   RANDAZZA  to  cease  and  desist  its  conduct  after  ROCA  has requested same.  See Exhibits 

   7 and 8.   

118.   ROCA  seeks  relief   in  order  to  enforce  contractual  and  legal  rights,  and  does  not  merely 

   seek legal advice from this Honorable Court. 

119.   ROCA’s  right  to  recovery  is  dependent  upon  the  Court’s  finding  of  facts  and/or 

   application of same to Florida law. 

120.   The  parties’  interests  in  this  declaration  of  rights  are  actual,  present,   adverse  and 

   antagonistic of fact and/or law. 



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       WHEREFORE, Plaintiff, ROCA LABS, INC., requests the Court to: 

       a.     Take jurisdiction of the subject matter and parties hereto; 

       b.     Determine  applicable  law,  including  the provision(s) of Florida Statute that apply 

              to the parties; 

       c.     Declare  that  RANDAZZA  has  intentionally,  tortiously  interfered  with  ROCA’s 

              economic relationship with consumers; 

       e.     Declare that RANDAZZA has defamed ROCA per se; 

       g.     Declare  that  ROCA  has  suffered  economic  damages  as  proximate  result  of 

              Defendant’s conduct; 

       h.     Declare  that  ROCA  is   entitled  to  attorneys’  fees  and  costs  against  RANDAZZA 

              and determine the amounts thereof; 

       i.     Declare  that  ROCA  is   entitled  to  award  of  monetary  damages  against 

              RANDAZZA and determine the amounts thereof; 

       j.     Declare that RANDAZZA cease and desist his defamatory conduct; 

        k.    Award damages, interest, and taxable costs against RANDAZZA; and 

       m.     Award any other relief this Court deems just and proper against RANDAZZA. 

       WHEREFORE,  Plaintiff,  ROCA  LABS,  INC.,  respectfully  requests  that  this  Honorable 

Court  enter  judgment against Defendant, MARC RANDAZZA, for all damages, attorneys’ fees, 

and costs. 

                




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          EXHIBIT B
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          VERIFIED MOTION FOR ENTRY OF A TEMPORARY INJUNCTION 

        Plaintiff,  ROCA  LABS,  INC.,  by  and  through  its  undersigned  counsel  and  pursuant  to 

Rule  1.610  of  the  Florida  Rules  of  Civil  Procedure and Section 688.003, Florida Statute, hereby 

moves  this  Court  to  enter  a  temporary/preliminary  injunction  forcing  Defendant,  MARC 

RANDAZZA,  to  (a)  cease   and  desist  intentionally  and  tortiously  interfering  with  the  business 

relationships  of  ROCA,  (b)  formally  retract,  in  writing,  any  and  all  previously  made  and/or 

disseminated  Defamatory  Statements  of  or  about  ROCA,  and  (c)  remove any and  all  previously 

made  Defamatory  Statements  of  or  about ROCA from media outlets in which RANDAZZA has 

an  interest  in,  controls,  or   otherwise  has  authority  over  its  content.  In  support  hereof,  ROCA 

states as follows: 

                                             INTRODUCTION 
        This  motion  is  supported  by  the  verified  factual  allegations  in  the  Complaint  filed 

contemporaneously  herewith,  and  said  allegations  are  incorporated  by  reference  and  will  not  be 

reiterated  verbatim  herein.  As  stated  above,  RANDAZZA  made  Defamatory  Statements  about 

ROCA  first  to  the  media,  and  then  repeated  them  verbatim  in  subsequent  Court  filings.  The 

publications  of  the  Defamatory  Statements  brought  disgrace,  humiliation,  injury,  and  loss  to 

ROCA’s  business  relationships,  reputation,  and  goodwill   in  the  community.  These publications 

about  ROCA  hurt  ROCA’s  business,  drove  away   customers,  and  interfered  with  ROCA’s 

ability  to sell its products. The foregoing conduct  tortiously interfered with the business practices 

and relationships of ROCA.   


        The  verified  allegations  conclusively  demonstrate that (a) there is a  substantial likelihood 

that  ROCA  will  prevail  on  the  merits  of  this  case  and  (b)  in  the  absence  of  injunctive  relief  to 


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maintain  the  status  quo  pending  the  outcome  of  the  case,  ROCA  will  suffer  immediate  and  

irreparable injury.   


                                        MEMORANDUM OF LAW 

          A. STANDARD FOR INJUNCTIVE RELIEF 
              
          Under  Florida  law,  there  are  four  prerequisites  to  the  granting  of  preliminary   injunctive 

relief:  (1)  the  plaintiff  will  suffer  irreparable  harm;  (2)  the  plaintiff  has  no  adequate  remedy  at 

law;  (3)  there  is  substantial  likelihood  that  the  plaintiff  will  prevail  on  the  merits;  and  (4)  a 

temporary  injunction  will  serve  the  public  interests.  Provident  Mgt.  Corp.  v.  City  of  Treasure 

Island,  796  So.2d  481,  485  n.  9  (Fla.  2001);  Naegel  Outdoor  Advertising  Co.,  Inc.  v.  City  of 

Jacksonville, 659 So.2d 1046, 1047 (Fla. 1995). 

          B. INJUNCTIVE RELIEF IS APPROPRIATE 

          As  a  general  rule,  a  trial  court  has  sound  discretion  to  grant  injunctions.  Precision  Tune 

Auto  Case,  Inc.  v.  Radcliff,  731  So.2d  744,  745  (Fla.  4th  DCA  1999).   Further,  the  purpose of a 

preliminary  injunction  is  to  prevent  future harm.  Advantage Digital Sys., Inc. v. Digital Imaging 

Servs.,  Inc.,  870  So.  2d  111,  116  (DCA  Fla.  2004)(“By  its  nature,  an  injunction  restrains 

commission  of  a  future  injury;  a  court  cannot  prevent  what  has  already  occurred.”)  Thus,  it  is 

not  necessary  for a party seeking a preliminary injunction to wait until harm has occurred; such a 

delay  would  defeat  the  purpose  of  injunctive relief.  The facts of this  case demonstrate that all of 

the  elements  are  easily  satisfied,  and  the  requested injunction should be issued by this honorable 

Court. 

 

 


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                1) In the Absence of Injunctive Relief, ROCA Will Suffer Irreparable Harm  
                     
        Irreparable  injury  is  an  injury  which  is  of  a  peculiar  nature,  so  that  compensation  in 

money  cannot  atone  for   it.   Mullinix  v.  Mullinix, 182 So. 2d 268 (Fla. 4th DCA 1966); First Nat. 

Bank  n  St.  Petersburg  v.  Ferris,  156  So.  2d  421  (Fla.  2nd DCA 1963).   Due to the nature of the 

internet  (which is the  arena for the majority of the events that gave  rise to this cause), defamatory 

postings can cause great harm with very little effort.  

        The  actions  taken  by  RANDAZZA   created  an  immediate  and  viable  state  of  emergency 

for  ROCA,  which  has  already  caused  ROCA  to  incur  substantial  damages  and  which  threaten 

further  immediate  and  irreparable  harm,  to  wit:  (a)  ROCA  has  lost  daily  sales  of   thousands   of 

dollars  through  the  date   of  this  filing,  and  those   sales  will  continue to be lost until the actions of 

RANDAZZA  are  prohibited  or  cured  and  (b)  the  conduct  of  RANDAZZA  tainted  the  actual 

prospective  economic  relationship  with  numerous  consumers  and  these  customers  were  lost  

because  of  the   malicious,  intentional  conduct  of  RANDAZZA.  Indeed,  the  actions  taken  by 

RANDAZZA  threaten  to  destroy  ROCA’s  business.  There  is  likely  potential  irreparable  harm 

that is reasonably likely to result in the absence of an injunction.   

                 2) Plaintiffs Do Not Have An Adequate Remedy at Law 


        ROCA  does  not  have  an  adequate  remedy  law  because  an  injunction  is  the  only  means 

available  to  stop  RANDAZZA  from  tortiously  interfering  with  the  business  practices  and 

relationships  of  ROCA.  If  an  injunction  is   not  issued,  ROCA  will  likely  continue  to  lose 

business  relationships  that  can  never  be  reestablished.  Further,  monetary  damages  that  would 

arise  from  RANDAZZA’s  continued  misconduct  are  not  readily ascertainable and, in all events, 

would  be  insufficient  to  compensate  ROCA for the wrongs committed by RANDAZZA.  Given 


                                                        25
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the  vagaries  associated  with  calculating  lost  business,  lost  customers,  and  lost  goodwill  in  the 

community, no legal remedy can adequately compensate ROCA for RANDAZZA’s actions. 


                 3) Plaintiffs Are Substantially Likely To Prevail On The Merits 


        ROCA  is  substantially  likely  to  prevail  on  the   merits   in  this  matter,  particularly  with 

respect  to  the  issues  raised  by  this  Motion.  ROCA  does  not request that the Court pre­judge all 

of  the  issues  raised  by  its  Complaint;  rather,  the  relief  requested  herein  is  narrowly  limited  to  

ensuring  that  RANDAZZA  (a)  cease  and  desist  intentionally  and  tortiously  interfering  with  the 

business  relationships  of  ROCA,  (b)  formally  retract,  in  writing,  any  and  all  previously  made 

and/or  disseminated  Defamatory  Statements  of  or  about  ROCA,  and  (c)  remove  any  and  all 

previously  made  Defamatory  Statements  of  or  about  ROCA  from  the  media  outlets  in  which 

RANDAZZA has an interest in, controls, or otherwise has authority over its content.   


        RANDAZZA  made  Defamatory  Statements  about  ROCA  first  to  the  media,  and  then 

repeated  them  verbatim  in  subsequent  Court  filings.  The  parties  are  unequivocally aware of the 

certain  Defamatory  Statements  at  issue.  Further,  as  shown  in  the  Verified  Complaint  for 

Damages  and Injunctive Relief , the defenses RANDAZZA will undoubtedly attempt to raise are 

inapplicable  as   a  matter  of fact and law.  The publications of the Defamatory Statements brought 

disgrace,  humiliation,  injury,  and  loss  to  ROCA’s  business  relationships,  reputation,  and 

goodwill  in  the  community.  These  publications  about  ROCA  hurt  ROCA’s  business,   drove 

away  customers,  and  interfered  with  ROCA’s ability to sell its products.  The foregoing conduct  

tortiously  interfered   with  the   business  practices  and  relationships  of  ROCA.  Thus,  the  Verified 




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Complaint  for  Damages  and  Injunctive  Relief  does  in  fact  and  law  demonstrate  that  ROCA  is 

likely to prevail on the merits.   


                 4) An Injunction is in the Public Interest 


        ROCA  seeks  an  injunction  in  order  to  prevent  further  monetary  damages  and  other 

irreparable  harm  from  lost  business,  lost customers, and lost goodwill that is reasonably likely to 

occur  if  RANDAZZA  continues  to  defame  ROCA  and  tortiously  interfere  with  the  business 

practices and relationships of ROCA.  Under these circumstances, an injunction is in the public’s 

interest.  See Pino  v. Spanish Broad. Corp., 564 So.2d 186, 189 (Fla. 3d DCA 1990)(holding that 

the  public  is  entitled  to  rely   on   certainty  in  contracting  and  the  protection  of  property  rights; 

indeed,  commercial  development  depends  on  the  ability  of  a  company  to  protect  its  legitimate 

business  interests);  see  also  Silvers  v.  Dis­Com  Sec.,  Inc.,  403  So.2d  1133,  1137  (Fla.  4th  DCA 

1981)  (“[i]f  contracts  are  to  have  any  viability  at  all,  there  must  be  some  means  of  meaningful 

enforcement available for the courts….”).   


        C. BOND 


        In  cases  in which a Temporary Injunction is issued, a bond is required to be posted by the 

movant;  the  amount  of  the  bond  is  completely  within   the  Court’s  discretion.  See  Fla.R.Civ.P. 

1.610(b);  Montville  v.   Mobile  Medical  Industries,  Inc.,  855  So.2d  212,  215  (Fla  4th  DCA  2003) 

(holding  that  “the  trial  court  is generally afforded discretion in setting the amount of a bond for a 

temporary  injunction  entered  pursuant  to  Rule  1.610(b)”).  Generally,  the  amount  of   the  bond 

should  reflect  the  damages  that  are  reasonably  foreseeable  if  the  injunction  is  found  to  have 




                                                       27
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wrongfully  issued.  In  this  case,  a  bond  of   no   more  than  $1,000.00  is appropriate because of the 

(a) narrow injunctive relief sought and (b) lack of monetary damage suffered by RANDAZZA.   


                                             CONCLUSION 

        WHEREFORE,  Plaintiff,  ROCA  LABS,  INC.,  by  and  through  undersigned  counsel, 

moves  this  Court  to  enter  a  temporary/preliminary  injunction  forcing  Defendant,  MARC 

RANDAZZA,  to  (a)  cease   and  desist  intentionally  and  tortiously  interfering  with  the  business 

relationships  of  ROCA,  (b)  formally  retract,  in  writing,  any  and  all  previously  made  and/or 

disseminated  Defamatory  Statements  of  or  about  ROCA,  and  (c)  remove any and  all  previously 

made  Defamatory  Statements  of  or  about  ROCA from the media outlets in which RANDAZZA 

has an interest in, controls, or otherwise has authority over its content. 


                                 REQUEST FOR ATTORNEY’S FEES 
        Plaintiff,  ROCA  LABS, INC., requests an award of attorney’s fees, costs, and such other 

relief that the Court finds to be appropriate.   


                        DEMAND FOR JURY TRIAL ON COMPLAINT  

        Plaintiff,  ROCA  LABS,  INC.,  hereby  demands  trial  by  jury  as  to  all  issues so triable as 

to the Complaint.


                 


                 




                                                     28
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      Respectfully submitted on this 6th day of November, 2014. 




                                          /s/ John DeGirolamo 
                                          JOHNNY G. DEGIROLAMO, ESQ. 
                                          FLORIDA BAR NO: 0089792   
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                                          Phone: (863) 603­3461 
                                          Email: JohnD@inlawwetrust.com 




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                                 CERTIFICATE OF SERVICE 

       I  hereby  certify  that  the  foregoing  document  has  been  e­filed  via  the  Florida  State 

E­Portal on this 6th day of November, 2014.  




                                               /s/ John DeGirolamo 
                                               JOHNNY G. DEGIROLAMO, ESQ. 




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                                Exhibit 1
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                                Exhibit 2
11/5/2014            'Dietary Supplement' Company Tries Suing
               Case 8:14-cv-03014-SCB-MAP                     PissedConsumer,
                                                           Document       1 Citing
                                                                              FiledBuyer's Agreement Page
                                                                                     12/02/14        To Never49
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                                                                                                                 Anything
                                                                                                                    125Negative
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                                                                                                 Insider Shop        Insight Community            Step2              Search Techdirt                Search




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                          'Dietary Supplement' Company Tries Suing                                                                              A dve rt ise me nt


                          PissedConsumer, Citing Buyer's Agreement To Never Say
                          Anything Negative
                          fro m the g o o d-thing -w e -ne ve r-b o ug ht-a ny thing -fro m -ro ca -la b s de pt
         Legal Issues
    by Mike Masnick       Roca Labs is a company that describes itself as a manufacturer of "dietary supplements" some of
   Mon, Sep 8th 2014      which they label with highly questionable claims that I imagine would not be supported by
             1:32pm       anything the FDA would consider to be credible evidence. In particular, they have something called
                          "Gastric Bypass Alternative" which claims to help people lose weight -- though I would treat such
               0          claims skeptically without further proof. Indeed, it appears that many of Roca Labs' buyers are not
                          happy about it. The Better Business Bureau gives Roca Labs an F grade due to the large number of
                          complaints, many of which remain unresolved. Meanwhile the site PissedConsumer also has a
                          bunch of complaints about Roca Labs and its products -- and it appears that the PissedConsumer
          Filed Under:    page ranks rather highly on Google for searches on Roca Labs. Roca Labs is -- apparently -- not
               dietary                                                                                                        Esse nt ia l R e a ding
         supplements,
                          happy with that.
        gastric bypass
          alternative,
                          So it has now sued the parent company of PissedConsumer, Consumer Opinion Corp, trying to get                           Hot Topics
       opinion, pissed
 consumer, reviews,       the reviews taken down. The lawsuit is worth reading. It claims that PissedConsumer is engaged
  secondary liability,                                                                                                                              6.5    Former NSA Lawyer Says Reason
           section 230
                          in "deceptive and unfair trade practices" and that part of this is... because customers of Roca
                                                                                                                                                           Blackberry Failed Was 'Too Much
           Companies:     Labs agree to never say anything negative about the company.
                                                                                                                                                           Encryption' Warns Google/Apple Not
    consumer opinion
                 corp.,            Roca sells its products directly to the public and in exchange a discounted price,                                      To Make Same Mistake
     pissedconsumer,
             roca labs             Roca's customers agree under the terms and conditions of said purchase that                                      5.6    Latest EFF DMCA Exemption Requests
                                   regardless of their outcome, they will not speak, publish, print, biog or write                                         Include The Right to Tinker With and
           Permalink.              negatively about Roca or its products in any forum.                                                                     Maintain Unsupported Video Games

                          Of course, any such agreement is of questionable legality. However, we've certainly been seeing a                         5.3    Attention Kim Kardashian: You Can't
                          lot of these questionable "no negative reviews or you pay" agreements showing up lately.                                         Sue Another Woman For Having A Big
                                                                                                                                                           Ass And An Instagram Account
                          But, you say, PissedConsumer isn't the issue here, right? After all, the company never agreed to
                          those conditions, even if the buyers did agree to them (whether or not they're legally sound). Roca                     New To Techdirt?
                          is trying to get around that by arguing that because it has this clause and because PissedConsumer                      Explore some core concepts:
                          urges angry consumers to complain, the company is "tortiously interfering" with Roca's business
                                                                                                                                                    An Economic Explanation For Why DRM
                          because it's encouraging people to break the agreement. I'm not joking.
                                                                                                                                                    Cannot Open Up New Business Model
                                   Defendants deliberately and tortiously interfere with Roca Lab's customers by                                    Opportunities
                                   encouraging them to breach their customer agreement with Roca as Defendants                                      Step One To Embracing A Lack Of Scarcity:
                                   author or co-author false, malicious and negative posts about Roca that are                                      Recognize What Market You're Really In
                                   published on their subject website and Twecred to Twitter's 271 million users.
                                                                                                                                                    Infinity Is Your Friend In Economics
                          Where to start? First of all, no. Almost everything there is ridiculous. Presenting a platform for                                                     read all »
                          people to express their own opinions is not encouraging them to break any contract (which, again,
                          is of dubious legality in the first place). Second, the site is not authoring or co-authoring the posts. Te chdirt R e a ding List
                          Third, there's no evidence that anything being posted is "false." Fourth, what does Twitter's total
                          user base have to do with anything? It appears that @PissedConsumer's account has a few                            Remix: Making Art and Commerce Thr…
                                                                                                                                             Lawrence Lessig (Hardcover - Oct 16, 2008)
                          thousand followers.
                                                                                                                                                           $0.01

                          None of this matters anyway, because even if any of the other arguments made sense (and none of
                          them seem to make much, if any, sense) PissedConsumer is clearly well protected by Section 230                                   Reclaiming Fair Use: How to Put Balan…
                                                                                                                                                           Patricia Aufderheide, Peter Jaszi (Paperback - A…
                          of the CDA, which protects websites from the actions of their users. And, of course,
                                                                                                                                                           $12.85
                          PissedConsumer and its legal team are well aware of all this having hit back at previous bogus
                          legal threats in the past. I don't expect Roca Labs will get very far with this complaint. However,
                          if you'd like to see which complaints Roca Labs especially wants deleted, check page four of the                                 Hollywood's Copyright Wars: From Edi…
                                                                                                                                                           Peter Decherney (Hardcover - Apr 10, 2012)
                          complaint below, where the company conveniently lists out the statements it doesn't like. And,
                                                                                                                                                           $31.05
                          because they're so wrong on just about every other legal claim, it seems worth noting that many of
                          them are clearly statements of opinion, rather than anything that would be clearly defamatory
                          anyway (and if they were defamatory the company would need to go after those individuals who                                     Patent Failure: How Judges, Bureaucr…
                          made them in the first place, rather than the company hosting the content).                                                      James Bessen, Michael J. Meurer (Paperback - …
                                                                                                                                                           $25.60



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11/5/2014             'Dietary Supplement' Company Tries Suing
                Case 8:14-cv-03014-SCB-MAP                     PissedConsumer,
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                                                                                                                                     RadioactiveSmurf:
                                                                                                                                       chdirt Inside r Cha tMark Udall got voted out
                                                                         document with annotations.                                 Te
                                                                                                                                     and with the GOP taking over Senate looks like
                                                                                                                                     we won't be seeing that torture report after all
                                                                                                                                     silverscarcat: *Sad face*
                                                                                                                                     Udall should have ran on the platform that
                                                                                                                                     stated that he was for less government intrusion
                                                                                                                                     in your lives.
                                                                                                                                     RadioactiveSmurf: It does bother me that
                                                                                                                                     candidates who stand up for the people have a
                                                                                                                                     harder time getting re-elected. People complain
                                                                                                                                     about not being represented but when they are
                                                                                                                                     they vote that candidate out. Sends a bad
                                                                                                                                     message to politicians
                                                                                                                                     silverscarcat: That's because Udall didn't
                                                                                                                                     campaign enough on representing the people
                                                                                                                                     and standing up for their rights.
                                                                                                                                     Violynne: Stupid country? Try a stupid planet.
                                                                                                                                     Machin Shin: Just think, with us pushing to go
                                                                                                                                     to Mars, before long it will be "stupid solar
                                                                                                                                     system"

                                                                                                                                                          Get the Insider Chat!


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         Pianist Dejan Lazic Defends His Takedown Request By Pointing Out That The WaPo Reviewer Is Really Mean
         Misguided Pianist Asks Washington Post To Remove A Less-Than-Wonderful Review Under Right To Be
         Forgotten
                                                                                                                                    R e ce nt St orie s
         Magistrate Judge Not Impressed By Roca Labs' Legal Arguments: Recommends Against An Injunction
         Roca Labs Story Gets More Bizarre: Senator Threatens Bogus Defamation Lawsuit, While Nevada Quickly                        Wednesday
         Rejects Bogus Bribery Charge                                                                                               06:22 Former NSA Lawyer Says Reason Blackberry Failed
                                                                                                                                          Was 'Too Much Encryption' Warns Google/Apple Not
         Roca Labs Exec Claims Marc Randazza Bribed Nevada Politician To Get Anti-SLAPP Law Passed
                                                                                                                                          To Make Same Mistake (23)
                                                                                                                                    04:21 Latest EFF DMCA Exemption Requests Include The
                                                                                                                                          Right to Tinker With and Maintain Unsupported
                                                                                                                                          Video Games (22)
   Reader Comments (rss)
                                                                                                                                    01:16 UK Launches Orphan Work Licensing Scheme,
   (Flattened / Threaded)                                                                                                                 Misses Huge Opportunity To Make It Much Better
                                                                                                 Show All Comments
                                                                                                                                          (8)
                                                                                                      insightful   funny   report
    1.           Baron von Robber, Sep 8th, 2014 @ 2:02pm                                                                           Tuesday
                                                                                                                                    21:13 Airbnb Competitor Sues San Francisco For Making
          I foresee a Popehat signal in the near future.
                                                                                                                                          New 'Legalize Airbnb' Law Too Restricted To Airbnb
           [ reply to this | link to this | view in thread ]                                                                              (4)
                                                                                                                                    17:00 DailyDirt: Who Needs A Mouse And Keyboard
                                                                                                      insightful   funny   report         Anymore? (16)
    2.             Roger Strong (profile), Sep 8th, 2014 @ 2:06pm
                                                                                                                                    15:57 Here's Hoping Judge Ignores The Nutty Plaintiff
                                                                                                                                          With An Important Case On NSA Surveillance Of
          Paging Ken...                                                                                                                   Business Records (21)
                                                                                                                                    14:58 Virginia Police Departments Have Been
          PopeHat's summary of On Press case applies to Roca Labs and it's crack legal team:
                                                                                                                                          Collaborating On An Ad Hoc, Secret Phone Record
                                                                                                                                          Database (13)
          The hardest game on the internet is one I call "C/S/T", which is short for "Crazy, Stupid, Or Troll?"
                                                                                                                                    13:50 Chris Hadfield's Outer Space Version Of Space
          Whoever is running the internet-threat operation under the name "On Press, Inc." has certain defining
                                                                                                                                          Oddity Is Back... But It Still Never Should Have
          characteristics — truculence, functional illiteracy, and a grasp of law cobbled together by listening to 13-year-               Gone Away (23)
          olds swearing at each other on Xbox Live.
                                                                                                                                    12:46 Russia Dismantles Steve Jobs Memorial, Fearing
           [ reply to this | link to this | view in thread ]                                                                              That Tim Cook's Homosexuality Might Be
                                                                                                                                          Contagious (58)

                                                                                                      insightful   funny   report   11:36 Pianist Dejan Lazic Defends His Takedown Request
    3.           observer, Sep 8th, 2014 @ 2:06pm                                                                                         By Pointing Out That The WaPo Reviewer Is Really
                                                                                                                                          Mean (27)
          Re:
                                                                                                                                    More
          He's already tweeting about it.
                                                                                                                                    A dve rt ise me nt
           [ reply to this | link to this | view in thread ]


                                                                                                      insightful   funny   report
    4.           Anonymous Coward, Sep 8th, 2014 @ 2:15pm

          They give ALL of their customers a "discount"?

https://www.techdirt.com/articles/20140905/15443428437/dietary-supplement-company-tries-suing-pissedconsumer-citing-buyers-agreement-to-never-say-an…                                          2/7
11/5/2014            'Dietary Supplement' Company Tries Suing
               Case 8:14-cv-03014-SCB-MAP                     PissedConsumer,
                                                           Document       1 Citing
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         That's not called a discount. That's called a price.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
    5.           ACasey (profile), Sep 8th, 2014 @ 2:17pm



         Talk about the Streisand Effect!
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
    6.           Vidiot (profile), Sep 8th, 2014 @ 2:22pm



         Their own brand of dyspepsea

         Number 2 search result via Google for "Roca Labs":

         Better Business Bureau, West Florida - "This business is not accredited," followed by:

         Additional Complaint Information

         It has come to BBB's attention that the company will demand the removal of any complaint, web post or other
         publication that constitutes a breach of the terms and conditions agreed to by the consumer at the time of
         purchase, regardless of whether or not the consumer complaint is resolved.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
    7.           kenichi tanaka (profile), Sep 8th, 2014 @ 2:25pm

         That's crazy because it's like saying "I robbed a bank because lyrics in a rap song told me too". Does Roca Labs
         make any sense and are they serious?

         First of all, just because Roca Labs has it written that you cannot post negative comments about its products
         after you purchase them, doesn't mean that Roca Labs has a leg to stand on. Any court in this country, on this
         planet, would laugh Roca Labs out of their court for being so restrictive on consumers in the first place. Why?
         Because that violates an individual's first amendment right to free speech. Roca cannot claim that your purchase
         of their product prevents you from speaking negatively about their company. After all, if that were true, then
         why aren't they suing the Better Business Bureau?

         I don't even see this passing the laugh test with any competent court because any judge in this country would
         dismiss any such lawsuit before it could even get put on the docket.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
    8.           ACasey (profile), Sep 8th, 2014 @ 2:29pm



         Re:

         Freedom of speech and internet businesses rarely go together. Just see all those "defamation" cases.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
    9.          Anonymous Coward, Sep 8th, 2014 @ 2:46pm

         I must say, Roca's got guts referencing the Florida Deceptive and Unfair Trade Practices Act, when you consider
         THEIR practice of not allowing consumers to say anything negative about them.

         Of course, if the allegations about PissedConsumer are correct in that they sell "reputation management" where
         they ask companies for money to take down complaints, then PissedConsumer is hardly an innocent victim here.
         It's possible that this case is two bad actors going against each other.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
   10.           Gracey (profile), Sep 8th, 2014 @ 3:02pm


         [quote]PissedConsumer urges angry consumers to complain that the company is "tortiously interfering" with
         Roca's business[/quote]

         No. Roca's unfounded claims and poor products are interfering with their business.

         Maybe they should just sue themselves.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
   11.           connermac725 (profile), Sep 8th, 2014 @ 3:04pm

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11/5/2014            'Dietary Supplement' Company Tries Suing
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                                                           Document       1 Citing
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                                                                                                                 Anything
                                                                                                                    125Negative
                                                                                                                          PageID| Techdirt
                                                                                                                                     52
         Just an Idea

         Maybe if they answered the complaints from their customers they would not have to vent in other places.
         Instead of the we suck so we're going to ignore you business model they have now
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny     report
   12.          Anonymous Coward, Sep 8th, 2014 @ 3:21pm

         All they need to do is get Congress to pass a law making "Printing or saying mean things about me/us" illegal.
         Then they have to figure out how to enforce it.
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny     report
   13.          Mark Noo, Sep 8th, 2014 @ 3:23pm

         Puffery or Buggery

         Now that people pay such large amounts for advertising. Now that they consult psychologist and professional
         marketers can anything be said to be "puffery" any more.

         With 50 percent of our GDP (I think that is the number) dependent on consumer spending should we change the
         the word "puffery" to "buggery" so that people will better understand what unfettered marketing really is?

         I think we should.
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny     report
   14.           DannyB (profile), Sep 8th, 2014 @ 3:26pm


         EULAs

         By opening this bottle of high quality dietary supplement, and in consideration of the discount price you were
         offered, you agree to the 80 page EULA (provided on microfilm, inside the bottle).
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny     report
   15.           kenichi tanaka (profile), Sep 8th, 2014 @ 3:48pm

         Roca Labs needs to understand that you cannot sue somebody for exercising their first amendment rights. But, I
         gotta give them credit for having big balls for trying to do exactly that. It will be the first time that someone has
         been sued for practicing their right to free speech.
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny     report
   16.          Anonymous Coward, Sep 8th, 2014 @ 3:58pm

         Even sadder than the lawsuit is the sheer number of lawyers willing to make these kinds of bullshit claims on
         their clients' behalf. You'd think they'd rather be defending thieves, murderers and pedophiles -- at least then
         they'd have a chance of being on the right side of justice (after all, not everyone who is accused of these things
         is guilty).
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny     report
   17.          Anonymous Coward, Sep 8th, 2014 @ 4:02pm

         s/Twecred/tweeted/g

         The PDF has more readable and less twecred text.
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny     report
   18.           That Anonymous Coward (profile), Sep 8th, 2014 @ 4:05pm


         And the sense of entitlement grows.
         Because we business, we have a right nto perfect glowing reviews, even when we fail our customers.
         If you dare tell anyone how we failed you, you owe us money because we lost potential sales.
         Our dropping sales figures are because people said mean things online and not because we are a company so
         shitty we have to attempt to gag you into silence with the threat of lawsuits.
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny     report
   19.           ACasey (profile), Sep 8th, 2014 @ 4:37pm



         Re:

         Pretty pathetic, eh? Somebody actually did this sort of thing to me 7 years ago on Amazon - I gave a negative
         review of a (self-published, mind you) book I didn't like, and the author sent me a extortion letter demanding a

https://www.techdirt.com/articles/20140905/15443428437/dietary-supplement-company-tries-suing-pissedconsumer-citing-buyers-agreement-to-never-say-an…   4/7
11/5/2014            'Dietary Supplement' Company Tries Suing
               Case 8:14-cv-03014-SCB-MAP                     PissedConsumer,
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         260 fine. I didn't pay it, of course, because I had a lawyer, but what about the people who didn't?
         [ reply to this | link to this | view in thread ]


                                                                                             insightful   funny    report
   20.          Anonymous Coward, Sep 8th, 2014 @ 7:18pm

         Who wants to bet that copyright law has foisted all these unreasonable expectations to some degree?

         Until recently it was the copyright industries whining about "lost sales" in arguments that would never fly in the
         analog world. And now suddenly everyone is arguing that consumers should never be allowed to say anything bad
         about any product, because "contract law" and "lost sales".
         [ reply to this | link to this | view in thread ]


                                                                                             insightful   funny    report
   21.           That One Guy (profile), Sep 8th, 2014 @ 8:29pm



         Re: Re:

         On Amazon? Oh did they get off lightly if that's all you did, from what I've heard, Amazon is extremely touchy
         about that sort of thing, and simply forwarding the email to them would likely have gotten the author kicked
         clean off their service. They do not look kindly on people/companies who try and bully buyers, and for good
         reason.
         [ reply to this | link to this | view in thread ]


                                                                                             insightful   funny    report
   22.          Anonymous Coward, Sep 9th, 2014 @ 7:36am

         Re:

         Yeah that is for sure. Having that policy in the first place makes them look worse than anything that a customer
         could say about them. It shows not only did they know that they would have problems but their response is to
         cover it up instead of trying to fix the issue.
         [ reply to this | link to this | view in thread ]


                                                                                             insightful   funny    report
   23.           John Fenderson (profile), Sep 9th, 2014 @ 8:02am


         Re:

         "you cannot sue somebody for exercising their first amendment rights"

         This is not true as a blanket statement. You can absolutely contractually agree to restrict your first amendment
         rights and be sued if you break that agreement. Pretty much every job I've had has included a non-disclosure
         agreement, for instance. That restricts my first amendment rights, but should I break it I can expect a lawsuit.
         [ reply to this | link to this | view in thread ]


                                                                                             insightful   funny    report
   24.          Just Another Anonymous Troll, Sep 9th, 2014 @ 9:30am

         Re:

         [cough] Kleargear [cough]
         [ reply to this | link to this | view in thread ]


                                                                                             insightful   funny    report
   25.          Ian, Sep 9th, 2014 @ 5:16pm

         Re:

         Actually, you *can* sue someone for exercising their first amendment rights. The first amendment insulates you
         - to a degree - from *government* abridging your free speech rights. While it's a very difficult hurdle to
         overcome, private persons and entities can and do successfully sue folks for shooting off their mouths.
         Defamation and libel cases work out for plaintiffs all the time. The real underlying issues will - in general
         terms, since I haven't researched the law - revolve around (a) whether the restriction on discussing the product
         or Roca is lawful; (b) if it is, whether Roca can prove pissedcustomer.com and its parent was aware of and
         sought to interfere with existing contractual relationships between Roca and its suckers, er, customers; (c) if
         so, whether Roca was damaged by that knowing interference. In my view (a) is a dead bang loser for Roca, but
         assuming the gag requirement is valid, they have big problems with (b) and (c). Looking forward to Ken White's
         more penetrating analysis, to be sure.
         [ reply to this | link to this | view in thread ]


                                                                                             insightful   funny    report
   26.           Regretfulness (profile), Sep 10th, 2014 @ 3:26pm


         The world has a way of dealing with scumbags. The practice of including nondisparagement clauses in consumer
         contracts will soon be illegal in California. http://bit.ly/1umy6O5
         Other progressive states will follow.
         [ reply to this | link to this | view in thread ]

https://www.techdirt.com/articles/20140905/15443428437/dietary-supplement-company-tries-suing-pissedconsumer-citing-buyers-agreement-to-never-say-an…   5/7
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                                                                                              insightful   funny      report
   27.            Sheogorath (profile), Sep 13th, 2014 @ 9:19am

          The Better Business Bureau gives Roca Labs an F grade due to the large number of complaints, many of which
          remain unresolved.
          Really? Or is the actual case that Roca are simply too cheap to buy a better rating from the BBB?
          [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny      report
   28.         Carl, Sep 14th, 2014 @ 9:40am

          $800?

          From p.5 of the complaint: "Discounts average $800". Really? That's an extraordinary figure. How much does this
          product cost that they can discount it by that much? Does this cost as much as a car?

          How can such a thing be unregulated?
          [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny      report
   29.         Robert, Sep 14th, 2014 @ 12:29pm

          Roca Labs, should be shut down for fraud and deceptive trade.

          I imagine that if this comes to the notice of the Attorney General of the US; that Roca Labs should soon loose its
          license to market in the US and this highlights the reasons corporate officers should be charged criminally,
          imprisoned, and forbidden from selling any products in the market place ever again (even a garage sale). It is my
          hope that the judge will see this for what it is a nuisance suit, with no legitmate merit ... based on a contract
          with no legitimacy; and it will bring to light this company's neglectful and dangerous impact on the any
          community. In full transparency, I am not, not have I ever been a customer of Roca Labs ... however the
          allowance of the persistance of charloton con artistry groups like this are a blight on any market and cause harm
          to me through making products less viable for all of us. The market is served and the consumer is served by not
          allowing con men to con. End Roca Labs; they will not be missed ... more over indict its officers for
          racketeering, fraud, wire fraud, and deceptive practises ... up to and including ... proliferating illegitimate
          contracts.
          [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny      report
   30.         Anonymous Coward, Sep 22nd, 2014 @ 11:50pm

          Re: Roca Labs, should be shut down for fraud and deceptive trade.

          They're small potatoes and probably will be. If they were one of the big multinationals, no way. Look at the crap
          the Pharma industry is pulling, daily! And getting away with it, daily!
          [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny      report
   31.         Kevin, Oct 19th, 2014 @ 10:00pm

          Suits/Freedom of Speech

          I agree freedom of speech should be protected. When a person goes to far and their comments become defaming
          and or slanderous then they can be held libel for sure. People get sued and lose all the time for not wording
          their "freedom of speech" correctly. Pissedconsumer.com relies on a loophole to try and squeeze between the
          legal cracks. You can say and do whatever you feel big enough to do, but don't whine if you get sued or in
          trouble for it. There's a fine line and we should be able to say what we want it seems we just can't offend
          anyone by it or if it is worded in the wrong manner there will be consequences.
          [ reply to this | link to this | view in thread ]




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                           BLOG      FEATURES        VIDEO      BBS       TWITTER      FACEBOOK      TUMBLR


Dietary supplement company sues website for providing a forum for dissatisfied customers
Cory Doctorow at 3:00 pm Tue, Sep 9, 2014
            SHARE                     TWEET                     STUMBLE             COMMENTS


Roca Labs sells dubious snake-oil like a "Gastric Bypass Alternative," and their terms of
service forbid their customers from ever complaining; they say that Pissedconsumer.com
committed "tortious interference" by providing a place where disgruntled buyers could air
their grievances.




      But, you say, PissedConsumer isn't the issue here, right? After all, the company
      never agreed to those conditions, even if the buyers did agree to them
      (whether or not they're legally sound). Roca is trying to get around that by
      arguing that because it has this clause and because PissedConsumer urges
      angry consumers to complain that the company is "tortiously interfering" with
      Roca's business because it's encouraging people to break the agreement. I'm
      not joking.

      Defendants deliberately and tortiously interfere with Roca Lab's customers by
      encouraging them to breach their customer agreement with Roca as
      Defendants author or co-author false, malicious and negative posts about
      Roca that are published on their subject website and Twecred to Twitter's 271
      million users.




'Dietary Supplement' Company Tries Suing PissedConsumer, Citing Buyer's Agreement To
Never Say Anything Negative [Mike Masnick/Techdirt]


                                                                                         DISCUSS

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Norwegian atheist                      Mel Brooks cement prank at             Stellar bargains at Top Shelf
velociraptor trike: the movie          the Chinese Theater                    Comix's $3 sale!



A D B Y FE DE RA TE D ME DI A


Inside The Howling Tongues' Rockin' 'Paste'
Performance




  -from Paste Magazine-

  The Howling Tongues know how to get a crowd moving, but when it comes to
  hauling gear they’re just as savvy. To put their creativity to the test (and, selfishly,
  nab a chance to see the guys’ live show),   we
                                       CLICK TO    picked up the band from their home in
                                                VIEW

  Cumming, Ga. in the all-new 2015 Honda Fit, a deceptively roomy car that actually



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                                Exhibit 3
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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION


   ROCA LABS, INC.,                                                    Case No: 8:14-cv-2096-T-33EAJ

                      Plaintiff,

            v.

   CONSUMER OPINION CORP. and
   OPINION CORP.,

                      Defendants.
                                                                   /



                       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
                    MOTION FOR ENTRY OF A TEMPORARY INJUNCTION


            DEFENDANTS, OPINION CORP & CONSUMER OPINION CORP., hereby

   oppose Plaintiff’s Motion for Entry of a Temporary Injunction.1

   I.       Introduction

            Roca Labs (“Roca”) is a company that really wants to avoid criticism. However, instead

   of doing so by delivering a quality product and quality service, it seeks to suppress all criticism

   through underhanded (if not illegal) means. No matter what kind of hyperbole or unsupported

   assertions the Plaintiff tries to throw into the docket, that is why we are before this Honorable

   Court, nothing more, nothing less.




   1 Plaintiff improperly conflates these two entities, but for the purposes of this opposition, the Defendants will
   forgive this, as it is largely irrelevant to the outcome of the motion. The Motion is doomed for far less technical
   reasons than claims against the wrong party.




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             Roca sells a diet product, as an alternative to gastric bypass surgery. Roca claims that its

   “components are Guar Gum, Konjac, Inulin, Beta Glucan, Xanthan Gum, Maltodextrin,

   Vitamins B-6, B-12, C,” and flavoring. ECF 2 at 51. 2 Roca claims “these fibers are activated by

   large amounts of water and occupy most of the stomach, leaving only 20% available for food

   intake.”3 In other words, Roca Labs’ product primarily consists of industrial-food thickening

   agents that expands and increases the viscosity of water. Declaration of Dr. Thomas Parisi,

   attached hereto as Exhibit 1 (hereinafter “Parisi Decl.”) ¶8. The theory is simple: If you fill

   your stomach with it, you don’t have room, or hopefully desire, to fill it with anything else.4 A

   layperson might readily presume that such a scheme would result in weight loss. However, this

   low-tech, low-research formula is of specious value to many people – as such an approach can

   lead to health problems and even weight gain in some users. Parisi Decl. ¶¶9-10.

             Even legitimate, FDA-approved medicines, foods, and medical treatments, will have

   varying results and physical reactions. Part of how our body of knowledge grows, in the absence

   of FDA trials, is through consumers sharing their experiences. Parisi Decl. ¶¶15-17. This is

   almost imperative in the often shady underworld of “nutraceuticals,” which are neither FDA

   approved, nor seemingly regulated by anyone except their producers’ own ethics, such as they

   are.5 Therefore, consumers need feedback from prior users, so that they can at least have some




   2 In a promotional video, a spokes model vacantly reads from a teleprompter and misleadingly states that the
   ingredients are “approved by the World Health Organization,” as if that United Nations institute took some time
   off from fighting ebola in order to stamp its imprimatur on Roca’s concoction.
   <youtube.com/watch?v=0wNYozD1XEM> (last visited 15 Sept. 2014).

   3   <youtube.com/watch?v=0wNYozD1XEM>

   4   <youtube.com/watch?v=gJ9UeimqSqs&list=UUl7sVLkpP6ivf1P8BIyPW_g>




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   ability to predict side effects or efficacy issues. Parisi Decl. ¶18. Without this feedback, the

   public is put at risk. Parisi Decl. ¶19. But, Roca shows little concern for what happens to its

   users – if its product works for them, then Roca wants that information out there, but woe unto

   the user who gets sick or finds it ineffective. If they don’t keep their traps shut, Roca threatens

   to sue them. See Exhibit 2 (Example of Roca’s threats issued to dissatisfied customers); see also

   Exhibit 3, Declaration of Jennifer Schaive (“Schaive Decl.”) ¶11).6

            The Defendants provide a consumer review site upon which users share their

   experiences with any number of consumer goods and services. See Exhibit 4 (declaration of

   Michael Podolsky (hereinafter Podolsky Decl.”)). Roca Labs is only one of thousands of

   businesses reviewed on Defendants’ site. Podolsky Decl. ¶8. Some reviews are negative. Some

   are gushingly positive. The Defendants do not author any of the reviews, which are all provided

   by third parties. Podolsky Decl. ¶9. With respect to content, the Defendants are agnostic,

   hoping that the power of the marketplace of ideas will give consumers the ability to make an

   informed decision about whether they wish to put Roca Labs’ concoction into their bodies, and

   whether they trust their health to this “nutraceutical” manufacturer. Podolsky Decl. ¶10.




   5 Roca Labs discloses a number of possible side effects, in a YouTube video starring “Dr. Ross Finesmith.”

   <youtube.com/watch?v=sfZpZ-0zTus&list=UUl7sVLkpP6ivf1P8BIyPW_g>
   <youtube.com/watch?v=F7HQx2oZxY8&list=UUl7sVLkpP6ivf1P8BIyPW_g>
   However, “Dr.” Finesmith does not appear to be a physician licensed in any state.

   6 Some of these threats are signed by a “paralegal” who purports to “represent” Roca Labs. See Exhibit A to

   Schaive Decl. Among other concerns, this is the unauthorized practice of law. Activity that involves an important
   legal right of another is the practice of law. See Florida Bar v. Sperry, 140 So. 2d 587, 591 (Fla. 1962), vacated on other
   grounds, 373 U.S. 379 (1963); Florida Bar v. Warren, 655 So.2d 1131 (Fla. 1995) (corresponding with parties relative
   to a legal matter constitutes the practice of law).




                                                          3
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            A critical reader would likely presume that something is amiss upon reading the key

   clause in Roca Labs’ purchase terms.7 ECF 2 at 46. “In exchange for a significant discount… customers

   contractually agree that, regardless of their outcome, they will not speak, publish, print, blog or write negatively

   about ROCA or its products in any forum.” ECF 2 at ¶ 24, ¶144. However, these same terms fail to

   disclose the amount of this “discount” or “subsidy.” ECF 2 at 46; see Walsh Decl. ¶4. Roca

   then requires its customers to agree inter alia that they “consent to and agree to entry of an injunction…

   in enforcement of your violation of this term and condition,” and that the customer will then pay an

   elevated price for the product. ECF 2 at ¶ 130-131, 136. This is alongside the company’s “no

   refunds” and “no returns” policies, and a waiver of any chargeback rights even if the product

   never arrives. ECF 2 at 48-49. See Exhibit 6 (declaration of Tameka Anderson, describing the

   inequity of Roca Labs’ “no refunds” policy); see also Schaive Decl. ¶¶13-19. Roca Labs tries to

   scare its customers with clauses that provide it with a unilateral right to recoup not only an

   elevated price for the product, but “any expenses we incur in resolving the issue”, and that if any of

   them make a negative comment, it will (apparently even if true) “constitute defamation per se, entitling

   [Roca Labs] to injunctive relief and damages.”8 ECF 2 at 53. The coup de grace is a section providing

   for a one-sided attorneys’ fees provision, if a user dares to utter a negative word in public.

            Your breach of the Agreement as it relates to your obligation to refrain from
            making, posting, or otherwise commenting negatively about the Formula,
            Website, or The Company, is deemed a material breach of the Agreement, and




   7 That is, if they read them. They do not appear to be something the average consumer would read or could

   understand. See Exhibit 5, Declaration of Margaret Walsh (“Walsh Decl.”) ¶4.
   8 While Roca may claim that this provision amounts to a stipulation of irreparable harm justifying injunctive relief,

   the Court is not bound by such a purported stipulation between the parties. Clark v. Merrill Lynch, 1995 U.S. Dist.
   LEXIS 11541 (M.D. Fla. June 15, 1995).




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            you agree to pay all costs and attorney’s fees related to The Company’s
            subsequent efforts to enforce this term of the Agreement.9

   ECF 2 at 58-59.

            Does that sound like an upstanding company that stands behind its safe and reliable

   product? Or does that sound like a disreputable company, producing tubs of snake oil (or snake

   goop, as it were), and which knows that too much truth will hurt its fly-by-night bottom line?

   Roca Labs is desperately trying to force a cone of silence over each and every customer that

   discovers that Roca Labs’ product is not only a specious remedy for their weight issues, but a

   potential cause of additional health problems.10 Plaintiff, desperate to sell as many of its tubs of

   goo to the public as it can before regulatory agencies come knocking does its best to bully its

   former customers into silence. Schaive Decl. ¶11; Exhibit A to Schaive Decl.

            Roca Labs now seeks this Court’s assistance to scrub consumer review sites of negative

   reviews, or seemingly any reviews at all, by filing this lawsuit. Roca wishes to deprive the public

   of these reviews, even if they might alert a consumer to a possible health crisis. In this spirit,

   Roca comes to this Court seeking a prior restraint, unethically trying to cast a sanctionable

   defamation claim as something else, in the hope that this Court will not notice.

            //

            //

            //

   9 Presumably, Roca Labs’ demand for attorneys’ fees in the prayer for relief is based upon its position that the

   Agreement is enforceable against the Defendants, and thus Roca Labs believes that this clause binds the Defendants
   as well.

   10Noting that the Defendant is a New York company, it sounds to the Defendants like Roca is a company that
   wants to be called to task for violating New York law. This kind of agreement was held to be not only
   unenforceable, but subject to fines and injunctive relief prohibiting any further use of such language in New York.
   See People v. Network Assocs., 758 N.Y.S.2d 466; 195 Misc. 2d 384 (N.Y. Sup. Ct. 2003).




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   II.      Legal Analysis

   A.       Entry of a preliminary injunction is impermissible in this case

            Temporary injunctive relief is not available to plaintiffs seeking to suppress allegedly

   defamatory speech. Concerned Citizens for Judicial Fairness v. Yacucci, 2014 Fla. App. LEXIS 13670

   (Fla. 4th DCA Sept. 3, 2014); Vrasic v. Leibel, 106 So. 3d 485, 486 (Fla. 4th DCA 2013);

   Chevaldina v. R.K./FL Mgmt., Inc., 133 So. 3d 1086, 1091 (Fla. 3d DCA 2014).11 Presumably for

   that reason, Roca Labs has attempted to disguise this defamation claim as a Florida Deceptive

   and Unfair Trade Practices Act (FDUTPA) and tortious interference claim in order to try to

   side-step the clear case law that cuts against it in defamation actions. But, no matter many times

   you call a “dog” a “duck,” it will neither lay eggs nor quack.12 Styling a baseless defamation

   claim as something else does not shield it from First Amendment scrutiny and render palatable

   the most odiferous and despised remedy known to our courts – the prior restraint. This

   exceptional relief is impermissible under Florida law and the First Amendment.

            A prior restraint is an advance limitation on First Amendment activity. Fantasy Book Shop,

   Inc. v. City of Boston, 652 F.2d 1115, 1120 (1st Cir. 1981). This includes an injunction that

   prohibits speech prior to a determination that the speech is unprotected. See Near v. Minnesota,

   283 U.S. 697, 75 L. Ed. 1357, 51 S. Ct. 625 (1931). There is a “heavy presumption” against their

   validity. Southeastern Promotions, Ltd. v. Conrad, 420 U.S. 546, 558, 43 L. Ed. 2d 448, 95 S. Ct. 1239

   (1975); Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 70, 9 L. Ed. 2d 584, 83 S. Ct. 631 (1963); New




   11 This is even the case when the speech is false. Town of Lantana v. Pelczynski, 290 So. 2d 566, 569 (Fla. 4th DCA

   1974) (“Freedom from prior restraint upon speech and press extends to false, as well as true statements.”)
   12 See Fla. Bar v. Neiman, 816 So. 2d 587, 599 (Fla. 2002) (Describing the “duck test”). This case involves the

   “inverse duck test.”




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   York Times Co. v. United States, 403 U.S. 713, 714, 29 L. Ed. 2d 822, 91 S. Ct. 2140 (1971);

   Organization for a Better Austin v. Keefe, 402 U.S. 415, 419, 29 L. Ed. 2d 1, 91 S. Ct. 1575 (1971).

           Nevertheless, the Plaintiff comes to this Court, with clearly inapplicable claims,

   attempting to engage in misdirection – by asking the court to avert its gaze from the fact that

   what the Plaintiff truly wants is a prior restraint removing consumer reviews from publication

   before a trial. That is a textbook example of a prior restraint, and as explained above, the

   Supreme Court has roundly rejected prior restraints. See Kinney v. Barnes, 57 Tex. Sup. J. 1428 at n.7,

   2014 Tex. LEXIS 764 (Tex. 2014) (citing SOBCHAK, W., THE BIG LEBOWSKI, 1998).

           Perhaps after a trial, if the proper defendants (the authors of the comments) appeared in

   the case, and their speech was found to be unlawful, a narrow injunction might issue, but even that

   would be a challenging exercise, for even injunctions against speech that come after a trial are

   usually impermissible prior restraints. See Erwin Chemerinsky, Injunctions in Defamation Cases, 57

   SYRACUSE L. REV. 157, 165 (2007); see also Oakley, Inc. v. McWilliams, 879 F. Supp. 2d 1087, 1089

   (C.D. Cal. 2012) (“Injunctions against any speech, even libel, constitute prior restraints: they

   prevent[] speech before it occurs, by requiring court permission before that speech can be

   repeated.” (citation and internal quotation marks omitted)).

           Nevertheless, Roca Labs asks this Court to invite a prime specimen of the precise genus

   and species of the most despised of all constitutional vermin. Neb. Press Ass’n v. Stuart, 427 U.S.

   539, 559 (1976) (holding that prior restraints are “the most serious and least tolerable

   infringement on First Amendment rights”). This particular prior restraint would, quite likely, be

   the most offensive one that we could consider – as it seeks to suppress warnings about products




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   that have actually made people ill. Walsh Decl. ¶¶6-8.13 Roca Labs wants this Court to help it hide

   the truth -- that its products make some people sick. Parisi Decl. ¶11-13; Walsh Decl. ¶¶6-8.

   This is information that needs to be disseminated to allow consumers to make an informed

   decision about Roca’s product -- not censored.

            Defamation plaintiffs seeking prior restraints are hardly rare. After all, if a company can

   enlist the power of the courts to stop criticism of its business practices, it scores a coup. But, as

   the Supreme Court said in Organization for a Better Austin v. Keefe, in overturning one, “[n]o prior

   decisions support the claim that the interest of an individual in being free from public criticism

   of his business practices . . . warrants use of the injunctive power of a court.” 402 U.S. 415, 419-

   20 (1971).     There are no modern cases in which a court has granted a preliminary injunction in

   a defamation claim that withstood appellate scrutiny. Armed with this knowledge, the Plaintiff

   attempted to dress up its defamation claim as a one of tortious interference and FDUTPA. This

   clumsy and unsuccessful sleight of hand14 was an attempt to try to side-step the clear case law

   that cuts against prior restraints in defamation actions, and it is not a new page in the would-be

   censor’s playbook. In Chevaldina v. R.K./FL Mgmt., 133 So. 3d 1086 (Fla. 3d DCA 2013), the



   13 The complained-of statements are about evenly split between warnings about Roca Labs’ product causing health
   problems, it simply not working, and complaints about Roca Labs’ business practices, including the very “gag
   clause” that they seek to invoke in this case. Even in the absence of the Constitutional presumption against such an
   injunction, the negative policy implications of such an injunction are staggering.

   14Despite claiming a right to injunctive relief under specious tortious interference and FDUTPA claims in the
   Motion ECF 5, the Plaintiff simply uses such claims as point headings, while still speaking in defamation terms. For
   example, in arguing that there is irreparable injury, the Plaintiff does not claim that existing contracts will be
   tortiously interfered with, nor that it will be deceived by an unfair business practice. Instead, the alleged harm is
   reputational. “Roca has already suffered harm to its reputation … Each week approximately one thousand people
   see the false and malicious negative reviews… Once a posting is made… damage to Roca’s reputation is done…”
   ECF 5 at 15. Despite sprinkling the words FDUTPA and “tortious interference” in where we have placed ellipses,
   the Plaintiffs fail to turn this into anything but a garden variety defamation claim, where the Plaintiff should join
   countless others who have failed to convince a court to grant a prior restraint.




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   plaintiff tried to dress up its defamation claims as tortious interference claims for the purposes

   of seeking a preliminary injunction. The trial court erroneously granted the motion, but the 3d

   DCA did not let it stand. Id. 15

             Even if we were to suspend the First Amendment for the purposes of this case, the

   motion would still fail. Roca cannot possibly prevail on the claims raised in the motion, and thus,

   cannot show a possibility, much less a likelihood of success on the merits. The Defendants are

   immune under 47 U.S.C. § 230, and therefore, is not liable for the content of any statements

   made by third parties, and thus none of the claims should survive even cursory review. Further,

   the public interest would be grossly disserved by the requested censorship. To boot, there is no

   urgency supporting a finding of irreparable harm.16 Roca Labs failed to offer any evidence or a

   suggested security amount, violating Fed. R. Civ. P. 65 / Fla. R. Civ. P. 1.610.

   B.        Plaintiff has no likelihood of success on the merits

             1.   Tortious Interference

             To prevail in a tortious interference claim, a plaintiff must show “(1) the existence of a

   business relationship under which the plaintiff has legal rights; (2) knowledge of the relationship

   on the part of the defendant; (3) an intentional and unjustified interference with that

   relationship by the defendant; and (4) damage to the plaintiff as a result of the breach of the


   15 Florida state court judges seem less careful when it comes to prior restraints, despite the fact that every time they

   do, they get slapped down by their appellate courts. See, e.g., Concerned Citizens for Judicial Fairness v. Yacucci, 2014 Fla.
   App. LEXIS 13670 (Fla. 4th DCA Sept. 3, 2014) (overturning unconstitutional prior restraint by Judge Shahood);
   Chevaldina v. R.K./FL Mgmt.,133 So. 3d 1086 (Fla. 3d DCA 2013) (Reversing Judge Leesfield’s entry of an
   unconstitutional prior restraint when plaintiff claimed that the defamatory statements were made in furtherance of
   tortious interference); Vrasic v. Leibel, 106 So. 3d 485 (Fla. 4th DCA 2013) (overturning Judge Ross).

   16 Plaintiff has waited well in excess of two years to seek injunctive relief. The Tweets Plaintiff complains of date

   back to at least June 2012. ECF 2, Exhibit E. The first comment on <pissedconsumer.com> was posted March 9,
   2012. ECF 2, Exhibit F. This negates any claim of urgency warranting preliminary relief.




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    business relationship.” Bortell v. White Mountains Ins. Group, Ltd., 2 So. 3d 1041, 1048 (Fla. 4th

    DCA 2009) (emphasis added), see also Tamiami Trail Tours, Inc. v. Cotton, 463 So. 2d 1126, 1127

    (Fla. 1985). Even if Defendants had knowledge of Roca Labs’ customers beforehand, they

    would have been entirely justified warn them about the questionable product and unethical

    business practices, (as evidenced by the gag clause of the terms and conditions). “This cause of

    action requires a business relationship evidenced by an actual and identifiable understanding or

    agreement which in all probability would have been completed if the defendant had not

    interfered.” Ethan Allen Inc. v. Georgetown Manor, Inc., 647 So. 2d 812, 815 (Fla. 1994).

            Plaintiff’s tortious interference claim swings on the notion that the Defendants

    “tortiously interfere[d] with Roca Lab’s customers by encouraging them to breach their

    customer agreement with Roca” by posting reviews on the Defendants’ website. ECF 5 at 2.

    While Defendants assert, infra, that this does not constitute tortious interference, neither

    Defendant denies that the Pissed Consumer website wishes for consumers to review products or

    services they have tried. But, this does not support liability, as there is no tort in allowing

    consumers to review products.

            “[A]n action for tortious interference with a business relationship requires a business

    relationship evidenced by an actual and identifiable understanding or agreement which in all

    probability would have been completed if the defendant had not interfered.” Ethan Allen, 647

    So. 2d at 815. Roca Labs provides no evidence of an agreement which would have been completed.

    It simply speculates that everyone who reads the reviews is someone who was about to purchase

    Roca’s questionable product, but after the would-be-buyer saw a warning that it might make

    them ill (or that the company requires purchasers to enter into an unconscionable contract) they




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    thought better of it. That is not called “tortious interference,” that is called “an informed

    consumer making an intelligent choice.”

             Further, the basis for Roca’s claims is that anyone who purchased the product must have

    agreed to the “gag clause” limiting the customer’s right to speak negatively (even truthfully so)

    about the product or the company. ECF 5 at 2. Anyone who did not buy the product would

    have no basis to agree to the gag-provision, and it would be inapplicable. But, the “Agreement”

    that these would-be buyers would have entered into is itself unlawful, as discussed infra.

             Even if these facts could support a tortious interference claim, a relationship with a past

    customer does not provide a basis for the claim. Ethan Allen, 647 So. 2d at 815. While Roca Labs

    has burdensome terms and conditions, we can find nowhere among those burdens any

    obligation to be a repeat customer.17 “The mere hope that some of its past customers may

    choose to buy again cannot be the basis for a tortious interference claim.” Id. Therefore, Roca

    has no substantial likelihood of prevailing on the merits of its tortious interference claim,

    because the claim fails as a matter of law.

             Finally, the tortious interference claim is barred as duplicative. In cases addressing this

    scenario – a plaintiff claiming defamation and basing a claim of tortious interference with

    business relations upon that supposed defamation – the tortious interference claim is precluded.

    Orlando Sports Stadium, Inc. v. Sentinel Star Co., 316 So. 2d 607, 609 (Fla. 4th DCA 1975); see Easton

    v. Weir, 167 So.2d 245 (Fla. 2d DCA 1964) (holding that a single wrongful act gives rise to only a

    single cause of action). The single action rule applies to tortious interference claims like the one




    17In fact, repeat business does not seem to be Roca’s business plan, and discovery will likely show very few repeat
    customers.




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    in this case. “In Florida, a single publication gives rise to a single cause of action.” Callaway

    Land & Cattle Co. v. Banyon Lakes C. Corp., 831 So. 2d 204, 208 (Fla. 4th DCA 2002).

            In Orlando Sports Stadium, the plaintiff filed suit against a newspaper for defamation and

    tortious interference, alleging that the articles concerning the plaintiff were defamatory. 316 So.

    2d at 608. The appellate court found that the defamation and tortious interference claims

    overlapped because they were based on the same articles and because the “thrust” of the

    complaint was that these articles were injurious to the plaintiff. Id. at 609. The extraneous

    tortious interference claim was “nothing more than elements of damage flowing from the alleged

    wrongful publications.” Id. Roca Labs must establish an additional, distinct action that is not

    embodied within the defamation causes of action to bring a tortious interference claim.

    Therefore, without an independent basis, this claim itself cannot be sustained, much less serve as

    the basis for injunctive relief.

                     a.       Roca Labs’ Agreement is Unenforceable

            Roca Labs uses the “Agreement” with their customers as the basis for much of its

    complaint. “In exchange for a significant discount… customers contractually agree that, regardless of their

    outcome, they will not speak, publish, print, blog or write negatively about Roca or its products in any forum.”

    ECF 6 at 5 (emphasis added). Preliminarily, no Defendant is a party to, or bound by, this

    contract, and neither has an obligation to respect it. “[A] contract does not bind one who is not

    a party to the contract, or who has not agreed to accept its terms.’” Marlite, Inc. v. Eckenrod, 2012

    U.S. Dist. LEXIS 118140, 2012 WL 3620024 (S.D. Fla. July 13, 2012), citing Whetstone Candy Co. v.

    Kraft Foods, Inc., 351 F.3d 1067, 1074-75 (11th Cir. 2003).

            Even if the Defendants were so bound, the “gag clauses” in the Agreement are

    unconscionable and unenforceable, as to anyone. An unconscionable contract is one “‘such as no




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    man in his senses and not under delusion would make on the one hand, and as no honest and

    fair man would accept on the other.’” Hume v. United States, 132 U.S. 406, 411 (1889) (quoting

    Earl of Chesterfield v. Janssen, 28 Eng. Rep. 82, 100 (Ch. 1750)).18 “In general, an unconscionable

    contract has been defined as one which is so grossly unreasonable as to be unenforceable

    because of an absence of meaningful choice on the part of one of the parties together with

    contract terms which are unreasonably favorable to the other party.” King v Fox, 7 NY 3d 181,

    191 (2006); see also McCollum v. Xcare.net, Inc., 212 F. Supp. 2d 1142, 1148 (N.D. Cal. 2002)

    (noting that “the California Supreme Court defined an unconscionable contract as one that

    considered in its context, is unduly oppressive”).                  Roca Labs complains that it put the

    Defendants on notice of the unconscionable contract, and on that basis claims that it compelled

    them to respect its outrageous (and unlawful) terms.

             The standard for injunctive relief with respect to restrictive covenants requires plaintiff
             to plead and prove: (1) the existence of an enforceable contract, including a statutorily-
             defined legitimate business reason supporting each restrictive covenant; (2) defendants’
             intentional breach of the restrictive covenants; and (3) that plaintiff has no adequate
             remedy other than injunctive relief.

    Milner Voice & Data, Inc. v. Tassy, 377 F. Supp. 2d 1209, 1214 (S.D. Fla. 2005). Roca Labs cannot

    use the gag clauses as the basis for seeking injunctive relief, even as it applies to its customers

    who wrote the reviews on the Defendants’ website, because Roca Labs has presented no

    legitimate business reason to support the gag clause.

             Legitimate business interest may include trade secrets; valuable confidential business or
             professional information that otherwise does not qualify as trade secrets; substantial
             relationships with specific prospective or existing customers; or customer goodwill


    18Roca’s contract is procedurally unenforceable as well as substantively so. Nowhere in their “Agreement” do they
    so much as discuss how much the “discounted” price is. This two-tiered pricing is an illusion. See In re Zappos, Inc.,
    893 F. Supp. 2d 1058, 1064 (D. Nev. 2012).




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            associated with: an ongoing business by way of trade name, trademark, service mark, or
            ‘trade dress,’ or a specific geographic location, or a specific marketing or trade area.

    United Subcontractors, Inc. v. Godwin, 2012 U.S. Dist. LEXIS 67061, 18, 2012 WL 1593173 (S.D.

    Fla. Feb. 3, 2012). Preventing customers from providing their opinion of Roca Labs’ product is

    not a legitimate business interest, but instead is itself a deceptive trade practice. Any act “which

    unfairly takes advantage of the lack of knowledge, ability, experience or capacity of a consumer;

    or results in a gross disparity between the value received by a consumer and the price paid, to

    the consumer’s detriment” constitutes an unconscionable trade practice. See People v. Network

    Assocs., 758 N.Y.S.2d 466; 195 Misc. 2d 384 (N.Y. Sup. Ct. 2003). Deceiving customers about

    their ability to post factual reviews about the product online is itself unlawful in the Defendants’

    home district. Id. Of course, the end result of this unconscionable agreement is that the only

    information about this product that can be readily obtained is the fluff disseminated by the

    Plaintiff. Therefore, consumers buying this product are deprived of the ability to make an

    informed decision about something that could negatively affect their physical well-being. Parisi

    Decl. ¶15-19; Schaive Decl. ¶8, 18 And then, once they purchase it, based on information

    skewed by Roca’s bullying of anyone who might share inconvenient truths, Roca refuses to give

    the consumers refunds if they are dissatisfied or even if they get ill from it. Schaive Decl. ¶¶6-7,

    13, 16; Walsh Decl. ¶¶9, 14.

            Suppressing consumer reviews is unconscionable and unenforceable – no matter what

    the product. New York law (the law that governs the Defendants’ conduct) prohibits user

    agreements that restrict a customer’s right to discuss the services. See People v. Network Assocs.,

    758 N.Y.S.2d at 469. This is even more so when we consider the context. While Plaintiff calls

    its product a “food additive” (presumably to avoid FDA regulation), is the concoction a drug, a




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    food, or something else? Whatever it is, this is a product that has made some consumers sick.

    Walsh Decl. ¶¶6-8. Forcing them to remain silent, thus depriving other victims of the ability to

    make an informed decision, is unconscionable.

           2.      FDUTPA

           It is most ironic that Roca Labs seeks to invoke FDUTPA in this case, given its own

    practices. The purpose of FDUTPA is to “protect the consuming public and legitimate business

    enterprises from those who engage in unfair methods of competition, or unconscionable,

    deceptive, or unfair acts or practices in the conduct of any trade or commerce.” Fla. Stat.

    §501.202(2); see also Natural Answers, Inc. v. SmithKline Beecham Corp., 529 F.3d 1325 (11th Cir.

    2008). A proper analogy here might involve a pot and a kettle.

           FDUTPA has three elements: (1) a deceptive act or unfair practice; (2) causation; and (3)

    actual damages. City First Mortg. Corp. v. Barton, 988 So.2d 82, 86 (Fla. 4th DCA 2008) (quoting

    Rollins, 951 So.2d at 869, rev. den., 962 So.2d 335 (Fla. 2007)). But, the sine qua non of a FDUTPA

    claim is that the plaintiff must be a consumer or a competitor wronged by the defendant’s

    conduct. See Kertesz v. Net Transactions, Ltd.,635 F. Supp. 2d 1339, 1349 (S.D. Fla. 2009) (holding

    that the original version of FDUTPA applied only to “consumers.” Legislative change of this

    term to “person” encompassed businesses, but did not broaden the degree of factual standing to

    bring a FDUTPA claim); Dobbins v. Scriptfleet, Inc., 2012 U.S. Dist. LEXIS 23131, 2012 WL

    601145 (M.D. Fla. Feb. 23, 2012) (same). FDUTPA requires a consumer transaction. Monsanto

    Co. v. Campuzano, 206 F. Supp. 2d 1239, 1251 (S.D. Fla. 2002).

           Florida courts clarified that while the language of the FDUTPA was amended with the

    2001 revision, and substituted the word “person” for “consumer,” there still must be a

    consumer relationship between the parties, to provide for FDUTPA standing.




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            [T]he legislative intent of the 2001 amendment was to clarify that ‘remedies available to
            individuals are also available to businesses,’ as opposed to creating a cause of action for
            non-consumers. Accordingly, the Court is not convinced that the 2001 amendment to
            FDUTPA creates a cause of action for [two parties], when there is no consumer
            relationship between them.

    Dobbins v. Scriptfleet, Inc., citing Kertesz v. Net Transactions, Ltd., 635 F. Supp. 2d 1339, 1349 (S.D.

    Fla. 2009) (quoting Senate Staff Analysis and Economic Impact Statement, Florida Staff

    Analysis, SB 208, March 22, 2001, at p. 7). Roca is not a consumer of Defendants’ services, and

    has not provided any evidence to suggest that it is. Roca Labs lacks FDUTPA standing.

            Even if Roca had standing, it could not sustain a FDUTPA claim. Under the Act, an

    “unfair practice” is “one that ‘offends established public policy’ and one that is ‘immoral,

    unethical, oppressive, unscrupulous or substantially injurious to consumers.’” PNR, Inc. v. Beacon

    Prop. Mgmt., 842 So. 2d 773, 777 (Fla. 2003) (quoting Samuels v. King Motor Co., 782 So.2d 489,

    499 (Fla. 4th DCA 2001)). A “deceptive act” occurs when there is a “representation, omission,

    or practice that is likely to mislead the consumer acting reasonably in the circumstances, to the

    consumer’s detriment.” PNR, Inc., 842 So.2d at 777 (quoting Millennium Communs. & Fulfillment,

    Inc. v. Office of the AG, Dep’t of Legal Affairs, 761 So.2d 1256, 1263 (Fla. 3d DCA 2000)).

            In this case, any affected consumer would be one who received an honest review from

    the Pissed Consumer website, and thus made an informed decision to purchase or not purchase

    the product. This is precisely the opposite of a FDUTPA claim.

            Plaintiff says that a “practice is unfair when it offends established public policy and when

    the practice is immoral, unethical, oppressive, unscrupulous or substantially injurious.” ECF 5 at

    12. Defendants agree. The suppression of consumer reviews, some of which warn consumers

    of negative health consequences, fits that description. Meanwhile, no reasonable person could




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    contort that definition into “allowing consumers to share their experiences to the benefit of

    other consumers.”

             Let us presume, arguendo, that Defendants are the evil conspiracy that Roca paints them

    to be; even reprehensible conduct is not actionable under FDUTPA absent loss or damage to a

    consumer. Hetrick v. Ideal Image Dev. Corp., 758 F. Supp. 2d 1220, 1229-30 (M.D. Fla. 2010),

    citing General Motors Acceptance Corp. v. Laesser, 718 So. 2d 276, 277 (Fla. 4th DCA 1998). There is

    no identifiable loss or damage to a consumer here, and unless Roca is a consumer of the

    Defendants’ services or products, it lacks standing to bring such a claim on behalf of other

    consumers who have no quarrel with the Defendants. Roca Labs calling this business

    “immoral,” is not enough to give it standing under FDUTPA19 (although it is ironic).

             Furthermore, FDUTPA has no extraterritorial effect over these New York defendants.

    See Carnival Corp. v. Rolls-Royce PLC, 2009 U.S. Dist. LEXIS 107261 (S.D. Fla. Nov. 17, 2009)

    (holding “Plaintiffs’ claim that Defendants violated FDUTPA must be based entirely on actions

    that occurred within Florida”); Millennium Communications & Fulfillment, Inc. v. Office of Attorney

    General, 761 So.2d 1256, 1262 (Fla. 3d DCA 2000) (affirming that the purpose of FDUTPA is to

    prohibit unfair and deceptive practices which transpire within Florida). Defendants are New

    York corporations, and consumers that post reviews on the Pissed Consumer website hail from




    19 Even if its practices are “unethical,” which they are not, as a § 230 protected business, it still has immunity:

    Claims against another, far more maligned, consumer review business famously failed in Florida. “The business
    practices of Xcentric, as presented by the evidence before this Court, are appalling. Xcentric appears to pride itself
    on having created a forum for defamation. No checks are in place to ensure that only reliable information is
    publicized… However much as this Court may disapprove of business practices like those embraced by Xcentric,
    the law on this issue is clear. Xcentric enjoys complete immunity from any action brought against it as a result of the
    postings of third party users of its website.” Giordano v. Romeo, 76 So. 3d 1100, 1102 (Fla. 3d DCA 2011).




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    all over the world. The only thing that seems to have occurred in Florida is that Roca Labs itself

    engaged in questionable business practices here.

            As if we need more, Plaintiff has no evidence of damages. “Proof of actual damages is

    necessary to sustain a FDUTPA claim.” Dorestin v. Hollywood Imps., Inc., 45 So. 3d 819, 824 (Fla.

    4th DCA 2010); see Rollins, Inc. v. Heller, 454 So. 2d 580, 585 (Fla. 3d DCA 1984). Instead,

    Plaintiff makes generic, broad sweeping statements that it suffered damage. ECF 6 at 14. This

    is insufficient.    Further, it is not “damages” if a potential customer thinks better of the

    transaction after receiving truthful information about a product or a company’s questionable

    business practices. That is the marketplace of ideas at work.

            Despite Roca’s claims of Defendants’ morality lapses, the only thing that is unethical in

    this case is that Roca Labs wishes to keep negative data out of the public eye – presumably so

    that any health problems it causes will never be reported in the light of day. Parisi Decl. ¶¶20-

    22. The only thing that Roca Labs bases its claims of “immorality” upon is the fact that it does

    not want the truth out there – that its product does not work for everyone, and it makes some

    people sick. Parisi Decl. ¶¶12-13, 24; Walsh Decl. ¶¶6-8. Roca now wants this Honorable Court

    to be its censor, ordering these shared experiences wiped from publication, before a trial on the

    merits. If this Court does so, then the next victim is on this Court’s conscience.

            3.         Defamation

            Plaintiff only cites to tortious interference and FDUTPA as the basis for its request for a

    prior restraint, presumably because a preliminary injunction is not available in defamation cases.

    Nevertheless, they base the request on the foundation that the contents of the third party posts

    published on <pissedconsumer.com> are false and defamatory. ECF 2 at 33. Even if they are,

    the Pissed Consumer website is subject to immunity under 47 U.S.C. § 230, and cannot be held




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    liable for the content of statements made by third parties, not even for equitable remedies. See

    Giordano v. Romeo, 76 So. 3d 1100 (Fla. 3d DCA 2011).

                    a.      Section 230

            The Pissed Consumer website only hosts third-party produced content appearing on

    <pissedconsumer.com> and is neither the author nor the editor of the reviews. Podolsky Decl.

    ¶9. Because it is a service provider, and not a publisher, Defendants are immune from liability

    under 47 U.S.C. § 230 (the “Communications Decency Act” or “CDA”). “The purpose of the

    CDA is to establish ‘federal immunity to any cause of action that would make service providers

    liable for information originating with a third-party user of the service.’” Alvi Armani Med., Inc. v.

    Hennessey, 629 F. Supp. 2d 1302, 1306 (S.D. Fla. 2008), quoting Almeida v. Amazon.com, Inc., 456

    F.3d 1316, 1321-1322 (11th Cir. 2006). In order to qualify as a service provider under Section

    230, (1) the defendant must be a provider or user of an interactive computer service; (2) the

    cause of action must treat the defendant as a publisher or speaker of information; and (3) the

    subject information must be provided by another information content provider. Whitney Info.

    Network, Inc. v. Xcentric Ventures, LLC, 2008 U.S. Dist. LEXIS 11632, 26, 2008 WL 450095 (M.D.

    Fla. Feb. 15, 2008). While Plaintiff wants to hold Defendants liable as the “publisher” of the

    Tweets that are generated from reviews posted on <pissedconsumer.com>, the Tweets are

    automatically broadcast third party statements, and are not written by the Defense. Podolsky

    Decl. ¶11. Accordingly, even this creative argument fails as a matter of law.

            “[L]awsuits seeking to hold a service provider liable for its exercise of a publisher’s

    traditional editorial functions-such as deciding whether to publish, withdraw, postpone or alter

    content-are barred by the CDA.” Hopkins v. Doe, 2011 U.S. Dist. LEXIS 136038, 4, 2011 WL

    5921446 (N.D. Ga. Nov. 28, 2011), citing Zeran v. Am. Online, Inc., 129 F.3d 327, 330 (4th Cir.




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    1997). Reviews posted on Pissed Consumer are automatically disseminated on Twitter, but that

    does not make Defendants “publishers” under the CDA, but instead falls within the purview of

    immunity. Defendants’ users authored the statements. Dissemination of them does not trigger

    a § 230 exception. Disseminating the content to the public is not enough. “A ‘provider’ of an

    interactive computer service includes websites that host third-party generated content.” Regions

    Bank v. Kaplan, 2013 U.S. Dist. LEXIS 40805, 47, 2013 WL 1193831 (M.D. Fla. Mar. 22, 2013);

    citing Doe v. Friendfinder Network, Inc., 540 F. Supp. 2d 288, 293 (D.N.H. 2008).

                Furthermore, Plaintiff is attempting to confer liability on Defendants as “co-authoring”

    the posts on the website because there is a set form that third-party users must use to submit

    reviews. However, providing a form for third parties to submit information to the website is

    also not sufficient to give rise to liability.

                The website’s content submission form simply instructs users to ‘[t]ell us what’s
                happening. Remember to tell us who, what, when, where, why.’ The form
                additionally provides labels by which to categorize the submission. These tools,
                neutral (both in orientation and design) as to what third parties submit, do not
                constitute a material contribution to any defamatory speech that is uploaded.20

    The submission form in this case is also neutral, and does not amount to “material contribution”

    such that could give rise to liability as the publisher of the third-party statements.21

                Since Section 230 bars its claims against the Defendants, Plaintiff cannot show by clear

    and convincing evidence that it has a strong likelihood of success on the merits to warrant

    granting an injunction on any claims in this case at all.



    20   Jones v. Dirty World Entm’t Recordings, et al., 755 F.3d 398, 416 (6th Cir. 2014).

    21 The Plaintiff tries to rely upon the Ninth Circuit’s decision in Fair Hous. Council v. Roommates.com, LLC for this

    argument, but in Roommates, the users had no choice but to render unlawful statements by using a drop down menu.
    521 F.3d 1157, 1166 (9th Cir. 2008). This is why Roommates.com was held liable, and this is a most narrow ruling
    that does not constitute the wide gap in section 230 claimed by the Plaintiff. Id.




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    C.     The Harm of an Injunction Outweighs its Benefit

           The Plaintiff must prove that the alleged threatened injury to it would not disserve the

    public interest. Silencing consumers, who share presumptively First Amendment protected

    opinions, because Roca Labs wants to sell more unverified product to make more people sick,

    harms the public interest because of the censorship inherent in the relief. Furthermore, there are

    likely hundreds of other individuals who may be bilked just as prior customers were, by a

    product that not only does not guarantee weight loss, but may actually cause substantial medical

    harm. Parisi Decl. ¶11-13. The public has a right to know about side effects and health hazards,

    and the Pissed Consumer website. provides a service that allows individuals to provide their

    experiences and opinions, both positive and negative, in order to create a better-informed

    public. “Consumer reporting plays a vital role in ensuring that a company’s desire to maximize

    profit, if abused, will not go unnoticed; and online fora for the exchange of those ideas play an

    increasingly large role in informing consumers about the choices that make sense for them.”

    Neumont Univ., LLC v. Little Bizzy, LLC, 2014 U.S. Dist. LEXIS 69168 (D. Nev. May 20, 2014).

           If the Court issues a prior restraint in this case, it will silence consumer warnings about a

    dangerous product. Further, it would violate core First Amendment principles, and impinge on

    the public right to receive this information. Plaintiff does not attempt to balance the equities to

    determine the relative harms. Instead, Plaintiff simply states “Defendants will suffer little or no

    harm by ceasing to interfere with our contractual relationships and removing the interfering

    postings about Roca.” ECF 5 at 16. Meanwhile, Plaintiff says nothing of the damage to free

    expression, nor of the damage to the public’s right to know.

           The standard is not whether suppressing free speech rights of Defendant would harm

    the Defendant (which it would), but instead, it is a balancing test of whether the harm to the




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    defendant and the public interest, if the injunction were granted, would outweigh the harm to

    the plaintiff if the injunction were not granted. Consumer protection and review sites are of the

    utmost constitutional importance. See, e.g., Neumont Univ., LLC v. Little Bizzy, LLC, 2014 U.S.

    Dist. LEXIS 69168; Carver v. Bonds, 135 Cal. App. 4th 328, 343 (2005). Postings intended to aid

    consumers in choosing among service providers, are “directly connected to an issue of public

    concern.” See Wilbanks v. Wolk, 121 Cal. App. 4th 883, 897 (2004). Plaintiff cannot articulate

    any compelling interest sufficient to outweigh the harm to Defendant’s rights of free speech, nor

    the public’s right to know.

    D.       Plaintiff Shows No Irreparable Harm

             Plaintiff simply, and generically states that “[i]f the injunction is not granted, Roca will

    face a substantial threat of irreparable injury.” ECF 5 at 15. However, it offers up no evidence

    in support of this request for highly extraordinary relief.22

             1.        Delay is fatal to Plaintiff’s claim of irreparable harm

             Plaintiff claims irreparable harm, yet waited more than two years to bring a claim.

    “Delay, or too much of it, indicates that a suit or request for injunctive relief is more about

    gaining an advantage (either a commercial or litigation advantage) than protecting a party from

    irreparable harm.” Pippin v. Playboy Entm’t Group, Inc., 2003 U.S. Dist. LEXIS 25415, 5-6, 16 Fla.

    L. Weekly Fed. D 506 (M.D. Fla. July 1, 2003) (internal citations omitted). See Love v. Blue Cross

    & Blue Shield of Ariz., Inc., 2010 U.S. Dist. LEXIS 39988, 38-39, 2010 WL 1249120 (S.D. Fla.

    Mar. 25, 2010) (delay is sufficient to deny a request for preliminary injunction), Citibank, N.A. v.



    22 Defendants agree that the more dissemination of the truth, the less Roca will likely sell. But, this is not a legal

    harm. It is as if a mugger were to sue for an injunction preventing someone from warning passer-by that the
    criminal is waiting in a dark alley, and that they should take an alternate route.




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    Citytrust, 756 F.2d 273, 276 (2d Cir. 1985) (finding that a ten week delay was sufficient to negate

    a plaintiff’s claim of irreparable harm); Badillo v. Playboy Entm’t Group, Inc., 2004 U.S. Dist. LEXIS

    8236, 8, 17 Fla. L. Weekly Fed. D 529 (M.D. Fla. Apr. 16, 2004) (finding that “a nine month

    delay is fatal in this case to Plaintiffs claims of irreparable harm”).

             2.        Plaintiff Has An Adequate Remedy at Law

             The second requirement of demonstrating irreparable harm is that there must exist no

    adequate remedy at law. The burden of irreparable injury cannot be met by mere economic

    injury. “An injury is irreparable only if it cannot be undone through monetary remedies.” Taylor

    v. Florida State Fair Auth., 1995 U.S. Dist. LEXIS 17786, 17-18 (M.D. Fla. Aug. 15, 1995) citing

    Sampson v. Murray, 415 U.S. 61, 90, 94 S. Ct. 937, 953 (1974). Courts that have analyzed this issue

    have found that defamation is a claim arising under law, not equity, and for which claimants are

    entitled only to legal relief (i.e., monetary damages). See In re King World Productions, 898 F.2d 56,

    60 (6th Cir. 1990) (holding that fact that a physician may be embarrassed by publication of video

    allegedly showing him engaging in medical malpractice did not justify temporary restraining

    order). Moreover, economic loss, even if difficult to quantify, is no basis for the entry of a

    preliminary injunction restricting speech.” Bollea v. Gawker Media, LLC, 2012 U.S. Dist. LEXIS

    162711, 13, 105 U.S.P.Q.2D (BNA) 1496, 40 Media L. Rep. 2601 (M.D. Fla. Nov. 13, 2012).

    Finally, Roca seems to have no trouble calculating its damages. Roca says that every person who

    views the reviews is a certain customer, and thus Roca loses one sale. If their claims are true, then

    the calculation is simple – count the views and multiply by the purchase price.23

             //


    23Defendants do not agree that this claim has any basis in fact or logic, but if it was good enough for the Plaintiffs
    to demand payment, they should be estopped from arguing that they now can’t possibly do the math.




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    E.     Plaintiff Fails to Pledge Security

           Federal Rule of Civil Procedure 65(c) provides that a district court may issue a

    preliminary injunction “only if the movant gives security in an amount that the court considers

    proper to pay the costs and damages sustained by any party found to have been wrongfully

    enjoined.” Fed. R. Civ. P. 65(c). A preliminary injunction is improper where a plaintiff “did not

    provide any such security, and the district court was unable to discern what amount was proper

    under Rule 65(c) because [the plaintiff] failed to adequately set forth facts on which the Court

    [could] make a reasoned determination as to the amount of security which must be posted.”

    Jones v. Brown, 518 F. App’x 643, 644 (11th Cir. 2013). That is where we are now.

           Additionally, in the alternative, as this Motion was initially filed in state court, Florida

    Rule of Civil Procedure 1.610 requires a movant to give bond in an amount the court deems

    proper before issuing a preliminary injunction. Fla. R. Civ. P. 1.610(b). “The purpose of an

    injunction bond is to provide sufficient funds to over the adverse party’s costs and damages in

    the event the injunction is later deemed to have been improvidently entered.” Bieda v. Bieda, 42

    So.3d 859, 862 (Fla.3d DCA 2010). A trial court may not enter a preliminary injunction without

    complying with the bond requirement. Roca Labs’ Motion includes no discussion of the bond

    requirement, as required under the Florida Rules of Civil Procedure.

           In the event that this Honorable Court decides that it wishes to be the first court to ever

    sustain a prior restraint under the claims brought before it, the Court should note that Roca has

    brought at least one claim, FDUTPA, where the Defendant should have an opportunity to seek

    prevailing party attorneys’ fees. Given the shotgun pleading in this case, it is clear that this

    plaintiff will seek to multiply these proceedings out of any proportion that might be reasonable

    under the law. Accordingly, it is foreseeable that the prevailing party fees in this case will be




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    above $200,000. Therefore, any bond should be in excess of $200,000 for this alone, unless the

    Court wishes to make it clear that this case should end early, given its frivolous nature.

    Furthermore, if the statements are taken offline, the Defendant will lose months and months of

    viewers, and the suppression of such content will likely lead to at least a handful of victims with

    health problems from the concoction – which could have been avoided had the truth remained

    published. Therefore, Roca Labs should be compelled to place at least $2.5 million in a

    “potential victims fund” bond.

    III.   CONCLUSION

           Based on the foregoing, this Court must not issue an injunction. Plaintiff has failed to

    prove any of the elements necessary to obtain a preliminary injunction, as they have not

    demonstrated likelihood of success on the merits, they have not demonstrated irreparable harm,

    and they have not adequately balanced the relative harms to Defendants and the public, to

    demonstrate that a preliminary injunction is warranted. The public’s interest in free speech and

    debate would be seriously, and negatively, impacted by an injunction against Defendant in this

    case. The injunction Roca Labs wants would constitute an impermissible restraint on speech,

    one that the Florida courts, and courts around the country, have roudly rejected.



                                                               Respectfully Submitted,

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                                                               ________________________
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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on September 18, 2014, I electronically filed the foregoing
    document with the Clerk of the Court using CM/ECF. I also certify that a true and correct
    copy of the foregoing document is being served upon: Paul Berger, Esq. and Nicole
    Freedlander, Esq., counsel for Plaintiff, via transmission of Notices of Electronic Filing
    generated by CM/ECF and courtesy copies have been emailed to the following attorneys.

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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION


      ROCA LABS, INC.,                                          Case No: 8:14-cv-2096-T-33EAJ

                      Plaintiff,

              v.

      CONSUMER OPINION CORP. and
      OPINION CORP.,

                      Defendants.
                                                            /



            MOTION FOR AN EMERGENCY TEMPORARY RESTRAINING ORDER
           AND FOR AN ORDER TO SHOW CAUSE AS TO WHY ROCA LABS SHOULD
                  NOT BE SANCTIONED FOR WITNESS INTIMIDATION


              DEFENDANTS, OPINION CORP & CONSUMER OPINION CORP., hereby seek a

      temporary restraining order enjoining the Plaintiff from taking acts to intimidate and harass

      defense witnesses in this case, and seek sanctions against Plaintiff for already doing so.

      I.      Introduction

              Roca Labs (hereinafter, “Roca”) sells a product, which it describes as a “nutraceutical.”

      This product has questionable results, and has resulted in at least 78 complaints to the Better

      Business Bureau, and 34 complaints on the PisssedConsumer.com website. Not only are the

      results questionable, but Roca’s product threatens the health and welfare of at least a portion (if

      not all) of its users. ECF 13-5.




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             To try and suppress consumers from sharing their experiences, including experiences

      that include negative health consequences, (ECF 13-5 at ¶7) Roca filed the instant action, hoping

      to put an end to any consumer sharing negative information about their product. ECF 2 at 46.

             In large part, the fulcrum upon which Roca’s lever rests is its “Agreement.” ECF 2 at

      46. No matter how negative of an experience consumers have with the Roca product, the

      Agreement purports to bar them from making any negative statements about Roca’s product or

      its business practices. ECF 2 at 53-54. Of course, this Agreement is unconscionable and

      unenforceable. See ECF 13 at 12. But, that does not stop Roca from trying to scare consumers

      nationwide with threats of litigation, in the hope that the only information that will make it to

      the marketplace is information that Roca approves.

             The Defense managed to contact a handful of Roca’s prior customers to serve as fact

      witnesses in this case. Most whom the Defense reached out to declined to respond, presumably

      due to the fact that Roca had already threatened them, or our of fear that Roca would retaliate

      against them for testifying. Those concerns have proven to be well founded, as Roca has now

      threatened at least one of the witnesses in this case, Jennifer Schaive. ECF 13-3. Attached

      hereto as Exhibit 1 is the e-mail from Roca Labs to Ms. Schaive, threatening suit against her.

      Attached hereto as Exhibit 2 is the declaration of Marc Randazza, Esq. attesting to the

      authenticity of the e-mail from Ms. Schaive. Although Roca will likely claim that it simply seeks

      to enforce its “Agreement,” the timing of its aggression against Ms. Schaive makes its intentions

      transparent – Roca wants to intimidate Ms. Schaive. Further, its goals are likely broader than

      that. Roca Labs knows that if it follows through on its threats to file suit against Ms. Schaive,

      other witnesses will be far more reluctant to come forward.




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              In order to prevent Roca Labs from unlawfully interfering with witness statements in

      this lawsuit, the Defense seeks an immediate restraining order preventing Roca from threatening

      or otherwise harassing Ms. Schaive,1 Ms. Anderson,2 and Ms. Walsh,3 by filing suit against

      witnesses in this case. Furthermore, Roca should be compelled to immediately disclose any and

      all communications it has engaged in with potential witnesses in this case, and should be

      enjoined from engaging in further threatening or harassing communications with any consumers

      who have negatively reviewed the product, at least until the enforceability of its Agreement has

      been adjudicated. That should be achieved at the October 8 hearing, and thus the relief sought

      should only impact Roca for 17 days.

      II.     Legal Analysis

      A.      Standard for a TRO

              “A temporary restraining order protects against irreparable harm and preserves the status

      quo until a meaningful decision on the merits can be made.” Schiavo ex rel. Schindler v. Schiavo, 358

      F. Supp. 2d 1161, 1163 (M.D. Fla. 2005). In order to obtain a temporary restraining order,

      Plaintiff must demonstrate (1) a substantial likelihood that Plaintiff will eventually prevail on the

      merits; (2) a showing of irreparable injury to the Plaintiff unless the injunction issues; (3) proof

      that the threatened injury to Plaintiff outweighs whatever damage the proposed injunction may

      cause Defendant; and (4) a showing that the injunction, if issued, would not be adverse to the

      public interest. Johnson v. U.S. Dept. of Agriculture, 734 F.2d 774, 781 (11th Cir. 1984).




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        ECF 13-3
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        ECF 13-6
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        ECF 13-5




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              No particular quantum of proof is required as to each of the four criteria. Louis v.

      Meissner, 530 F. Supp. 924, 925 (S.D. Fla. 1981) the trial court should use a balancing-type

      approach. State of Texas v. Seatrain International, S. A., 518 F.2d 175, 180 (5th Cir. 1975) (“none of

      the four prerequisites has a fixed quantitative value. Rather, a sliding scale is utilized, which takes

      into account the intensity of each in a given calculus.”). Even if the movant has little chance of

      success on the merits, “the importance of this requirement varies with the relative balance of

      threatened hardships facing each of the parties.” Louis v. Meissner, 530 F. Supp. 924, 925 (S.D.

      Fla. 1981) (citing Canal Authority v. Callaway at 576). “Moreover, a showing that plaintiffs will be

      more severely prejudiced by a denial of the temporary restraining order or injunction then will

      defendants should it be granted, lessens the standard likelihood of success that must be met.” Id.

      B.      The Factors

              1.      There is a Substantial Likelihood that the Plaintiff will Prevail on the

      Merits of the Gag Clause’s Enforceability

              The merits in this context are limited. The only merits that the Court need consider for

      the purposes of this Motion are the merits of the argument that the Roca “Gag Clause” is

      unenforceable. If it is not, then the threats against these witnesses (and most of the claims

      against the Defendants) will immediately evaporate.

              The Agreement that Roca threatens these witnesses with is unconscionable.                  An

      unconscionable contract is one “‘such as no man in his senses and not under delusion would

      make on the one hand, and as no honest and fair man would accept on the other.’” Hume v.

      United States, 132 U.S. 406, 411 (1889) (quoting Earl of Chesterfield v. Janssen, 28 Eng. Rep. 82, 100




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      (Ch. 1750)).4 “In general, an unconscionable contract has been defined as one which is so

      grossly unreasonable as to be unenforceable because of an absence of meaningful choice on the

      part of one of the parties together with contract terms which are unreasonably favorable to the

      other party.” King v Fox, 7 NY 3d 181, 191 (2006); see also McCollum v. Xcare.net, Inc., 212 F. Supp.

      2d 1142, 1148 (N.D. Cal. 2002) (noting that “the California Supreme Court defined an

      unconscionable contract as one that considered in its context, is unduly oppressive”). Roca Labs

      complains that it put the Defendants on notice of the unconscionable contract, and on that basis

      claims that it compelled them to respect its outrageous (and unlawful) terms. Roca Labs has

      presented no legitimate business reason to support the gag clause.

               Legitimate business interest may include trade secrets; valuable confidential business or
               professional information that otherwise does not qualify as trade secrets; substantial
               relationships with specific prospective or existing customers; or customer goodwill
               associated with: an ongoing business by way of trade name, trademark, service mark, or
               ‘trade dress,’ or a specific geographic location, or a specific marketing or trade area.

      United Subcontractors, Inc. v. Godwin, 2012 U.S. Dist. LEXIS 67061, 18, 2012 WL 1593173 (S.D.

      Fla. Feb. 3, 2012). Preventing customers from providing their opinion of Roca Labs’ product is

      not a legitimate business interest, but instead is itself a deceptive trade practice. Any act “which

      unfairly takes advantage of the lack of knowledge, ability, experience or capacity of a consumer;

      or results in a gross disparity between the value received by a consumer and the price paid, to

      the consumer’s detriment” constitutes an unconscionable trade practice. See People v. Network

      Assocs., 758 N.Y.S.2d 466; 195 Misc. 2d 384 (N.Y. Sup. Ct. 2003). Deceiving customers about

      their ability to post factual reviews about the product online is itself unlawful in the Defendants’


      4 Roca’s contract is procedurally unenforceable as well as substantively so. Nowhere in their “Agreement” do they

      so much as discuss how much the “discounted” price is. This two-tiered pricing is an illusion. See In re Zappos, Inc.,
      893 F. Supp. 2d 1058, 1064 (D. Nev. 2012).




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      home district. Id. Of course, the end result of this unconscionable agreement is that the only

      information about this product that can be readily obtained is the fluff disseminated by the

      Plaintiff. Therefore, consumers buying this product are deprived of the ability to make an

      informed decision about something that could negatively affect their physical well-being. ECF

      13-1 at ¶15-19; ECF 13-3 at ¶¶8, 18. And then, once they purchase it, based on information

      skewed by Roca’s bullying of anyone who might share inconvenient truths, Roca refuses to give

      the consumers refunds if they are dissatisfied or even if they get ill from it. ECF 13-3 at ¶¶6-7,

      13, 16; ECF 13-5 at ¶¶9, 14.

              Suppressing consumer reviews is unconscionable and unenforceable – no matter what

      the product. See People v. Network Assocs., 758 N.Y.S.2d at 469. This is even more so when we

      consider the context. While Plaintiff calls its product a “food additive” (presumably to avoid

      FDA regulation), is the concoction a drug, a food, or something else? Whatever it is, this is a

      product that has made some consumers sick. ECF 13-5 at ¶¶6-8. Forcing them to remain silent,

      thus depriving other victims of the ability to make an informed decision, is unconscionable.

             Accordingly, the defendants have a substantial likelihood of success on the merits of the

      issue that the Roca “Agreement” is unenforceable.

             2.      There Will Be Irreparable Injury Unless the Injunction Issues

             This case is in a precarious state. Roca has tried to intimidate the Better Business

      Bureau, as well as any consumer who might dare to share his constitutionally-protected opinions

      of Roca’s product. In this case, much of the defense may turn on testimony by former Roca

      Labs customers. If this Court tolerates Roca’s intimidation tactics, it will place more of Roca’s

      consumers in fear that they too will be the victims of retaliatory legal action if they testify or

      discuss their negative experiences with Roca’s product in any forum. Once so frightened, it will




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      likely be difficult to pry them from their defensive postures. This Court must show these people

      that they need not fear that the Court will turn a blind eye to violations of 18 U.S.C. § 1512.

               3.     The Threatened Injury Outweighs Whatever Damage the Proposed

      Injunction may cause to Roca

              The injunctive relief sought is limited. The defendants presume that at the October 8,

      2014 hearing, the unenforceability of the Agreement’s “gag clause” will be resolved.

      Accordingly, the TRO can be as limited as a 17-day delay, if the court resolves the enforceability

      issue at the October 8 hearing. If the court does not, the defendants will address extending the

      TRO into a preliminary injunction at that time. “Fundamentally, temporary restraining orders

      are designed to preserve the status quo until there is an opportunity to hold a hearing on the

      application for a preliminary injunction.” Wells v. Daugherty Sys., 2014 U.S. Dist. LEXIS 127762

      (N.D. Ga. Sept. 12, 2014), see M.D. Fla. Local Rule 4.05 (temporary restraining orders will be

      entered in emergency cases to maintain the status quo).

              4.      The Injunction Would Serve the Public Interest

              The public interest is best served by the federal witness intimidation statute being

      upheld. In the absence of our mutual respect for Section 1512, defendants will be subject to the

      whims and threats of abusive plaintiffs, who may wish to silence witnesses for the other side.

      There is no possible way that a 17-day delay in any witness intimidation could adversely affect

      the public interest.

              5.      There should be no need for a bond

              There can be no damages to the Plaintiff in the issuance of a 17-day injunction, forcing

      the Plaintiff to simply stop committing felonies. Nevertheless, the Defendants offer a bond of

      $10 in the interest of formality.




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      C.     Witness Intimidation

             1.      18 U.S.C. § 1512

             Witness intimidation is a crime.         See 18 U.S.C. §1512(b)(1) (Knowingly using

      intimidation or threats, to “influence, delay, or prevent the testimony of any person in an official

      proceeding” or attempting to do so, constitutes witness intimidation). See 18 U.S.C. §1512(d)(1)

      (Witness tampering includes any action that “intentionally harasses another person and thereby

      hinders, delays, prevents, or dissuades any person from attending or testifying in an official

      proceeding” or attempts to do so).

             2.      Roca’s Acts Are Prohibited by 18 U.S.C. § 1512

             While the statute is normally considered in the context of violent threats, “[t]he section

      was written broadly to encompass non-coercive efforts to tamper with a witness.” United States

      v. Amato, 86 F. App’x 447, 450 (2d Cir. 2004) (finding evidence sufficient to support conviction

      for witness tampering where the defendant, “[c]oncerned [the witness] would testify against

      him… directed intermediaries… to reach out to [the witness] and deliver a message.” A party

      offends Section 1512 if it is “motivated by an improper purpose.” United States v. Thompson, 76

      F.3d 442, 452 (2d Cir. 1996). It is an improper purpose to cause a witness to withhold relevant

      facts about a defendant’s wrongful acts. See United States v. Price, 443 F. App’x 576, 582 (2d Cir.

      2011). Even when there is an absence of evident of intent behind the message, or an absence of

      evidence concerning the effect thereof, 18 U.S.C. § 1512 acts to prohibit a party from engaging

      in acts that may negatively influence testimony. See Chevron Corp. v. Donziger, 974 F. Supp. 2d

      362, 594-595 (S.D.N.Y.2014).

               In this case, there can be no other conclusion, except that Roca’s actions violate Section

      1512. The timing of its imminent threats against Ms. Schaive make it clear that the intent is to




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      intimidate her and any other parties who might be inclined to serve as witnesses in this case.

      This seems even more clear given that Roca seems to have selectively targeted Ms. Schiave, but

      did not send similar updated threats to other complaining parties, who have not appeared as

      witnesses in this case. See Randazza decl. Even if Roca’s behavior is a coincidence, there can be

      no question that it has had the effect of intimidating Ms. Schaive. Further, it is clear that once

      Roca files its suit against Schaive, it will use that information to try and intimidate other

      witnesses. One need look no further than the email sent to Ms. Schiave today, in which Roca

      brags about having already sued one unfortunate victim. See Exhibit A. The next round of

      letters will likely cite that Roca sued two or more witnesses. Once this happens, this Court will be

      deprived of a key source of facts that will allow it to evaluate this case.

      C.      Remedies Sought

              The Defense seeks an immediate restraining order preventing Roca from threatening or

      otherwise harassing Ms. Schaive, Ms. Anderson, or Ms. Walsh, by filing suit against them or

      threatening to do so until at least October 8, 2014. The Order should also prohibit taking these

      actions against any other witnesses in this case until at least October 8, 2014.

              Furthermore, Roca should be compelled to immediately disclose any and all

      communications it has engaged in with witnesses or potential witnesses in this case, and should

      be enjoined from engaging in further threatening or harassing communications with any

      consumers who have negatively reviewed the product, at least until the enforceability of its

      Agreement has been adjudicated on or after October 8, 2014.

              Furthermore, should Roca Labs file suit or otherwise threaten suit against any witness in

      this case, prior to the Court’s determination of Roca’s Motion for Preliminary Injunction,

      sanctions ought to be imposed against Roca.




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      D.      Immediate Sanctions Are Appropriate

              “A court may impose sanctions for litigation misconduct under its inherent power.”

      Eagle Hosp. Physicians, LLC v. SRG Consulting, Inc., 561 F.3d 1298, 1306 (11th Cir. 2009).

      Furthermore, “[t]he key to unlocking a court’s inherent power is a finding of bad faith… A party

      demonstrates bad faith by, inter alia, delaying or disrupting the litigation or hampering

      enforcement of a court order.” Id., citing Barnes v. Dalton, 158 F.3d 1212, 1214 (11th Cir. 1998).

      By intimidating witnesses in this case, Roca Labs is disrupting the litigation, and is threatening

      the very sanctity of this Court’s procedure.

              Roca knew precisely what it was doing, when it did it. This coercive and unlawful

      conduct cannot be given this Honorable Court’s imprimatur by the administration of a soft

      touch. If a party engages in felonious activity, with the intent (or the foreseeable effect), of

      intimidating witnesses and thus placing an unwelcome finger on the scales of justice, that party

      should not be permitted to escape from such conduct with a mere admonishment that it should

      not commit any more felonies. At the very least, Roca should be compelled to pay the costs and

      fees incurred in the bringing of this Motion and any subsequent fees and costs incurred in

      prosecuting the Motion.

      III.    CONCLUSION

              Based on the foregoing, Defendant respectfully requests this Court grant the Motion for

      Emergency Temporary Restraining Order against Roca Labs, preventing them from continuing




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      to intimidate and threaten witnesses and potential witnesses in this case, at least until the Motion

      for Preliminary Injunction has been adjudicated; and, Roca should be sanctioned for its conduct

      leading to the necessity of filing this motion.



                                                              Respectfully Submitted,

                                                              Marc J. Randazza
                                                              ________________________
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                                     CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on September 22, 2014, I electronically filed the foregoing
      document with the Clerk of the Court using CM/ECF, which will transmit the motion to all
      counsel of record. I also certify that a true and correct copy of the foregoing document is being
      served upon: Paul Berger, Esq. and Nicole Freedlander, Esq., via email.

      Paul Berger
      P.O. Box 7898
      Delray Beach, Florida 33482-7898
      legal5@rocalabs.com

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      nicole@freedlanderlaw.com

                                                                     /s/ Theresa M. Haar_____
                                                                     An employee / agent of
                                                                     RANDAZZA LEGAL GROUP




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                                Exhibit 5
11/6/2014                     PissedConsumer Fights Back
               Case 8:14-cv-03014-SCB-MAP                Against Roca1
                                                     Document        Labs'Filed
                                                                           Attempt12/02/14
                                                                                   To Silence Customer
                                                                                                 Page  Complaints
                                                                                                         99 of 125| Techdirt
                                                                                                                        PageID 99
                                                                                              Insider Shop        Insight Community           Step2              Search Techdirt                Search




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  Main    Submit a Story       RSS
                                                                                                                                            Follow Te chdirt
   << Patent Troll Told That It Can' t Sue The FTC...                                  DailyDirt: Genetic Information Is Everywhere... >>



                          PissedConsumer Fights Back Against Roca Labs' Attempt                                                             A dve rt ise me nt


                          To Silence Customer Complaints
                          fro m the no t-g o ing -to -ha ppe n de pt
                          We recently wrote about a very questionable lawsuit filed by, Roca Labs, a "dietary supplement"
        Legal Issues      company (it apparently prefers "nutraceutical") with a claimed "alternative" to gastric bypass
    by Mike Masnick       surgery made up of some ingredients that they claim will expand and fill up your stomach so you're
 Mon, Sep 22nd 2014
            3:48pm
                          not hungry. When you buy, the company "offers" a "discount" if you agree to never, ever say
                          anything bad about the company, ever:

               0                   You agree that regardless of your outcome, you will not disparage RLN and/or any of
                                   our employees, products or services. This means that you will not speak, publish,
                                   cause to be published, print, tweet, review, blog or write negatively about RLN, or
                                   our products or employees in any way. You further agree that in an effort to prevent
          Filed Under:             the publishing of libelous or slanderous content in any form, your acceptance of this
          censorship,                                                                                                                       Esse nt ia l R e a ding
 defamation, dietary               sales contract prohibits you from taking any action that negatively impacts RLN, its
        supplements,               reputation, products, services, management or employees.
      florida, gastric                                                                                                                        Hot Topics
               bypass,
       nutraceutical,     There's also the flip side in that to get the discount, you also are expected to share the details of
            nutritional   your results with the company, and they will promote them publicly (assuming they make the                             6.1   Court Says By Agreeing To AOL's
 supplements, pissed                                                                                                                                   Terms Of Service, You've 'Consented'
  consumer, tortious      company look good):
         interference                                                                                                                                  To Search By Law Enforcement
           Companies:              You will help promote RLN and our products by sharing your weight loss success with
   consumer opinion                                                                                                                              6.1   Now In Charge Of Congress, GOP Plans
                corp.,             us. You agree to like us on Facebook and follow us on Twitter. You agree that from                                  To Give Up Its Own Constitutional
    pissedconsumer,                time to time we may contact you via electronic mail or telephone to learn about
             roca labs
                                                                                                                                                       Powers To The Obama Administration
                                   your success.
                                                                                                                                                 5.7   Chicago Transit Cops Start Up Their
           Permalink.
                                   You agree that we can use any and all information that you provide about your                                       Own Security Theater, Will Start
                                                                                                                                                       Randomly Swabbing Bags For
                                   weight loss success in RLN marketing efforts.
                                                                                                                                                       Explosive Residue
                          Oh, and Roca Labs is so sure that you'll like its product that the company won't take it back. Ever.
                          Under any circumstances. At all. You know the idea of a money back guarantee? Roca Labs doesn't                     New To Techdirt?
                          do that -- even while admitting the product doesn't always work (more on that in a second).                         Explore some core concepts:
                          Bizarrely, Roca Labs argues that because it doesn't always work, you can't return it:
                                                                                                                                                 If Intellectual Property Is Neither
                                   An order is considered “shipped” once a USPS tracking number has been assigned.                               Intellectual, Nor Property, What Is It?
                                   There are NO returns once the product has been shipped. DO NOT PURCHASE any                                   The Grand Unified Theory On The
                                   product from us unless you agree to this no return policy. Your order is your                                 Economics Of Free
                                   acceptance of this NO RETURN policy. Your RLN order is a special order and is non-
                                   refundable. We do not guarantee any results for the use of our product and individual                         Infinity Is Your Friend In Economics
                                   results may vary. T here are many factors that may prevent you from achieving                                                                             read all »
                                   your weight loss goal. T hus, our product cannot be returned
                                                                                                                                            Te chdirt R e a ding List
                          Also, while the company appears to have updated its terms and conditions, in its own filing, it
                          included the earlier terms, which includes the claim that Roca Labs "ALWAYS WORKS." And also                                  Copyfraud and Other Abuses of Intelle…
                          highlights the points made above:                                                                                             Jason Mazzone (Hardcover - Oct 5, 2011)
                                                                                                                                                        $16.18



                                                                                                                                                        Need, Speed, and Greed: How the Ne…
                                                                                                                                                        Vijay V. Vaitheeswaran (Hardcover - Mar 13, 20…
                                                                                                                                                        $11.20



                                                                                                                                                        Knowledge and the Wealth of Nations:…
                                                                                                                                                        David Warsh (Paperback - May 17, 2007)
                                                                                                                                                        $12.98



                                                                                                                                                        Free Culture: The Nature and Future o…
                                                                                                                                                        Lawrence Lessig (Paperback - Feb 22, 2005)
                                                                                                                                                        $10.24



                                                                                                                                                                      12345>
                          Either way, plenty of people have still been complaining. As we'd mentioned previously, the local                                      Privacy
                          Better Business Bureau gives the company an F rating, noting 73 complaints in the last three
                          years. And, yes, PissedConsumer has a bunch of complaints as well.                                                Te chdirt Inside r Cha t


https://www.techdirt.com/articles/20140922/13125328599/pissedconsumer-fights-back-against-roca-labs-attempt-to-silence-customer-complaints.shtml                                                          1/8
11/6/2014 Case               PissedConsumer Fights Document
                  8:14-cv-03014-SCB-MAP            Back Against Roca
                                                                  1 Labs' Attempt
                                                                      Filed       To Silence Customer
                                                                               12/02/14        PageComplaints | Techdirt
                                                                                                      100 of 125    PageID 100
                                                                                                                            but does this essentially make Democrat
                                                                                                                            Obama more or less powerless, or close to?
                   Roca Labs is taking a somewhat unique view of the law that PissedConsumer is somehow                     Christopher Best: No, he's still got plenty of
                   "tortiously interfering" with Roca's business, by encouraging people to post reviews. In the world of    power. He can veto anything they pass, if he
                   Roca Labs, merely encouraging people to post reviews is tortious interference with the bogus gag         wants, and they don't have a 2/3 majority to
                                                                                                                            overrule him
                   clause in the company's terms of service.
                                                                                                                            And he can still write crazy unaccountable
                                                                                                                            executive orders
                   PissedConsumer has now struck back with quite the opposition to Roca Lab's request for a
                                                                                                                            Rikuo: okay thanks
                   temporary injunction. Written by lawyer Marc Randazza, it doesn't mince many words. Noting
                                                                                                                            Mark Harrill: yeah what CB said. What it
                   that Roca Labs really seems to want to avoid criticism, the filing includes (among other things)         changes is the mechanics of Congress, who is
                   depositions by a doctor who looks into the ingredients in Roca Labs' product and comes away less-        in charge of the committees and the R's can
                   than-impressed, as well as the details of one of the people who filed a BBB complaint and...             control the legislative agenda
                   received a legal threat from Roca Labs in response. As the opposition filing notes, the                  Ninja: Now imagine if R's and D's had to share
                                                                                                                            the power with C's, B's and other parties? I
                   questionable terms from Roca should already raise some questions:
                                                                                                                            alliances would have to be made instead of the
                                                                                                                            partisan warfare we are seeing
                          A critical reader would likely presume that something is amiss upon reading the key
                                                                                                                            Mark Harrill: it would be human sacrifice, dogs
                          clause in Roca Labs’ purchase terms.... “In exchange for a significant discount…                  and cats living together mass hysteria
                          customers contractually agree that, regardless of their outcome, they will not
                          speak, publish, print, blog or write negatively about ROCA or its products in any                                      Get the Insider Chat!
                          forum.” .... However, these same terms fail to disclose the amount of this
                          “discount” or “subsidy.” .... Roca then requires its customers to agree inter alia that          A dve rt ise me nt
                          they “consent to and agree to entry of an injunction… in enforcement of your
                          violation of this term and condition,” and that the customer will then pay an
                          elevated price for the product.... This is alongside the company’s “no refunds” and
                          “no returns” policies, and a waiver of any chargeback rights even if the product
                          never arrives.... Roca Labs tries to scare its customers with clauses that provide it
                          with a unilateral right to recoup not only an elevated price for the product, but “any
                          expenses we incur in resolving the issue”, and that if any of them make a negative
                          comment, it will (apparently even if true) “constitute defamation per se, entitling
                          [Roca Labs] to injunctive relief and damages.”.... The coup de grace is a section
                          providing for a one-sided attorneys’ fees provision, if a user dares to utter a negative
                          word in public.

                   As the filing questions, all of these should raise red flags about the company and its products:

                          Does that sound like an upstanding company that stands behind its safe and reliable
                                                                                                                           R e ce nt St orie s
                          product? Or does that sound like a disreputable company, producing tubs of snake oil
                          (or snake goop, as it were), and which knows that too much truth will hurt its fly-by-           Thursday
                          night bottom line? Roca Labs is desperately trying to force a cone of silence over
                                                                                                                           06:10 Dish Pulls CNN, Doesn't Think Customers Still
                          each and every customer that discovers that Roca Labs’ product is not only a specious                  Paying For It Are Missing Much (2)
                          remedy for their weight issues, but a potential cause of additional health problems.
                                                                                                                           04:09 Chicago Transit Cops Start Up Their Own Security
                          Plaintiff, desperate to sell as many of its tubs of goo to the public as it can before                 Theater, Will Start Randomly Swabbing Bags For
                          regulatory agencies come knocking does its best to bully its former customers into                     Explosive Residue (23)
                          silence.                                                                                         01:08 Carl Malamud's Public.Resource.Org Joins Effort To
                                                                                                                                 Make Pay-Walled Indian Standards Freely Available
                   To support its position that Roca Labs' products are of dubious benefit and that the company is a             (2)
                   legal bully, PissedConsumer's filing includes some interesting related declarations. First up a
                   declaration from Dr. Thomas Parisi on the nature of Roca Labs' product and whether or not it is         Wednesday
                   likely to be an effective weight loss tool. Parisi notes that Roca's offering, "which consists          21:08 Now In Charge Of Congress, GOP Plans To Give Up
                   primarily of industrial food thickening agents," does not seem likely to live up to its claims of             Its Own Constitutional Powers To The Obama
                                                                                                                                 Administration (23)
                   helping people lose weight by causing the mixture "to expand in the user's stomach, leaving her
                   with no room or desire for anything else, thus prompting weight loss...." In fact, Dr. Parisi           17:00 DailyDirt: Looking Fashionable In New Spacesuit
                                                                                                                                 Designs (7)
                   suggests, in actuality "it could lead to health problems in some individuals, including
                   gastrointestinal distress. Moreover, based upon the ingredients contained in the Product, it could      15:55 Hillary Clinton Still Refuses To Make Her Views
                                                                                                                                 Clear On Surveillance, And That's A Problem (23)
                   also cause additional unintended side effects in a large number of users, including diarrhea,
                   bloating, intestinal discomfort, gas, constipation, intestinal blockage, dehydration, headaches,        14:48 Roca Labs Threatens Other Sites For Writing About
                                                                                                                                 Its Case, Files Another Questionable Document (10)
                   and dizziness."
                                                                                                                           13:47 Australians' Stored Metadata Could Be Used In Any
                                                                                                                                 Civil Case, Including Against Copyright
                   Dr. Parisi goes through each named ingredient and notes why each is unlikely to aid in weight loss
                                                                                                                                 Infringement (25)
                   or why there is no evidence to suggest it aids in weight loss. In some cases, such as with Konjac,
                                                                                                                           12:45 Pharma Officials Insist That There Is 'Zero Evidence'
                   he notes that it's a Chinese laxative, and that "no competent medical physician would recommend
                                                                                                                                 That Patents Harm Access To Medicine (21)
                   regular use of it (or any laxative) as a treatment plan for weight loss." He further notes that with
                                                                                                                           11:41 Germany's Top Publisher Admits Its Web Traffic
                   Maltodextrine, the product may be counterproductive:
                                                                                                                                 Plummeted Without Google; Wants Politicians To
                                                                                                                                 'Take Action' (48)
                          Maltodextrin is often used in commercially available protein shakes and similar
                          products. However, because it contains high-glycemic carbohydrates, intake of                    More
                          maltodextrin would typically be avoided in individuals trying to achieve weight loss.            A dve rt ise me nt

                   Dr. Parisi also notes how typical health products rely on clinical tests and consumer feedback, and
                   thus Roca Labs' attempts to force silence on those for whom the product doesn't work seems out of
                   step with any trustworthy health product. He specifically notes that "it is unethical for a health
                   care professional to take steps to hide the side effects of any mediation or treatment from a
                   patient." (I'm guessing that "mediation" is supposed to be "medication").

                   Then there's the declaration from Jennifer Schaive, detailing how she was not happy with the
                   product, sought a refund, and complained to the BBB -- only to be threatened with a lawsuit from


https://www.techdirt.com/articles/20140922/13125328599/pissedconsumer-fights-back-against-roca-labs-attempt-to-silence-customer-complaints.shtml                                         2/8
11/6/2014 Case               PissedConsumer Fights Document
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                   Roca Labs. She received a letter from Sharon King, who describes herself as a paralegal for Roca
                   Labs, and the letter has some interesting claims as well, including that "Roca Labs does everything
                   it promises to its customers." Of course, as you read the details, you realize the company means
                   everything it promises... in its terms concerning not providing refunds and threatening to go after
                   you should you say something negative about the company.

                   Back to Randazza's response. He notes that Roca Labs is trying to get around the fact that it can't
                   use defamation law to get an injunction by pretending that this is a different issue altogether:

                          Temporary injunctive relief is not available to plaintiffs seeking to suppress allegedly
                          defamatory speech.... Presumably for that reason, Roca Labs has attempted to
                          disguise this defamation claim as a Florida Deceptive and Unfair Trade Practices Act
                          (FDUTPA) and tortious interference claim in order to try to side-step the clear case
                          law that cuts against it in defamation actions. But, no matter many times you call a
                          “dog” a “duck,” it will neither lay eggs nor quack. Styling a baseless defamation
                          claim as something else does not shield it from First Amendment scrutiny and render
                          palatable the most odiferous and despised remedy known to our courts – the prior
                          restraint. This exceptional relief is impermissible under Florida law and the First
                          Amendment.

                   It goes on to explain the basic's of prior restraint and how the First Amendment forbids such an
                   injunction. And then gets to the Section 230 defense for PissedConsumer, noting that the service
                   provider is not responsible for any speech by its users, even if that speech was defamatory. Roca
                   Labs tries to get around Section 230 by arguing that because PissedConsumer tweets out comments
                   based on reviews on the site, that it is not protected by 230, but that's not how other courts have
                   ruled. Previous 230 cases have found that reposting content -- even hand selected content -- still
                   protects the service provider.

                          The Pissed Consumer website only hosts third-party produced content appearing on
                          and is neither the author nor the editor of the reviews.... Because it is a service
                          provider, and not a publisher, Defendants are immune from liability under 47 U.S.C.
                          § 230 (the “Communications Decency Act” or “CDA”). “The purpose of the CDA is to
                          establish ‘federal immunity to any cause of action that would make service providers
                          liable for information originating with a third-party user of the service.’” ... While
                          Plaintiff wants to hold Defendants liable as the “publisher” of the Tweets that are
                          generated from reviews posted on , the Tweets are automatically broadcast third
                          party statements, and are not written by the Defense.... Accordingly, even this
                          creative argument fails as a matter of law.

                          “[L]awsuits seeking to hold a service provider liable for its exercise of a publisher’s
                          traditional editorial functions-such as deciding whether to publish, withdraw,
                          postpone or alter content-are barred by the CDA.” ... Reviews posted on Pissed
                          Consumer are automatically disseminated on Twitter, but that does not make
                          Defendants “publishers” under the CDA, but instead falls within the purview of
                          immunity. Defendants’ users authored the statements. Dissemination of them does
                          not trigger a § 230 exception. Disseminating the content to the public is not enough.
                          “A ‘provider’ of an interactive computer service includes websites that host third-
                          party generated content.”

                   The filing also takes down the claim that PissedConsumer is somehow engaged in "tortious
                   interference" by merely asking people to post reviews. First off, for it to be tortious interference,
                   Roca Labs would have to show that PissedConsumer was engaged in intentional and unjustified
                   interference. It seems unlikely that anyone at PissedConsumer had any clue about the dubious gag
                   clause pushed by Roca Labs, and even if they did, asking people to post their opinions is hardly
                   unjustified interference.

                          Even if Defendants had knowledge of Roca Labs’ customers beforehand, they would
                          have been entirely justified warn them about the questionable product and unethical
                          business practices, (as evidenced by the gag clause of the terms and conditions).
                          “This cause of action requires a business relationship evidenced by an actual and
                          identifiable understanding or agreement which in all probability would have been
                          completed if the defendant had not interfered.”...

                          Plaintiff’s tortious interference claim swings on the notion that the Defendants
                          “tortiously interfere[d] with Roca Lab’s customers by encouraging them to breach
                          their customer agreement with Roca” by posting reviews on the Defendants’
                          website. ECF 5 at 2. While Defendants assert, infra, that this does not constitute
                          tortious interference, neither Defendant denies that the Pissed Consumer website
                          wishes for consumers to review products or services they have tried. But, this does
                          not support liability, as there is no tort in allowing consumers to review products.

                   It goes on to note that even if Roca's questionable legal terms are somehow enforceable against
                   customers, they can only apply to current customers, not past customers.

                          Even if these facts could support a tortious interference claim, a relationship with a
                          past customer does not provide a basis for the claim.... While Roca Labs has

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                          burdensome terms and conditions, we can find nowhere among those burdens any
                          obligation to be a repeat customer.... “The mere hope that some of its past
                          customers may choose to buy again cannot be the basis for a tortious interference
                          claim.” ... Therefore, Roca has no substantial likelihood of prevailing on the merits
                          of its tortious interference claim, because the claim fails as a matter of law.

                   Not surprisingly, the filing also notes that Roca Lab's gag clause is almost certainly not legal in the
                   first place:

                          Roca Labs complains that it put the Defendants on notice of the unconscionable
                          contract, and on that basis claims that it compelled them to respect its outrageous
                          (and unlawful) terms....

                          Roca Labs cannot use the gag clauses as the basis for seeking injunctive relief, even
                          as it applies to its customers who wrote the reviews on the Defendants’ website,
                          because Roca Labs has presented no legitimate business reason to support the gag
                          clause....

                          Preventing customers from providing their opinion of Roca Labs’ product is not a
                          legitimate business interest, but instead is itself a deceptive trade practice. Any act
                          “which unfairly takes advantage of the lack of knowledge, ability, experience or
                          capacity of a consumer; or results in a gross disparity between the value received by
                          a consumer and the price paid, to the consumer’s detriment” constitutes an
                          unconscionable trade practice.

                   Finally, the filing attacks the idea that there's been a violation of Florida's unfair trade practices
                   dispute, noting that the intent of that law seems ironically at odds with Roca Labs' attempted use
                   of it. That is, the stated purpose of the law is to "protect the consuming public and legitimate
                   business enterprises from those who engage in unfair methods of competition, or unconscionable,
                   deceptive, or unfair acts or practices in the conduct of any trade or commerce." And, since Roca is
                   not a customer of Pissed Consumer and thus has no standing under the law. But again, even if it
                   could, it's pretty clear there's no violation here:

                          Plaintiff says that a “practice is unfair when it offends established public policy and
                          when the practice is immoral, unethical, oppressive, unscrupulous or substantially
                          injurious.” ... Defendants agree. The suppression of consumer reviews, some of
                          which warn consumers of negative health consequences, fits that description.
                          Meanwhile, no reasonable person could contort that definition into “allowing
                          consumers to share their experiences to the benefit of other consumers.”

                          Let us presume, arguendo, that Defendants are the evil conspiracy that Roca paints
                          them to be; even reprehensible conduct is not actionable under FDUTPA absent loss
                          or damage to a consumer.... There is no identifiable loss or damage to a consumer
                          here, and unless Roca is a consumer of the Defendants’ services or products, it lacks
                          standing to bring such a claim on behalf of other consumers who have no quarrel
                          with the Defendants. Roca Labs calling this business “immoral,” is not enough to
                          give it standing under FDUTPA19 (although it is ironic).

                   And that's not even getting into the fact that the law requires everything to have happened in
                   Florida (PissedConsumer is a NY-based operation) or the fact that you have to prove damages, and
                   Roca Labs (conveniently) doesn't even bother to present any evidence of damages.

                   In the end, the filing is fairly damning across the board. It seems likely that Roca Labs went
                   through its usual paces in trying to intimidate PissedConsumer over the negative reviews, not
                   realizing that it might have competent legal help who could actually respond to the questionable
                   legal theories that Roca Labs was using in trying to have negative reviews blocked and censored.




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         Misguided Pianist Asks Washington Post To Remove A Less-Than-Wonderful Review Under Right To Be
         Forgotten
         Magistrate Judge Not Impressed By Roca Labs' Legal Arguments: Recommends Against An Injunction
         Roca Labs Story Gets More Bizarre: Senator Threatens Bogus Defamation Lawsuit, While Nevada Quickly
         Rejects Bogus Bribery Charge



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    1.             JoeCool (profile), Sep 22nd, 2014 @ 4:30pm


          FTFY

          It's spelled "ROACH", not "ROCA".
           [ reply to this | link to this | view in thread ]


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    2.           Anonymous Coward, Sep 22nd, 2014 @ 5:13pm

          Someone's got to come up with some lyrics to the YMCA, er ROCA regarding this issue.
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    3.           Anonymous Coward, Sep 22nd, 2014 @ 5:37pm

          "Defendants agree that the more dissemination of the truth, the less Roca will likely sell. But, this is not a legal
          harm. It is as if a mugger were to sue for an injunction preventing someone from warning passer-by that the
          criminal is waiting in a dark alley, and that they should take an alternate route."

          What a filing.
           [ reply to this | link to this | view in thread ]


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    4.           Anonymous Coward, Sep 22nd, 2014 @ 6:34pm

          Re:

          Fat man.... theres a product for you
          I said fat man.... need to lose that weight now
          I said fat man.... need to eat less right now
          We'll take .. your.. money...

          We really fuck you R. O. C. A
          We really fuck you R. O. C. A

          Our product will give you the shits
          Really make you think twice
          Before you post some advice
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    5.             Ehud Gavron (profile), Sep 22nd, 2014 @ 7:01pm



          typo

          In one block quote the beginning "E" of "Even" is missing:
          ven if Defendants had knowledge of

          E
          (I'm sensitive to missing Es...)
           [ reply to this | link to this | view in thread ]




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    6.           Gracey (profile), Sep 22nd, 2014 @ 7:49pm                                     insightful   funny    report


         huh.

         Well, even though I know the wiki isn't exactly "always right" in this case, I think they might be:

         [quote] The term "nutraceutical" has no meaning in US law [/quote]

         Seems appropriate.
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny    report
    7.   steell (profile), Sep 22nd, 2014 @ 7:58pm



         Rule number one, don't ever mess with Marc Randazza on First Amendment issues. And his pleadings are always
         great reading.
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny    report
    8.          Kronomex, Sep 22nd, 2014 @ 8:37pm

         "Once we have your money you can take a flying f--k!"
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny    report
    9.          Anonymous Coward, Sep 22nd, 2014 @ 8:42pm

         Go Marc

         The best part of that whole response filing was footnote #22 on page 22 where he likened the "bad" postings as
         one pedestrian warning another about a mugger in an alley they are approaching, with the muggers complaining
         about interference with their business. Most apt!!

         "22 - Defendants agree that the more dissemination of the truth, the less Roca will likely sell. But, this is not a
         legal harm. It is as if a mugger were to sue for an injunction preventing someone from warning passer-by that
         the criminal is waiting in a dark alley, and that they should take an alternate route."
         [ reply to this | link to this | view in thread ]


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   10.          Anonymous Coward, Sep 23rd, 2014 @ 1:01am

         Oh, boy, Whatever's not going to like this one bit.
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny    report
   11.          spodula, Sep 23rd, 2014 @ 1:09am

         Dogs and ducks...

         "But, no matter many times you call a “dog” a “duck,” it will neither lay eggs nor quack."

         Dear me, have you never heard of Dog eggs? (It may be a UK euphamism).. Still what they represent is a good
         measure of Roca Labs' complaint.
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny    report
   12.          gyffes, Sep 23rd, 2014 @ 5:43am

         Y'know...

         I like Randazza more and more all the time...
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny    report
   13.          Anonymous Coward, Sep 23rd, 2014 @ 9:41am

         Marc Randazza for President.
         [ reply to this | link to this | view in thread ]


                                                                                               insightful   funny    report
   14.          Anonymous Coward, Oct 8th, 2014 @ 7:44am

         Re:

         Really?
         http://www.ripoffreport.com/r/marc-randazza-of-randazza-legal-group/las-vegas-nevada-89135/ma rc-randazza-
         of-randazza-legal-group-marc-randazza-of-randazza-legal-group-marc-randazza-1112488
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   LAW & DISORDER / CIVILIZATION & DISCONTENTS
   Weight loss firm demands $1 million from
   website hosting negative reviews
   Lawyer for pissedconsumer.com says lawsuit is "bunk," prior restraint of speech.

   by David Kravets - Sept 22 2014, 2:33pm EDT
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   A Florida company selling an obesity product is suing a consumer website for hosting negative
   reviews of its dietary product. Roca Labs wants the US courts to award it in "excess" of $1 million in
   addition to blocking pissedconsumer.com from continuing the practice.

   The lawyer for the New York-based online review site told Ars on Monday that the lawsuit [PDF] was
   "bunk," that its demands amount to a prior restraint of speech, and that the site itself is protected
   from defamation charges under the Communications Decency Act because it hosts the online review                  Feet-on with RocketSkates,
   forum for others to use.                                                                                         which are exactly what
   "Essentially, what they are saying, is my client is defaming          FURTHER READING                            they sound like
   them by allowing these negative reviews to be published.              US LAW WOULD SAFEGUARD                     Motorized skates can travel up to ten miles,
   And that my client is engaged in tortious interference with           FREE-SPEECH RIGHTS TO                      can replace your bike.
   their relationships with their customers, and that my client is       CRITICIZE BUSINESS ONLINE
   practicing unfair and trade-deceptive practices," said                Lawmaker says "it's un-American"           STAY IN THE KNOW WITH
   attorney Marc Randazza in a telephone interview.                      to penalize consumers for "honest"
                                                                         reviews.
   Roca Labs, on the other hand, maintains that the website is
   facilitating a breach of contract with their diet customers.
   Roca's customers consented, as part of their agreement when purchasing the Gastric Bypass
   Alternative, that "regardless of their outcome, they will not speak, publish, print, blog, or write
                                                                                                                    LATEST NEWS
   negatively about Roca or its products in any forum."
                                                                                                                    Cops’ use of facial recognition
http://arstechnica.com/tech-policy/2014/09/weight-loss-firm-demands-1-million-from-website-hosting-negative-reviews/                                                     1/3
11/6/2014 Case                    Weight loss firm demands
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   The company goes on to say that the pissedconsumer.com site and its operators "deliberately and                                             technology expands north of
   tortuously interfere with Roca Lab's customers by encouraging them to breach their customer                                                 the border
   agreement with Roca as Defendants author or co-author false, malicious, and negative posts about
   Roca that are published on their subject website and Tweeted to Twitter's 271 million users."
                                                                                                                                               Patent appeals court rebukes
   In its lawsuit, Roca notes that it provides upwards of an $800 discount to people who agree to the                                          top tech lawyer for
   non-disparagement clause.                                                                                                                   forwarding judge’s e-mail
   A hearing in the case, originally filed in Florida state court but transferred to federal court, is set for
                                                                                                                                               During Netflix money fight,
   October 8.
                                                                                                                                               Cogent’s other big customers
   Randazza filed his response [PDF] to Roca's claims on Thursday, days after a member of the House                                            suffered too
   of Representatives offered legislation that would make it illegal for businesses to take action against
   consumers who write "honest" negative reviews online about products and services. Rep. Eric                                                 Call of Duty: Advanced
   Swalwell (D-CA) said the measure would make it illegal for companies to have non-disparagement                                              Warfare single-player review:
   clauses in their consumer contracts.                                                                                                        Press X to care

   "It's un-American that any consumer would be penalized for writing an honest review," Swalwell said.                               POST-BOOM

   "I'm introducing this legislation to put a stop to this egregious behavior so people can share honest                              Orbital Sciences to shift ISS resupply
   reviews without fear of litigation."                                                                                               launches to other rockets

   Swalwell's Consumer Review Freedom Act came a week after Gov. Jerry Brown signed a similar law                                     THREE DAYS LEFT...
   in California that includes a $10,000 fine against companies that violate the so-called "Yelp bill."                               Legend of Zelda: Majora’s Mask
   Swalwell's law, if passed by Congress and signed by President Barack Obama, would function                                         remake announced for Nintendo 3DS
   nationwide.

   Randazza said in his filing that "Roca Labs is desperately trying to force a cone of silence over each
   and every customer that discovers that Roca Labs' product is not only a specious remedy for their
   weight issues, but a potential cause of additional health problems. Plaintiff, desperate to sell as many
   of its tubs of goo to the public as it can before regulatory agencies come knocking, does its best to
   bully its former customers into silence."

   The Better Business Bureau has given the company an "F" rating, with 73 complaints the last three
   years.

   In order, Pissedconsumer.com ranks the "most complained about companies" as Walmart, Pizza Hut,
   Fedex, UPS and Avas Flowers.

                                                                                                   READER COMMENTS 104
                      216                            138                            37



             David Kravets / The senior editor for Ars Technica. Founder of TYDN fake news site. Technologist. Political scientist.
                                                                                                                                            Florida Criminal
             Humorist. Dad of two boys. Been doing journalism for so long I remember manual typewriters with real paper. Bikram
             Choudhury is my master.                                                                                                            Defense
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                                                                           [Updated]                            deception” [Updated]




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Right to complain: fighting back against Roca Labs
Cory Doctorow at 12:00 pm Tue, Sep 23, 2014
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Pissedconsumer, a website that's being sued by a
supplements company called Roca Labs whose
diet aids come with terms-of-service that prohibit
complaining about them, has filed its opposition to
Roca's request for an injunction -- it's quite a read.

Included in the injunction is an independent
medical analysis that states that Roca's products
are "primarily ... industrial food thickening agents"
that "could lead to health problems in some
individuals, including gastrointestinal distress.
Moreover, based upon the ingredients contained
in the Product, it could also cause additional
unintended side effects in a large number of users, including diarrhea, bloating, intestinal
discomfort, gas, constipation, intestinal blockage, dehydration, headaches, and dizziness."

Which would explain why Roca wants to be sure that its customers aren't allowed to
complain about its products.


       A critical reader would likely presume that something is amiss upon reading
       the key clause in Roca Labs’ purchase terms.... “In exchange for a significant
       discount… customers contractually agree that, regardless of their outcome,
       they will not speak, publish, print, blog or write negatively about ROCA or its
       products in any forum.” .... However, these same terms fail to disclose the
       amount of this “discount” or “subsidy.” .... Roca then requires its customers to
       agree inter alia that they “consent to and agree to entry of an injunction… in
       enforcement of your violation of this term and condition,” and that the
       customer will then pay an elevated price for the product.... This is alongside
       the company’s “no refunds” and “no returns” policies, and a waiver of any
       chargeback rights even if the product never arrives.... Roca Labs tries to scare
       its customers with clauses that provide it with a unilateral right to recoup not
       only an elevated price for the product, but “any expenses we incur in resolving
       the issue”, and that if any of them make a negative comment, it will (apparently
       even if true) “constitute defamation per se, entitling [Roca Labs] to injunctive
       relief and damages.”.... The coup de grace is a section providing for a one-
       sided attorneys’ fees provision, if a user dares to utter a negative word in
       public...

       Does that sound like an upstanding company that stands behind its safe and
       reliable product? Or does that sound like a disreputable company, producing
       tubs of snake oil (or snake goop, as it were), and which knows that too much
       truth will hurt its fly-by-night bottom line? Roca Labs is desperately trying to
       force a cone of silence over each and every customer that discovers that Roca
       Labs’ product is not only a specious remedy for their weight issues, but a
       potential cause of additional health problems. Plaintiff, desperate to sell as
       many of its tubs of goo to the public as it can before regulatory agencies come
       knocking does its best to bully its former customers into silence.



http://boingboing.net/2014/09/23/right-to-complain-fighting-ba.html                                                          1/2
11/6/2014 Case                           Right Document
                     8:14-cv-03014-SCB-MAP     to complain: fighting
                                                                 1 back against
                                                                     Filed      Roca Labs - Boing
                                                                             12/02/14        Page Boing
                                                                                                      111 of 125 PageID 111
PissedConsumer Fights Back Against Roca Labs' Attempt To Silence Customer Complaints
[Mike Masnick/Techdirt]


                                                                                                   DISCUSS

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Photos from Stasiland                    Painting: “Cyber Seascape,”            Australian PM trades freedom
                                         Babaroga Vitomirov                     for security, deserves neither



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Simple Update, HUGE Payoff!




  -from Vintage Revivals-

  Technology is amazing isn't it? When we really stop and just look at what is not
  only available, but easily accessible and affordable it is a little mind boggling. THE
  (yes, all caps and italicized) favoriteCLICK
                                          new TO
                                               gadget
                                                 VIEW in our house is Honeywell's brand

  new thermostat the Lyric.
                                                                        Get your life in tune.

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                          Roca Labs Sues Customer For Posting A Negative Review                                                               A dve rt ise me nt

                          fro m the tha t'll-w in-ne w -custo m e rs,-i'm -sure de pt
                          We've been covering the saga of Roca Labs for a few days now. This is the company that claims to
                          make an "alternative" to gastric bypass surgery in the form of some "industrial food thickening
                          agents" that (the company claims) will fill up your stomach and make you not want to eat. These
         Defamation
                          claims are not FDA reviewed and an examination of the claims by a doctor found them to be
    by Mike Masnick
  Thu, Sep 25th 2014      questionable (to say the least). We became aware of the company because it had sued Consumer
             2:32pm       Opinion Corp., the company that owns the site PissedConsumer.com. The issue? Roca Labs has a
                          terms of service that offers everyone a "discount" on its product if you agree to never, ever, say
               0          anything bad about the product ever (you also have to agree to share success stories with Roca and
                          allow them to publicize those stories). In short, the terms of service are designed to only show
                          positive results, and gag any negative results. Roca claims that it has to do this because results
                          may vary, and negative results could be caused by other factors. Of course, doesn't that also mean
          Filed Under:    that positive results could be caused by other factors as well?
       contract, free                                                                                                                         Esse nt ia l R e a ding
      speech, gastric
     bypass surgery,      Either way, Roca Labs sued PissedConsumer on the hilarious legal theory that by offering a forum
   negative reviews,      for unhappy customers to post their story, it was "tortious interference" because it encouraged                       Hot Topics
    reviews, tortious
         interference     people to break the terms under which people bought the product. As we noted, this legal theory
           Companies:     is fairly laughable, and PissedConsumer's legal response makes that fairly clear as well.                                6.1   Court Says By Agreeing To AOL's
    pissedconsumer,                                                                                                                                      Terms Of Service, You've 'Consented'
             roca labs                                                                                                                                   To Search By Law Enforcement
                          However, Roca Labs and its lawyers are apparently busy. They're not just suing PissedConsumer,
          Permalink.      but they're actually suing a customer who complained to the Better Business Bureau for                                   6.1   Now In Charge Of Congress, GOP Plans
                          "breach of contract" and "defamation per se." While her filing with the BBB included some                                      To Give Up Its Own Constitutional
                          statements that might reach the level of defamation, amusingly, Roca Labs does not attempt to                                  Powers To The Obama Administration
                          show that her comments were false in any way. Rather, it relies on yet another ridiculously
                                                                                                                                                   5.7   Chicago Transit Cops Start Up Their
                          questionable term in its terms of service, saying that if you post something negative, it will
                                                                                                                                                         Own Security Theater, Will Start
                          automatically be considered "defamation per se." Here's the term:                                                              Randomly Swabbing Bags For
                                                                                                                                                         Explosive Residue
                                   You agree that any such negative claim will constitute defamation per se

                          I don't think that's how defamation law works. At all. Even if this woman's comments to the BBB                       New To Techdirt?
                          are defamatory (and I'm not saying they are), you can't just have someone sign a contract saying                      Explore some core concepts:
                          that if they do something, they'll be guilty of defamation.
                                                                                                                                                   Saying You Can't Compete With Free Is
                                                                                                                                                   Saying You Can't Compete Period
                          Either way, all of this should make you wonder just what sort of company Roca Labs is in that it
                          seems to not just sue its own customers for negative reviews, but to work so hard to stop negative                       How Being More Open, Human And
                          reviews and to threaten and intimidate those who make complaints about their experience with                             Awesome Can Save Anyone Worried About
                          the company.                                                                                                             Making Money In Entertainment

                                                                                                                                                   The Future Of Music Business Models (And
                                                                                                                                                   Those Who Are Already There)
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11/6/2014 Case                              Roca Labs
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                                                                              A Negative Review | Techdirt
                                                                                             Page    113 of 125 PageID 113
                                                                                                    Rikuo: so I hear the Republicans control the
                                                                                                                                   Senate
                                                                                                                                  Te chdirt and ther Cha
                                                                                                                                            Inside   House.
                                                                                                                                                         t  Correct me if I'm wrong,
                                                                                                                                   but does this essentially make Democrat
                                                                                                                                   Obama more or less powerless, or close to?
                                                                                                                                   Christopher Best: No, he's still got plenty of
                                                                                                                                   power. He can veto anything they pass, if he
                                                                                                                                   wants, and they don't have a 2/3 majority to
                                                                                                                                   overrule him
                                                                                                                                   And he can still write crazy unaccountable
                                Tweet     52               Like     30       18 points                                             executive orders

                            23 Comments | Leave a Comment                                                                          Rikuo: okay thanks
                                                                                                                                   Mark Harrill: yeah what CB said. What it
                                                                                                                                   changes is the mechanics of Congress, who is
   If you lik e d t his post , you ma y a lso be int e re st e d in...
                                                                                                                                   in charge of the committees and the R's can
                                                                                                                                   control the legislative agenda
         Roca Labs Threatens Other Sites For Writing About Its Case, Files Another Questionable Document                           Ninja: Now imagine if R's and D's had to share
         Pianist Dejan Lazic Defends His Takedown Request By Pointing Out That The WaPo Reviewer Is Really Mean                    the power with C's, B's and other parties? I
                                                                                                                                   alliances would have to be made instead of the
         Misguided Pianist Asks Washington Post To Remove A Less-Than-Wonderful Review Under Right To Be                           partisan warfare we are seeing
         Forgotten                                                                                                                 Mark Harrill: it would be human sacrifice, dogs
                                                                                                                                   and cats living together mass hysteria
         We Hardly Knew Ye: Judge Dismisses Manuel Noriega's Publicity Rights Suit Against Activision
         Magistrate Judge Not Impressed By Roca Labs' Legal Arguments: Recommends Against An Injunction                                                 Get the Insider Chat!


                                                                                                                                  A dve rt ise me nt

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                                                                                                 insightful   funny      report
    1.          jackn, Sep 25th, 2014 @ 2:59pm

          Now even expecting moms can stay slim with Roca Labs

          http://rocalabs.com/faq/medical/during-pregnancy
           [ reply to this | link to this | view in thread ]


                                                                                                 insightful   funny      report
    2.          Spartacus-Consumer, Sep 25th, 2014 @ 3:47pm

          It's time for a contest to see who can write the most glowing review....
                                                                                                                                  R e ce nt St orie s

          "As a satisfied customer, I recommend Roca Labs heartily to anyone who has a rodent infestation problem."
                                                                                                                                  Thursday
                                                                                                                                  06:10 Dish Pulls CNN, Doesn't Think Customers Still
          "I lost 200 pounds ... when my girlfriend left me."
                                                                                                                                        Paying For It Are Missing Much (2)

          "Concrete retaining walls are highly alkali, and hard on many bedding plants. The finest earth-friendly substitute      04:09 Chicago Transit Cops Start Up Their Own Security
                                                                                                                                        Theater, Will Start Randomly Swabbing Bags For
          I've found...."
                                                                                                                                        Explosive Residue (23)
           [ reply to this | link to this | view in thread ]
                                                                                                                                  01:08 Carl Malamud's Public.Resource.Org Joins Effort To
                                                                                                                                        Make Pay-Walled Indian Standards Freely Available
    3.    This comment has been flagged by the community. Click here to show it                                                         (2)

                                                                                                                                  Wednesday
                                                                                                 insightful   funny      report
    4.          Anonymous Coward, Sep 25th, 2014 @ 5:40pm                                                                         21:08 Now In Charge Of Congress, GOP Plans To Give Up
                                                                                                                                        Its Own Constitutional Powers To The Obama
          I just went through the gauntlet of questions to place an order. Funny thing is despite the policy stating you can            Administration (24)
          order without agreeing to not post bad reviews... and thus get a discount. You cannot place an order until you          17:00 DailyDirt: Looking Fashionable In New Spacesuit
          agree to the the "discount policy" and at no time is an alternate price available.                                            Designs (7)
           [ reply to this | link to this | view in thread ]                                                                      15:55 Hillary Clinton Still Refuses To Make Her Views
                                                                                                                                        Clear On Surveillance, And That's A Problem (23)

                                                                                                 insightful   funny      report   14:48 Roca Labs Threatens Other Sites For Writing About
    5.             That One Guy (profile), Sep 25th, 2014 @ 5:59pm                                                                      Its Case, Files Another Questionable Document (10)
                                                                                                                                  13:47 Australians' Stored Metadata Could Be Used In Any
                                                                                                                                        Civil Case, Including Against Copyright
          Re:                                                                                                                           Infringement (25)

          So in other words the 'deal' of 'agree to these terms, get a discount' is nothing but a lie, the 'discount' price is    12:45 Pharma Officials Insist That There Is 'Zero Evidence'
          the only one possible, making the 'offer' completely impossible to not accept.                                                That Patents Harm Access To Medicine (21)
                                                                                                                                  11:41 Germany's Top Publisher Admits Its Web Traffic
          Also, please tell me you were just testing the order process and didn't place an actual order with them.                      Plummeted Without Google; Wants Politicians To
                                                                                                                                        'Take Action' (48)
           [ reply to this | link to this | view in thread ]
                                                                                                                                  More

                                                                                                 insightful   funny      report   A dve rt ise me nt
    6.          Anonymous Coward, Sep 25th, 2014 @ 6:17pm

          It seems legit i mean... I watched the video's got the consultation based on my body and diet. Was asked two or
          three mental questions as in why do I eat.. fun.. bored.. etc Oh I was also asked if I actually wanted to lose
          weight or not. Then it said consulting... bada bing bada boom... apparently I need their product.

          [img]http://mybroadband.co.za/vb/attachment.php?attachmentid=78295&d=1382427188[/img]
           [ reply to this | link to this | view in thread ]


https://www.techdirt.com/articles/20140924/16444828628/roca-labs-sues-customer-posting-negative-review.shtml                                                                                    2/6
11/6/2014 Case                           Roca Labs
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                                                                                              insightful   funny     report
    7.        Anonymous Coward, Sep 25th, 2014 @ 8:33pm

         Attorney fees

         Hang on a second.

         From the purchase agreement:


                Should The Company institute legal or collection proceedings regarding returned/cancelled checks
                or cancelled/disputed credit cards/PayPal, the Customer will be responsible for all collection
                costs and attorney's fees, plus filing fees, for each returned or cancelled check or for each
                cancelled credit card/PayPal payment. Other than the above listed allowance for attorney's fees
                relating to payment/collection issues, neither the purchaser nor The Company shall be entitled
                to attorney fees for other disputes between the parties.




         From the complaint:


                WHEREFORE. Plaintiff ROCA LABS, INC. respectfully requests that this Honorable Court declare that
                Defendant ALICE KING breached her contractual agreement, and further grant temporary and
                permanent injunctive relief against the breach, and award ROCA LABS, INC. with an amount fair
                and just to account for its money damages, interest, reasonable attorneys' fees, and costs
                incurred herein




         They explicitly stated in the agreement that they weren't entitled to attorney fees, and yet they're seeking
         them?
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
    8.          Padpaw (profile), Sep 25th, 2014 @ 10:01pm


         It works for the government via the NSA, maybe corporations have finally taken notice and are emulating
         threatening people when they don't get their way.

         Corruption starts at the top and trickles all the way down
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
    9.        Bonkers, Sep 26th, 2014 @ 6:27am

         Is that really enforceable?

         So basically by placing an order for this product, you automatically waive your right to free speech? Is that even
         legally enforceable?
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
   10.        David, Sep 26th, 2014 @ 6:38am

         And now for something completely different

         Legal questions aside: if the idea is to have food sit longer in your stomach, wouldn't it be easier to just wolf
         down your food without chewing properly?

         Mother would likely not approve but it still sounds healthier and better controllable than swallowing some
         solidify-in-stomach-again substance.

         At least more cost-effective.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
   11.          ACasey (profile), Sep 26th, 2014 @ 7:32am



         I REALLY hope the judge upholds PissedConsumer.com's first amendment rights; this case is an obvious violation
         of them. People writing negative reviews about something is not defamatory in the slightest.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
   12.          Steerpike (profile), Sep 26th, 2014 @ 8:45am

         They need to start sanctioning attorneys who bring actions that they know, or should know, are unenforceable
         and basically just there to spend the defendant into submission.
         [ reply to this | link to this | view in thread ]


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11/6/2014 Case                           Roca Labs
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                                                                                              insightful   funny     report
   13.         Anonymous Coward, Sep 26th, 2014 @ 10:29am

         Re:

                I REALLY hope the judge upholds PissedConsumer.com's first amendment rights; this case is an
                obvious violation of them.




         Well, technically THIS case is about a consumer's free speech rights. Pissedconsumer was in the other lawsuit.


                People writing negative reviews about something is not defamatory in the slightest.




         As long as the review is true, anyway. An intentionally false negative review almost certainly WOULD be
         defamatory.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
   14.          Steerpike (profile), Sep 26th, 2014 @ 12:31pm

         Re:

         Roca Labs can't violate anyone First Amendment rights because they're a private party and not the government.
         However, they're asking for government action here against the speech they don't like, and that has First
         Amendment implications.
         [ reply to this | link to this | view in thread ]


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   15.          Steerpike (profile), Sep 26th, 2014 @ 12:31pm

         Re:

         Roca Labs can't violate anyone First Amendment rights because they're a private party and not the government.
         However, they're asking for government action here against the speech they don't like, and that has First
         Amendment implications.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
   16.         Baron von Robber, Sep 26th, 2014 @ 12:35pm

         Re: Is that really enforceable?

         I wonder the same.

         If I drew up a contract that stated "A negative review will mean that from that point forward, the customer
         becomes a slave to Roca."

         I think most people would find that unreasonable.

         So if it's unreasonable for the 13th Amendment, why not for any Amendment, in particular the 1st?
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
   17.          John Fenderson (profile), Sep 26th, 2014 @ 2:21pm


         Re: Re:

         "An intentionally false negative review almost certainly WOULD be defamatory."

         Unless it was a clear expression of opinion rather than fact. Opinion cannot be defamatory.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
   18.          That One Guy (profile), Sep 26th, 2014 @ 4:57pm



         Re:

         And again: Cases like these are why we need a federal anti-SLAPP law. When you can sue someone to shut them
         up, that's a problem, and needs to be fixed, and not just left to the states on an individual level to deal with it.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny     report
   19.         Anonymous Coward, Sep 26th, 2014 @ 6:51pm

         Re: Re: Re:

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          "'An intentionally false negative review almost certainly WOULD be defamatory.'

          Unless it was a clear expression of opinion rather than fact."

          Obviously it would have to be a fact; I thought that was clear from the context. I'm not exactly sure how you
          could even have an intentionally false opinion.
          [ reply to this | link to this | view in thread ]


                                                                                                insightful   funny      report
   20.         Anonymous Coward, Sep 26th, 2014 @ 7:33pm

          Re: Re: Is that really enforceable?

          There are a ton of implied rights that you can contract away. You have the right to spend your money how you
          see fit - but you can sign a contract that specifies you must pay the mortgage company every month for the next
          30 years. You have the right to spend your time as you see fit - but you can sign a contract specifying that you
          will build someone a house in the next month. You have a right to basic information about the drugs your doctor
          gives you - but you can agree to participate in a double-blind study where you and your doctor do not know
          whether you have been given a real drug or a placebo. You have the right to not be assaulted - but you can sign
          a contract to participate in a boxing match.

          I think it's pretty established that in some cases, nondisparagement clauses are valid. (If I ruled the world I'd
          make them illegal, but that's not the current situation.) A slavery clause, on the other hand, would be
          unquestionably unconscionable. Hopefully this clause, given the context, would also be found unconscionable
          and therefore unenforceable.

          But there's a much clearer reason. The 13th amendment is worded differently from the 1st. It says "Neither
          slavery nor involuntary servitude... shall exist within the United States, or any place subject to their
          jurisdiction." It doesn't merely limit Congress or the states. It doesn't merely state that people have a right to
          not be slaves. It categorically bans the existence of slavery. You can't sign a contract to do an illegal thing.
          [ reply to this | link to this | view in thread ]


                                                                                                insightful   funny      report
   21.         Daemon_ZOGG, Sep 26th, 2014 @ 8:58pm

          "Roca Labs Sues Customer For Posting A Negative Review"

          Well, according to my 1st Amendment "opinion", it sounds to me like Roca fLabs is trying to protect a fraudulent,
          FDA Not-approved product. And doesn't want too many people to know about it.
          [ reply to this | link to this | view in thread ]


                                                                                                insightful   funny      report
   22.         Anonymous Coward, Sep 28th, 2014 @ 1:45am

          What a piece of "TOS"

          No contract shall be binding should it infringe upon ones basic rights
          [ reply to this | link to this | view in thread ]


                                                                                                insightful   funny      report
   23.         Alice King, Oct 3rd, 2014 @ 9:00pm

          Re: Attorney fees

          Since they are suing me personally, there are a number of insane boiler plate items added on to this lawsuit just
          to add on to the law suit, make them look like they are working harder than they are and they've repeated
          themselves at least 3 times on every item. 'Casue that never gets old.

          There are so many things wrong with their so called "case" against me, they seem to for get I remember what
          they wanted from me too. I tried to get a refund after the first month, but they would not allow it because I
          had not sent in a before picture at the first day and since I lost no weight it could have sent the same picture
          and it have been the same pix.

          I need the name of the Class Actions Lawyers name and number - proto and get this shit off my heard.
          [ reply to this | link to this | view in thread ]




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Weight-loss company sues customer for posting negative review to Better Business Bureau
Cory Doctorow at 5:00 pm Thu, Sep 25, 2014
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Roca Labs makes the "Non Surgical Gastric
Bypass" (which one expert says is mostly
industrial food thickeners) with terms-of-sale that
prohibit complaining if you get sick, or don't like
the product, or feel like you were ripped off.

The customer they're suing lodged a complaint
with the Better Business Bureau; Roca asserts
"breach of contract" and "defamation per se,"
because under the terms of the company's fine-
print, any customer complaint is automatically
defamatory.




       I don't think that's how defamation law works. At all. Even if this woman's
       comments to the BBB are defamatory (and I'm not saying they are), you can't
       just have someone sign a contract saying that if they do something, they'll be
       guilty of defamation.

       Either way, all of this should make you wonder just what sort of company Roca
       Labs is in that it seems to not just sue its own customers for negative reviews,
       but to work so hard to stop negative reviews and to threaten and intimidate
       those who make complaints about their experience with the company.




Roca Labs Sues Customer For Posting A Negative Review [Mike Masnick/Techdirt]

(Image: Complaint Department Grenade "Please Take a Number")


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Billionaire told he can't block        15 lessons from 15 years of        Adjustable Pac Man and
access to public beach                 blogging                           ghost ring



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Simple Update, HUGE Payoff!




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11/6/2014 Case               Weight-loss company suesDocument
                   8:14-cv-03014-SCB-MAP              customer for posting negative12/02/14
                                                                     1 Filed       review to Better Page
                                                                                                    Business119
                                                                                                            Bureau
                                                                                                                 of- Boing
                                                                                                                      125Boing
                                                                                                                           PageID 119




  -from Vintage Revivals-

  Technology is amazing isn't it? When we really stop and just look at what is not
  only available, but easily accessible and affordable it is a little mind boggling. THE
  (yes, all caps and italicized) favoriteCLICK
                                          new TO
                                               gadget
                                                 VIEW in our house is Honeywell's brand

  new thermostat the Lyric.
                                                                        Get your life in tune.

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http://boingboing.net/2014/09/25/weight-loss-company-sues-custo.html                                                                    2/2
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                                                                Document            Provided
                                                                                  Filed      Evidence Against
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                          Roca Labs Threatens To Sue All Three Former Customers                                                             A dve rt ise me nt


                          Who Provided Evidence Against Roca In PissedConsumer
                          Case
                          fro m the the -ultim a te -in-sle a zy de pt
         Legal Issues
    by Mike Masnick       The Roca Labs story keeps getting more and more ridiculous. Each time you think the company
  Mon, Sep 29th 2014      couldn't act in a way that seems even more sleazy and questionable, it raises the bar. If you don't
             5:38am       recall, Roca Labs sells a "dietary supplement" (they describe it as a "food additive" or a
                          "nutraceutical") that, according to one doctor, "consists primarily of industrial food thickening
               0          agents" which the company claims is an "alternative" to gastric bypass surgery. More importantly,
                          the company has some crazy terms of service that say if you buy the product the company will
                          offer a "discount" in exchange for agreeing to never say anything negative about the product ever
                          in any form (and requiring you to allow the company to showcase any positive results). One of our
         Filed Under:     readers went through the ordering process and claims that the "discount" is a mirage -- as there
  consumer reviews,                                                                                                                         Esse nt ia l R e a ding
            evidence,
                          appeared to be no way to order without the "discount" (i.e., without agreeing to the gag clause).
        intimidation,     Despite all this, there are numerous complaints about Roca Labs and its product both with the
      lawsuits, marc
                          Better Business Bureau (which gives the company an F grade) and with PissedConsumer, where                          Hot Topics
 randazza, opinions,
        paul berger,      people have complained about both the company and the product.
             reviews,                                                                                                                            6.2   Court Says By Agreeing To AOL's
 tampering, threats,                                                                                                                                   Terms Of Service, You've 'Consented'
              witness     In response, Roca Labs used some unique legal theories to sue PissedConsumer's parent
                                                                                                                                                       To Search By Law Enforcement
          Companies:      company, Consumer Opinion Corp., claiming that it's "tortious interference" to solicit consumer
   consumer opinion
     corp., roca labs     reviews, given the company's gag order. PissedConsumer fought back, arguing that the gag clause                        6.0   Now In Charge Of Congress, GOP Plans
                          was clearly unenforceable, questioning the quality of Roca's products, and highlighting the                                  To Give Up Its Own Constitutional
          Permalink.      company's history of threatening lawsuits when people complained to the Better Business Bureau.                              Powers To The Obama Administration
                          On top of all that, we noted that Roca Labs decided, in the midst of all this, to sue a former                               Chicago Transit Cops Start Up Their
                                                                                                                                                 5.7
                          customer for complaining to the Better Business Bureau. This lawsuit was filed the day after                                 Own Security Theater, Will Start
                          PissedConsumer responded to Roca's lawsuit, the timing of which will become more interesting as                              Randomly Swabbing Bags For
                          you read a little further.                                                                                                   Explosive Residue

                          If you're keeping score at home, among the questionable actions by Roca Labs (leaving aside any
                                                                                                                                              New To Techdirt?
                          questions about the efficacy and safety of the product), we've got (1) a gag order that both
                                                                                                                                              Explore some core concepts:
                          demands silence if you're unhappy and compels endorsement if you are happy, (2) a questionable
                          legal threat against a website that collects consumer reviews, and (3) legal threats and lawsuits                      Saying You Can't Compete With Free Is
                          against unhappy customers for merely complaining to the BBB about Roca Labs.                                           Saying You Can't Compete Period

                                                                                                                                                 How Being More Open, Human And
                          And now the company has taken it up to another level. As we noted, when PissedConsumer fought                          Awesome Can Save Anyone Worried About
                          back, it included declarations from three former customers, all of whom had complained to the                          Making Money In Entertainment
                          BBB. It had been a while since any of those former customers had heard from Roca Labs, but four
                          days after PissedConsumer's response, all three of those customers received new letters from                           The Future Of Music Business Models (And
                          Roca Labs, threatening legal action for "breach of contract."                                                          Those Who Are Already There)
                                                                                                                                                                                             read all »
                          Marc Randazza, the lawyer for PissedConsumer, has now filed for a temporary restraining order
                          against Roca Labs, claiming that the company is engaged in witness intimidation.                                  Te chdirt R e a ding List


                                                                                                                                                        Remix: Making Art and Commerce Thr…
                          Via the attachments in the filing, you can see that Randazza had a ridiculous email conversation
                                                                                                                                                        Lawrence Lessig (Hardcover - Oct 16, 2008)
                          with Roca Labs' lawyer, Paul Berger, in which Randazza bent over backwards offering to allow the                              $0.01
                          company to file such lawsuits if needed to avoid a statute of limitations, but otherwise asked the
                          company to defer any such threats or legal action until after the court expresses an opinion on the
                                                                                                                                                        No Law: Intellectual Property in the I…
                          legitimacy of Roca's gag order (which is expected next week). Berger appears unwilling to respond
                                                                                                                                                        David Lange, H. Jefferson Powell (Paperback - O…
                          directly to what Randazza is clearly offering, and also makes some bizarre claims about not being
                                                                                                                                                        $18.41
                          able to respond as the legal representative of Roca Labs, despite his own email signature noting
                          that he's the "independent general counsel" for the company and the fact that all the threat letters
                          came directly from him (his reason: not being admitted to the bar in that part of Florida -- a                                Moral Panics and the Copyright Wars
                                                                                                                                                        William Patry (Hardcover - Sep 3, 2009)
                          meaningless excuse for the purpose of communications between lawyers, since that only concerns
                                                                                                                                                        $11.98
                          his ability to appear in court).

                          In the threat letters to the three customers sent on Monday morning, September 22nd, Berger                                   The Gridlock Economy: How Too Much …
                                                                                                                                                        Michael Heller (Paperback - Feb 23, 2010)
                          directly references that one lawsuit he filed the previous Friday, September 19th, as evidence of
                                                                                                                                                        $2.04
                          the "seriousness" with which Roca takes these issues. So, the timeline: on Thursday, September
                          18th, PissedConsumer responds to Roca's lawsuit, including declarations from three former
                          customers who complained to the Better Business Bureau, only to receive initial threats from Roca                                           12345>

                          soon after, though no actual lawsuit (two of these happened in 2011, one earlier in 2014). On                                          Privacy


https://www.techdirt.com/articles/20140928/06060328657/roca-labs-threatens-to-sue-all-three-former-customers-who-provided-evidence-against-roca-pissed…                                                    1/9
11/6/2014 Case     Roca Labs Threatens To Sue All Three Former
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                                                                                                            In PissedConsumer
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                                                                                                                                              121
                                                                                                          Rikuo: so I hear the Republicans control the
                   Friday, Roca sues a different former customer who complained to the Better Business Bureau.             Senate
                                                                                                                          Te chdirt and ther Cha
                                                                                                                                    Inside   House.
                                                                                                                                                 t  Correct me if I'm wrong,
                   Then, early Monday morning, Roca sends letters to the three former customers whose declarations         but does this essentially make Democrat
                   were part of the Thursday filing, pointing to the Friday lawsuit as evidence of how the company         Obama more or less powerless, or close to?
                   will sue customers who complain to the BBB. You can see all three threats embedded below.               Christopher Best: No, he's still got plenty of
                                                                                                                           power. He can veto anything they pass, if he
                                                                                                                           wants, and they don't have a 2/3 majority to
                   As Randazza notes in his own filing, this appears to be a fairly clear attempt to "intimidate and       overrule him
                   harass defense witnesses." From the filing:                                                             And he can still write crazy unaccountable
                                                                                                                           executive orders
                         So far, three of Roca’s prior customers have agreed to serve as witnesses. Most                   Rikuo: okay thanks
                         others declined to respond, wishing to not get involved, out of fear that Roca would              Mark Harrill: yeah what CB said. What it
                         retaliate against them for testifying. Those concerns proved to be well-founded, as               changes is the mechanics of Congress, who is
                         Roca threatened all three of the witnesses Opinion Corp. identified. The timing of                in charge of the committees and the R's can
                                                                                                                           control the legislative agenda
                         its aggression against these three women makes its intentions transparent – Roca
                                                                                                                           Ninja: Now imagine if R's and D's had to share
                         wants to intimidate them and any other potential witnesses in this case.
                                                                                                                           the power with C's, B's and other parties? I
                                                                                                                           alliances would have to be made instead of the
                         As for Ms. Walsh and Ms. Anderson, it has been in excess of three years since they                partisan warfare we are seeing
                         lodged their complaints with the Better Business Bureau. Roca threatened litigation               Mark Harrill: it would be human sacrifice, dogs
                         at the outset, demanding they retract their complaints. Roca then went completely                 and cats living together mass hysteria
                         silent for more than three years. However, after such a long period of dormancy                                        Get the Insider Chat!
                         Roca now seeks to threaten imminent legal action against these witnesses. Nothing
                         could have motivated Roca to reach out to these women after such a long period
                                                                                                                          A dve rt ise me nt
                         other than to try and intimidate witnesses in this case.

                   The filing only seeks a rather brief temporary restraining order, asking the court to block Roca
                   from any such threats or lawsuits until after the October 8th hearing in this case, when it's likely
                   the judge will determine if the original gag order from Roca Labs is legit. As Randazza notes, the
                   only possible "harm" to Roca is delaying a possible lawsuit by less than two weeks (which seems
                   completely minor given that Roca Labs ignored the issue with at least two of the customers in
                   question for over three years). Furthermore, Randazza asks for any and all communications with
                   those and other potential witnesses in the case to make sure that there hasn't been anything else
                   that might be deemed witness harassment or intimidation.




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                                               document with annotations.                                                 R e ce nt St orie s


                                                                                                                          Thursday
                                                                                                                          06:10 Dish Pulls CNN, Doesn't Think Customers Still
                                                                                                                                Paying For It Are Missing Much (2)
                                                                                                                          04:09 Chicago Transit Cops Start Up Their Own Security
                                                                                                                                Theater, Will Start Randomly Swabbing Bags For
                                                                                                                                Explosive Residue (23)
                                                                                                                          01:08 Carl Malamud's Public.Resource.Org Joins Effort To
                                                                                                                                Make Pay-Walled Indian Standards Freely Available
                                                                                                                                (2)

                                                                                                                          Wednesday
                                                                                                                          21:08 Now In Charge Of Congress, GOP Plans To Give Up
                                                                                                                                Its Own Constitutional Powers To The Obama
                                                                                                                                Administration (24)
                                                                                                                          17:00 DailyDirt: Looking Fashionable In New Spacesuit
                                                                                                                                Designs (7)
                                                                                                                          15:55 Hillary Clinton Still Refuses To Make Her Views
                                                                                                                                Clear On Surveillance, And That's A Problem (23)
                                                                                                                          14:48 Roca Labs Threatens Other Sites For Writing About
                                                                                                                                Its Case, Files Another Questionable Document (10)
                                                                                                                          13:47 Australians' Stored Metadata Could Be Used In Any
                                                                                                                                Civil Case, Including Against Copyright
                                                                                                                                Infringement (25)
                                                                                                                          12:45 Pharma Officials Insist That There Is 'Zero Evidence'
                                                                                                                                That Patents Harm Access To Medicine (21)
                                                                                                                          11:41 Germany's Top Publisher Admits Its Web Traffic
                                                                                                                                Plummeted Without Google; Wants Politicians To
                                                                                                                                'Take Action' (48)

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         Lena Dunham Once Again Threatens Lawsuit Over An Interpretation Of Her Book That She Doesn't Like
         Pianist Dejan Lazic Defends His Takedown Request By Pointing Out That The WaPo Reviewer Is Really Mean
         Magistrate Judge Not Impressed By Roca Labs' Legal Arguments: Recommends Against An Injunction
         Roca Labs Story Gets More Bizarre: Senator Threatens Bogus Defamation Lawsuit, While Nevada Quickly
         Rejects Bogus Bribery Charge



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                                                                                         insightful   funny   report
    1.          Anonymous Coward, Sep 29th, 2014 @ 6:10am

          Witness intimidation

          I thought that witness intimidation is criminal offence?
          If so it seems that Roca's lawyer risk disbarrement...
           [ reply to this | link to this | view in thread ]


                                                                                         insightful   funny   report
    2.             ACasey (profile), Sep 29th, 2014 @ 6:33am




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                                                                                                               In PissedConsumer Case | Techdirt
                                                                                                                      of 125 PageID       124
         Marc Randazza isn't the greatest lawyer in the world, but I'm glad he's on this case.
         [ reply to this | link to this | view in thread ]


                                                                                                 insightful   funny   report
    3.          Oblate (profile), Sep 29th, 2014 @ 6:40am


         So this is how they work...

         > the company claims is an "alternative" to gastric bypass surgery.

         Figured out how this works-
         1. Gullible/ignorant person becomes customer of Roca Labs.
         2. Person consumes 'alternative' weight loss supplement.
         3. Person becomes irate/displeased with performance of the 'alternative'.
         4. Person legitimately complains about Roca Labs.
         5. Person is sued and harassed by Roca Labs.
         6. Person must spend income on lawyer fees instead of food.
         7. Due to financial based malnutrition and stress from lawsuits, person becomes thinner, and no longer needs
         gastric bypass surgery.
         8. Person discovers that the supplement has worked as intended, just not in the method they thought it would.
         [ reply to this | link to this | view in thread ]


                                                                                                 insightful   funny   report
    4.         Anonymous Coward, Sep 29th, 2014 @ 6:44am

         Paid by the hour

         The Roca Labs top lawyer must get paid by the hour for cases he works on for them. He is obviously drumming up
         enough legal trouble for them, that he will end up owning whatever assets are given to the defense in these
         obvious Streisand affect inducing actions.
         [ reply to this | link to this | view in thread ]


                                                                                                 insightful   funny   report
    5.          Anon E. Mous (profile), Sep 29th, 2014 @ 6:58am


         The more I read about this case, the more I get a Prenda like sense of Deja-vu in how the legal arguments from
         Roca seem to be filled with more filler than substance

         The fact that they are suing people who were former customers many years later just adds to the air of
         desperation of Roca's case in my opinion and seem to be more concerned with the statues of limitation running
         out than actually saving fact and getting out of this mess.

         Honestly the bad publicity that is going to surround this case almost reminds me of the KlearGear mess, in that
         trying to hold people to a policy that is coercive at best is just bad for business.

         If your product isn't what is cracked up to be then people are going to complain about it. Maybe if they actually
         offered refund peoples complaints wouldn't be so bad.

         If people are saying this product didn't work for me and I cant get a refund, then you cant expect them to sit by
         and just flush their cash down the drain and be all quiet about it

         It would seem this is more about silencing the critics who say the product didn't work, as it may effect future
         sales. I guess it is easier to try and quiet your detractors then to fix your product
         [ reply to this | link to this | view in thread ]


                                                                                                 insightful   funny   report
    6.          ACasey (profile), Sep 29th, 2014 @ 7:19am



         Re:

         Prenda wasn't nearly as bad as these people, IMO. They only sued over porn; these people are trying to stifle
         speech.
         [ reply to this | link to this | view in thread ]


                                                                                                 insightful   funny   report
    7.         Anonymous Coward, Sep 29th, 2014 @ 7:41am

         A rare sentence

         Prenda wasn't nearly as bad as these people

         Now that's a sentence I didn't expect I'd ever see.
         [ reply to this | link to this | view in thread ]


                                                                                                 insightful   funny   report
    8.         Anonymous Coward, Sep 29th, 2014 @ 7:59am

         Selling Snake Oil , should be hit and run why do you think the guys that started doing this always had a cart and

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         left town afterwards sooner or later the person you fooled is going to figure out your scam , repackage and
         move on.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny       report
    9.          Gracey (profile), Sep 29th, 2014 @ 8:49am


         Re:

         [quote]in how the legal arguments from Roca seem to be filled with more filler than substance[/quote]

         Well why not? Isn't that the way they work ... the product is no different ... filled with more filler than
         substance too.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny       report
   10.         Andrew D. Todd, Sep 29th, 2014 @ 9:34am

         Re: So this is how they work...

         Fallacy in argument #6. If you shop around, junk food is much cheaper than good food, eg. salad. You can get a
         whole bag of Snickers bars for a couple of dollars. The thing about salad is that it spoils, and the shopkeeper is
         forever pitching stuff which has gone overdue, and that is reflected in the price. I just spent four dollars at the
         convenience store for a little tray containing half a dozen cherry tomatoes, three banana peppers, and three
         sprigs of broccoli. So, so, and such small portions...

         Come to that, off-brand whiskey is remarkably cheap. If the pain of your existence is too great to tolerate, you
         can get completely bombed for a dollar or two, at the rate of twenty-five cents a drink (1.75 liters/$15, see
         Rite-Aid newspaper circular). Hogarth's famous engraving, Gin Lane, shows a sign reading: "drunk for one pence,
         dead drunk for twopence, straw for free." A penny, circa 1750, would be worth about a dollar now, so not much
         has changed. Except for the straw...
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny       report
   11.         Anonymous Coward, Sep 29th, 2014 @ 9:53am

         Re: Re:

         ...filled with more filler than substance...

         What substance?

         I don't see any substance.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny       report
   12.          G Thompson (profile), Sep 29th, 2014 @ 10:30am


         I wonder if Roca are smart enough to see what is now about to happen to them and what Marc (who is really a
         master strategist) is doing here. Sun Tzu would be proud ;)

         *munches popcorn*
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny       report
   13.          Oblate (profile), Sep 29th, 2014 @ 10:45am


         Re: Re: So this is how they work...

         > I just spent four dollars at the convenience store

         Well there's your problem. You are buying prepackaged at the premium convenience store rate. Buy normal sized
         amounts of whatever is on sale at the regular (inconvenience?) store and you won't pay nearly as much per
         serving.

         So there is no fallacy. Just because someone may buy junk food that is cheaper than healthy food, does not
         mean that they must buy that junk food or that they have to spend their reduced budget on junk food instead of
         reasonably priced healthy food.
         [ reply to this | link to this | view in thread ]


                                                                                              insightful   funny       report
   14.         David, Sep 29th, 2014 @ 10:48am

         Re: Re: Re:

         The parties names are spelled correctly. There's your substance. Not much, but some.
         [ reply to this | link to this | view in thread ]




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